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                                            EXHIBIT A

                                 RLKS Executive Solutions LLC

                 Summary of Staffing and Functions – FTX Trading Ltd., et al.
                  for the Period from August 1, 2023 through August 31, 2023



             Name and Title                                       Function/Role


                                   Staffing – Officer Positions
Kathryn Schultea – Managing Partner          Chief Administrative Officer
Mary Cilia – Senior Managing Director        Chief Financial Officer
Raj Perubhatla – Senior Managing Director    Chief Information Officer


                                 Staffing – Non-Officer Positions
Robert Hoskins – Sr. Director                Accounting and Treasury, Cash Management Systems,
                                             Receivables/Payables, Periodic Reporting
Brandon Bangerter – Director                 IT Systems, Infrastructure, Security, Data Extraction
                                             and Development of Debtor Data
Daniel Tollefsen – Sr. Manager               Accounting and Treasury, Cash Management Systems,
                                             Receivables/Payables, Periodic Reporting
Leticia Barrios – Sr. Manager                Bankruptcy Administration, Human Resources,
                                             Organizational Project Management
Melissa Concitis – Sr. Manager               Accounting and Treasury, Cash Management Systems,
                                             Receivables/Payables, Periodic Reporting, Project
                                             Management
Felicia Buenrostro – Associate               Data Analyst and Bankruptcy Administration
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                            The following Compensation Report includes
                       services performed by RLKS on behalf of the Debtors
                    for the period from August 1, 2023 through August 31, 2023

                                       Summary of Services Provided

                 1.        Ms. Schultea, Ms. Cilia and Mr. Perubhatla serve as executive officers of

the Debtors and are the principal professionals staffed by RLKS on the engagement. Ms.

Schultea serves as the CAO, Ms. Cilia serves as the CFO and Mr. Perubhatla serves as the CIO

for the Debtors, and Additional Personnel have been made available to serve under the Chief

Officers during these Chapter 11 Cases.

                 2.        During the Reporting Period, RLKS worked to support the Debtors’ Chief

Executive Officer (“CEO”) in achieving the five core objectives of these Chapter 11 Cases.1 In

doing so, the Chief Officers provided services and performed all duties that are usual and

customary for their respective executive positions, including, without limitation, accounting and

treasury, financial analysis, audits and cash flow forecast, information technology, human

resource management, claims management and such other related functions as assigned by the

Debtors’ CEO.

                 3.        During the Reporting Period, in furtherance of their respective duties, the

Chief Officers periodically attended project management meetings, board meetings and meetings

with the Debtors’ other professionals. In support of the CEO, RLKS managed various functions

related to human resources, information technology, data management and security, cash

management, treasury, accounting and financial matters. In addition, RLKS assisted the CEO

with (i) coordinating the resolution of issues related to employee matters, organizational

structure and wages, (ii) coordinating the Debtors’ treasury and cash management systems and


1
    The five core objectives are set forth in the First Day Declarations.
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asset recovery efforts, and (iii) managing the Debtors’ information technology systems, data and

IT security, and third-party service providers.
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                                    Summary of Compensation and Expenses

        Period                                                        Fees      Expenses         Total
        August 1, 2023 – August 31, 2023                     $1,594,867.50     $6,083.96 $1,600,951.46


                                          Summary of Expense by Category

              Expense Category                                                        Total Expenses
              Airline - Economy                                                             $1,784.47
              Lodging                                                                        3,675.00
              Transportation (Car Rental, Taxi, Parking)                                          624.49
              Meals
              Office Expense
                                  Total Amount for Period:                                  $6,083.96


                                   Summary of Time and Fees by Professional

 Name of                                                                 Hourly         Total         Total Fees
                               Function/Role
Professional                                                           Billing Rate     Hours
  Kathryn
             Chief Administrative Officer                                    $975        250.20        $243,945.00
  Schultea
  Kathryn
             Chief Administrative Officer                               $487.50*           9.00            $4,387.50
  Schultea
 Mary Cilia Chief Financial Officer                                          $975        286.50        $279,337.50
Mary Cilia      Chief Financial Officer                                 $487.50*           5.00            $2,437.50
    Raj
                Chief Information Officer                                    $975        245.20        $239,070.00
 Perubhatla
  Robert        Accounting and Treasury, Cash Management
                                                                             $750        236.90        $177,675.00
  Hoskins       Systems, Receivables/Payables, Periodic Reporting
  Robert        Accounting and Treasury, Cash Management
                                                                             $375*         9.00            $3,375.00
  Hoskins       Systems, Receivables/Payables, Periodic Reporting
 Brandon        IT Systems, Infrastructure, Security, Data
                                                                             $600        296.40        $177,840.00
 Bangerter      Extraction and Development of Debtor Data
  Daniel        Accounting and Treasury, Cash Management
                                                                             $550        243.10        $133,705.00
 Tollefsen      Systems, Receivables/Payables, Periodic Reporting
  Leticia       Bankruptcy Administration, Human Resources,
                                                                             $550        206.40        $113,520.00
  Barrios       Organizational Project Management
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 Name of                                                              Hourly       Total      Total Fees
                                 Function/Role
Professional                                                        Billing Rate   Hours
               Accounting and Treasury, Cash Management
  Melissa
               Systems, Receivables/Payables, Periodic Reporting,      $550         250.50     $137,775.00
  Concitis
               Project Management
 Felicia
               Data Analyst and Bankruptcy Administration              $400         204.50      $81,800.00
Buenrostro
                                                      Total Amount for Period:     2,242.70   $1,594,867.50
       * 50% rate appears where time is charged for non-working travel.
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             Time Detail Activity by Professional

                    [See Attached Exhibit A]
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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              IT Helpdesk responses / e-mail
                                                            Brandon
 8/1/2023     responses / access rights / password                          2.30          $1,380.00
                                                            Bangerter
              changes / account updates
              Developer application access updates          Brandon
 8/1/2023                                                                   2.40          $1,440.00
              and troubleshooting access                    Bangerter
              Cloud platform searches for application       Brandon
 8/1/2023                                                                   1.90          $1,140.00
              invoices and contracts                        Bangerter
              Research on retrievals and updates to list    Brandon
 8/1/2023                                                                   2.00          $1,200.00
              of outstanding hardware in each tenant        Bangerter
              Audits of critical applications user          Brandon
 8/1/2023                                                                   2.30          $1,380.00
              permissions                                   Bangerter
              Support cases with vendors questions
                                                            Brandon
 8/1/2023     and updates on billing information and                        1.80          $1,080.00
                                                            Bangerter
              contracts
              Review and Respond to emails from S.
                                                             Daniel
 8/1/2023     Witherspoon (A&M) re: quarterly trustee                       0.20           $110.00
                                                            Tollefsen
              fees
              Review and respond to emails with
              Foreign Debtor personnel (FTX EU Ltd)          Daniel
 8/1/2023                                                                   0.60           $330.00
              re: payment requests and supporting           Tollefsen
              documentation
              Review and respond to email from Debtor
                                                             Daniel
 8/1/2023     Bank personnel re: transactional activity                     0.20           $110.00
                                                            Tollefsen
              on FTX operating accounts
              Review and respond to emails from CIO          Daniel
 8/1/2023                                                                   0.50           $275.00
              re: business unit population                  Tollefsen
              Address and contact information look-ups       Daniel
 8/1/2023                                                                   2.40          $1,320.00
              for business unit population                  Tollefsen
              Review and reconciliation of all financial
                                                             Daniel
 8/1/2023     operating accounts of US Debtors re:                          1.30           $715.00
                                                            Tollefsen
              approved transactional activity
              Review supporting documentation for            Daniel
 8/1/2023                                                                   2.10          $1,155.00
              payment requests re: US Debtors               Tollefsen
              Update of master payment tracker with
                                                             Daniel
 8/1/2023     financial transaction activity from all                       2.30          $1,265.00
                                                            Tollefsen
              Debtors
              Update vendor files with supporting             Daniel
 8/1/2023                                                                   0.90           $495.00
              payment documentation                          Tollefsen
              Review and respond to CFO re: vendor            Daniel
 8/1/2023                                                                   0.30           $165.00
              invoices                                       Tollefsen
              Review and respond to CIO re: vendor            Daniel
 8/1/2023                                                                   0.40           $220.00
              invoices                                       Tollefsen
              Evaluate and arrange incoming files for         Felicia
 8/1/2023                                                                   0.50           $200.00
              FTX US                                        Buenrostro
              Review calls in the My Phone.com
                                                              Felicia
 8/1/2023     company inbox and log information in the                      1.30           $520.00
                                                            Buenrostro
              call log spreadsheet
              Examine and retain a log of all incoming
                                                              Felicia
 8/1/2023     documents and materials for Alameda                           0.70           $280.00
                                                            Buenrostro
              Research LLC
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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Maintain all document filings and
                                                              Felicia
 8/1/2023     screenings on behalf of West Realm                            0.30           $120.00
                                                            Buenrostro
              Shires Inc.
              Sort and file Earth Class Virtual Mailbox
                                                              Felicia
 8/1/2023     emails into their respective repository                       0.70           $280.00
                                                            Buenrostro
              folders
              Upload inquiries received from the FTX          Felicia
 8/1/2023                                                                   3.50          $1,400.00
              Inquiry inbox to the assigned spreadsheet     Buenrostro
              Compare inquiry emails to the creditor          Felicia
 8/1/2023                                                                   2.00           $800.00
              matrix and report discrepancies               Buenrostro
              Review and respond to emails with CFO          Kathryn
 8/1/2023                                                                   0.30           $292.50
              re: BOD fees                                   Schultea
              Review and respond to emails with CFO
                                                             Kathryn
 8/1/2023     and A&M advisors re: legal documents                          0.50           $487.50
                                                             Schultea
              received via customer service portal
              Review and respond to emails with CFO
                                                             Kathryn
 8/1/2023     and D. Johnston (A&M) re: employee                            0.40           $390.00
                                                             Schultea
              compensation matters
              Review and respond to emails with a
                                                             Kathryn
 8/1/2023     records B. Bangerter (RLKS) re: former                        0.40           $390.00
                                                             Schultea
              employee's return of equipment
              Review and respond to emails with CFO
                                                             Kathryn
 8/1/2023     re: research foreign employee                                 0.50           $487.50
                                                             Schultea
              compensation
              Review and respond to emails with D.
                                                             Kathryn
 8/1/2023     Tollefsen (RLKS) re: acquiring credentials                    0.30           $292.50
                                                             Schultea
              to access July Payments file data
              Review and respond to emails with CEO
                                                             Kathryn
 8/1/2023     and A&M advisors re: demand letter for                        0.20           $195.00
                                                             Schultea
              retention payments
              Review and respond to emails with CFO
                                                             Kathryn
 8/1/2023     and H. Trent (A&M) re: Debtor entity                          0.50           $487.50
                                                             Schultea
              urgent payment matters
              Review and respond to emails with
                                                             Kathryn
 8/1/2023     several A&M advisors re: Foreign                              0.30           $292.50
                                                             Schultea
              Debtor's storage unit site visit
              Review and respond to emails with A.
                                                             Kathryn
 8/1/2023     Kranzley (S&C) re: Debtor entity sale                         0.30           $292.50
                                                             Schultea
              status
              Review and respond to emails with A.
              Kranzley (S&C) re: drafting a response to      Kathryn
 8/1/2023                                                                   0.40           $390.00
              legal documents received via customer          Schultea
              service portal
              Review and respond to emails with CFO          Kathryn
 8/1/2023                                                                   0.20           $195.00
              re: wire templates                             Schultea
              Correspondence with CFO and an FTX
              employee re: execution of AGM                  Kathryn
 8/1/2023                                                                   0.40           $390.00
              documents and approval of the Public           Schultea
              Notice draft



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Correspondence with CFO and Debtor
                                                             Kathryn
 8/1/2023     Bank personnel re: outgoing wire hold                         0.30           $292.50
                                                             Schultea
              status
              Correspondence with CFO and D.
                                                             Kathryn
 8/1/2023     Johnston (A&M) re: FTX Trading GmbH                           0.30           $292.50
                                                             Schultea
              compensation matters
                                                             Kathryn
 8/1/2023     Review weekly PMO and WGL updates                             0.20           $195.00
                                                             Schultea
              Correspondence with N. Simoneaux
                                                             Kathryn
 8/1/2023     (A&M) re: review of daily payroll summary                     0.50           $487.50
                                                             Schultea
              report
              Correspondence with an Embed
                                                             Kathryn
 8/1/2023     employee and various S&C advisors re:                         0.30           $292.50
                                                             Schultea
              Embed open questions
              Correspondence with C. Tong (EY) re:           Kathryn
 8/1/2023                                                                   0.40           $390.00
              tax meeting agenda                             Schultea
                                                             Kathryn
 8/1/2023     Customer Portal dashboard review                              0.20           $195.00
                                                             Schultea
              Correspondence with an Embed
                                                             Kathryn
 8/1/2023     employee re: Embed customer 1099 and                          0.50           $487.50
                                                             Schultea
              emails inquiry
              Meeting with CFO, CIO, A&M, S&C, and           Kathryn
 8/1/2023                                                                   0.30           $292.50
              others; weekly board call                      Schultea
              Non-working travel from Houston to NY;
                                                             Kathryn
 8/1/2023     travel for in-person meeting to review tax                    4.50        $2,193.75 *
                                                             Schultea
              items at EY office
              Review documents in preparation for            Leticia
 8/1/2023                                                                   0.60           $330.00
              Embed check processing                         Barrios
              Forward tax paperwork from state               Leticia
 8/1/2023                                                                   1.50           $825.00
              agencies to EY for processing                  Barrios
              Review and respond to email requests re:       Leticia
 8/1/2023                                                                   1.30           $715.00
              encrypted electronic 1099 forms                Barrios
                                                             Leticia
 8/1/2023     Review tax agency status                                      1.20           $660.00
                                                             Barrios
              Update unclaimed property tracker with         Leticia
 8/1/2023                                                                   1.70           $935.00
              results found on state agency websites         Barrios
              Capture payment requests for July semi-        Leticia
 8/1/2023                                                                   1.20           $660.00
              monthly payroll processing                     Barrios
              Review and respond to HR Teams emails
                                                             Leticia
 8/1/2023     re: information requests from domestic                        0.30           $165.00
                                                             Barrios
              and international personnel
              Conduct an inquiry in eBrevia for former       Leticia
 8/1/2023                                                                   0.80           $440.00
              employee contact information                   Barrios
              Conference call with A&M; MOR changes
 8/1/2023                                                   Mary Cilia      0.90           $877.50
              and Cash roll forward
              Meeting with CAO, CIO, A&M, S&C, and
 8/1/2023                                                   Mary Cilia      0.30           $292.50
              others; weekly board call
              Conference call with A&M and S&C;
 8/1/2023                                                   Mary Cilia      0.90           $877.50
              SOFA insider payments



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Review petition date trial balances and
 8/1/2023     prepare and record required journal           Mary Cilia      1.80           $1,755.00
              adjustments
              Correspondence with domestic and
 8/1/2023     international departments for budgetary       Mary Cilia      0.70            $682.50
              and operational approvals
              Coordinate various treasury activities and
 8/1/2023                                                   Mary Cilia      1.30           $1,267.50
              monitor daily communications
              Maintain daily accounting, financial
 8/1/2023                                                   Mary Cilia      2.10           $2,047.50
              reporting, and communications activities
              Review docket report and document and
 8/1/2023                                                   Mary Cilia      0.30            $292.50
              account for related filings
              Read, review and respond to e-mails re:
 8/1/2023     various amended statements and                Mary Cilia      1.40           $1,365.00
              schedules
              Correspondence with foreign bank leads         Melissa
 8/1/2023                                                                   1.20            $660.00
              re: July 2023 Bank Statements                  Concitis
              Prepare a comprehensive summary sheet
              for November 2022 by transferring data         Melissa
 8/1/2023                                                                   2.40           $1,320.00
              from the individual balance sheets of all      Concitis
              entities into one document
              Produce entity-specific reports, focusing
                                                             Melissa
 8/1/2023     on intercompany and cash reconciliation                       2.70           $1,485.00
                                                             Concitis
              evaluations
              Prepare a summary of critical notes,
                                                             Melissa
 8/1/2023     concerns, and inconsistencies for the                         1.80            $990.00
                                                             Concitis
              team to assess and review
              Review cloud agreements for call with the        Raj
 8/1/2023                                                                   0.70            $682.50
              cloud provider                                Perubhatla
              Call with third-party Cloud service
                                                               Raj
 8/1/2023     provider; forms to be signed and                              0.30            $292.50
                                                            Perubhatla
              payments made pre-petition
              Review the PMO deck presentation for             Raj
 8/1/2023                                                                   0.80            $780.00
              updates on various projects                   Perubhatla
              Review the board deck presentation for           Raj
 8/1/2023                                                                   0.80            $780.00
              the weekly board call                         Perubhatla
              Meeting with CAO, CFO, A&M, S&C, and             Raj
 8/1/2023                                                                   0.30            $292.50
              others; weekly board call                     Perubhatla
              Review and respond to emails re: Crypto          Raj
 8/1/2023                                                                   0.80            $780.00
              management                                    Perubhatla
              Assess and respond to development                Raj
 8/1/2023                                                                   2.20           $2,145.00
              supervision                                   Perubhatla
              Call with L. Farazis (Sygnia); cloud             Raj
 8/1/2023                                                                   0.70            $682.50
              service options, renewals and usage           Perubhatla
              Call with cloud KYC provider; discuss
                                                               Raj
 8/1/2023     post petition invoices presented for                          0.30            $292.50
                                                            Perubhatla
              payment
              Review, research the terminated cloud            Raj
 8/1/2023                                                                   2.50           $2,437.50
              contracts and the affected services           Perubhatla
                                                               Raj
 8/1/2023     Crypto management related actions                             1.20           $1,170.00
                                                            Perubhatla

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Review, respond to correspondence from
                                                               Raj
 8/1/2023     L. Barbano (FTX Business Unit); Locator                       0.50            $487.50
                                                            Perubhatla
              service matters
              Correspondence with A&M re: Japan              Robert
 8/1/2023                                                                   0.30            $225.00
              accounting issues                              Hoskins
              Correspondence with A&M re: Petition           Robert
 8/1/2023                                                                   0.40            $300.00
              date intercompany balances                     Hoskins
              Correspondence with A&M re: Post               Robert
 8/1/2023                                                                   0.40            $300.00
              petition token movements                       Hoskins
              Correspondence with EY tax re: Alameda         Robert
 8/1/2023                                                                   0.60            $450.00
              petition date TB's                             Hoskins
              Correspondence with Foreign Debtors re:        Robert
 8/1/2023                                                                   0.70            $525.00
              Post petition financial statements             Hoskins
              Review A&M responses to intercompany           Robert
 8/1/2023                                                                   0.40            $300.00
              variances                                      Hoskins
              Review docket filings for accounting           Robert
 8/1/2023                                                                   0.30            $225.00
              implications                                   Hoskins
              Review petition date crypto asset balance
                                                             Robert
 8/1/2023     for Alameda Silo and detailed supporting                      0.40            $300.00
                                                             Hoskins
              schedules
              Review petition date crypto receivable
                                                             Robert
 8/1/2023     balance for Alameda Silo and detailed                         0.80            $600.00
                                                             Hoskins
              supporting schedules
              Review petition date crypto receivable
                                                             Robert
 8/1/2023     balance for Ventures Silo and detailed                        0.80            $600.00
                                                             Hoskins
              supporting schedules
              Review petition date intercompany
                                                             Robert
 8/1/2023     reconciliation, aggregate variances, and                      1.20            $900.00
                                                             Hoskins
              document review comments
              Review petition date loan receivable
                                                             Robert
 8/1/2023     balance for Alameda Silo and detailed                         0.40            $300.00
                                                             Hoskins
              supporting schedules
              Review petition date LSTC balance for
                                                             Robert
 8/1/2023     Alameda Silo and detailed supporting                          0.80            $600.00
                                                             Hoskins
              schedules
              Review post petition token vesting             Robert
 8/1/2023                                                                   0.60            $450.00
              schedule                                       Hoskins
              Review updated crypto summary report           Robert
 8/1/2023                                                                   0.90            $675.00
              against trial balances                         Hoskins
              Contacting software vendors for
                                                            Brandon
 8/2/2023     outstanding invoices and working on pre-                      2.30           $1,380.00
                                                            Bangerter
              post petition amounts
              Removal of access to critical applications    Brandon
 8/2/2023                                                                   1.30            $780.00
              after audit of existing access                Bangerter
              IT Helpdesk e-mail responses / access
                                                            Brandon
 8/2/2023     rights / password changes / account                           2.10           $1,260.00
                                                            Bangerter
              updates
              Troubleshooting application rights issues     Brandon
 8/2/2023                                                                   2.30           $1,380.00
              and recovering accounts                       Bangerter
              Researching access rights and PIN codes       Brandon
 8/2/2023                                                                   1.80           $1,080.00
              for imaging retrieved hardware                Bangerter

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Research on software vendor contracts         Brandon
 8/2/2023                                                                   2.20           $1,320.00
              and invoices for the same                     Bangerter
              Review and respond to emails with debtor
              personnel (Ledger Prime LLC) re:               Daniel
 8/2/2023                                                                   0.70            $385.00
              payment tracker sheet with payment            Tollefsen
              requests and supporting documentation
              Address / contact information research for     Daniel
 8/2/2023                                                                   2.70           $1,485.00
              business unit population                      Tollefsen
              Review and respond to CFO re:                  Daniel
 8/2/2023                                                                   0.60            $330.00
              outstanding vendor invoices                   Tollefsen
              Review and reconciliation of all Foreign       Daniel
 8/2/2023                                                                   1.90           $1,045.00
              Debtor financial operating accounts           Tollefsen
              Review and reconciliation of all Foreign
                                                             Daniel
 8/2/2023     Debtor payment tracker sheets for                             2.30           $1,265.00
                                                            Tollefsen
              transactional data for the month of July
              Review and reconciliation of all financial
                                                             Daniel
 8/2/2023     operating accounts of US Debtors re:                          0.80            $440.00
                                                            Tollefsen
              approved transactional activity
              Review and reconciliation of master
                                                             Daniel
 8/2/2023     payment tracker for transactional activity                    1.30            $715.00
                                                            Tollefsen
              for the month of July
              Review and respond to CIO re: newly            Daniel
 8/2/2023                                                                   0.30            $165.00
              received vendor invoices                      Tollefsen
              Review and respond to emails with E.
                                                             Daniel
 8/2/2023     Taraba (A&M) re: FTX operating account                        0.20            $110.00
                                                            Tollefsen
              transactional activity
              Review and respond to CAO re:                  Daniel
 8/2/2023                                                                   0.20            $110.00
              employee payments                             Tollefsen
              Review and entry into payment tracker of       Daniel
 8/2/2023                                                                   1.40            $770.00
              newly received vendor invoice data            Tollefsen
              Update of vendor files with recent             Daniel
 8/2/2023                                                                   0.80            $440.00
              supporting documentation                      Tollefsen
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo, R.
                                                              Felicia
 8/2/2023     Walker, K. Fitzgerald (EY); FTX                               3.50           $1,400.00
                                                            Buenrostro
              compensation review and impact to
              federal employment tax audit
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);           Felicia
 8/2/2023                                                                   1.00            $400.00
              overview of planned employment tax            Buenrostro
              agenda for working sessions
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);
                                                              Felicia
 8/2/2023     internal preparation for onsite meeting                       1.00            $400.00
                                                            Buenrostro
              with FTX team on all employment tax
              items
              Meeting with CAO, L. Barrios (RLKS), J.
                                                              Felicia
 8/2/2023     DeVincenzo, K. Wrenn, A. Richardson, K.                       0.60            $240.00
                                                            Buenrostro
              Lowery, T. Ferris (EY); discuss the



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date    Description                                 Professional
                                                                         Worked        Charge
              customer demographic data to determine
              scope for foreign taxation review
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);
                                                             Felicia
 8/2/2023     discuss US employment tax items                              1.50           $600.00
                                                           Buenrostro
              including information document summary
              and new items recently received
              Meeting with CAO, L. Barrios (RLKS), B.
              Mistler, J. DeVincenzo, K. Wrenn, K.
                                                             Felicia
 8/2/2023     Lowery (EY); discuss employment tax                          0.40           $160.00
                                                           Buenrostro
              items and other income tax items
              required information for audit response
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);          Felicia
 8/2/2023                                                                  0.60           $240.00
              call with IRS employment tax auditor to      Buenrostro
              discuss new entities
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);
              discuss employment tax items including         Felicia
 8/2/2023                                                                  2.00           $800.00
              August due dates, state and local account    Buenrostro
              updates, expense statement review and
              other items
              Meeting with CAO, L. Barrios (RLKS), K.
              Wrenn, K. Lowery, J. DeVincenzo (EY);          Felicia
 8/2/2023                                                                  0.30           $120.00
              working session on executive payment         Buenrostro
              supporting detail analysis
              Review and respond to emails with CIO         Kathryn
 8/2/2023                                                                  0.20           $195.00
              re: FTX Debtors Customer Portal inquiry       Schultea
              Review and respond to emails with H.
                                                            Kathryn
 8/2/2023     Boo (Blockfolio) re: expense                                 0.20           $195.00
                                                            Schultea
              reimbursement request
              Review and respond to emails with H.
                                                            Kathryn
 8/2/2023     Boo (Blockfolio) re: research Blockfolio                     0.20           $195.00
                                                            Schultea
              Crypto management actions
              Review and respond to emails with
                                                            Kathryn
 8/2/2023     various EY and S&C advisors re: foreign                      0.20           $195.00
                                                            Schultea
              entities’ tax returns requiring execution
              Review and respond to emails with S. Li
                                                            Kathryn
 8/2/2023     (S&C) re: Foreign Debtor's corporate                         0.20           $195.00
                                                            Schultea
              seals
              Review and respond to emails with an
                                                            Kathryn
 8/2/2023     FTX employee re: employee                                    0.30           $292.50
                                                            Schultea
              reimbursable expenses
              Review and respond to emails with D.
                                                            Kathryn
 8/2/2023     Hariton and A. Kranzley (S&C) re: former                     0.20           $195.00
                                                            Schultea
              employee tax returns
              Review and respond to emails with
                                                            Kathryn
 8/2/2023     several EY advisors re: Debtor entity                        0.20           $195.00
                                                            Schultea
              stock spilt
              Review and respond to emails with CEO         Kathryn
 8/2/2023                                                                  0.20           $195.00
              re: EY slide deck review                      Schultea

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Correspondence with T. Shea (EY) re:           Kathryn
 8/2/2023                                                                   0.20            $195.00
              FTX Tax Summit - 2022 tax return review        Schultea
              Correspondence with CIO re: review             Kathryn
 8/2/2023                                                                   0.20            $195.00
              Customer Portal traffic by country data        Schultea
              Correspondence with L. Barrios (RLKS)          Kathryn
 8/2/2023                                                                   0.30            $292.50
              re: former employee payroll file research      Schultea
              Correspondence with J. Sime (Embed)            Kathryn
 8/2/2023                                                                   0.20            $195.00
              re: locator service vendor request             Schultea
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
                                                             Kathryn
 8/2/2023     DeVincenzo, R. Walker, K. Fitzgerald                          3.50           $3,412.50
                                                             Schultea
              (EY); FTX compensation review and
              impact to federal employment tax audit.
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
                                                             Kathryn
 8/2/2023     DeVincenzo (EY); overview of planned                          1.00            $975.00
                                                             Schultea
              employment tax agenda for working
              sessions
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
                                                             Kathryn
 8/2/2023     DeVincenzo (EY); internal preparation for                     1.00            $975.00
                                                             Schultea
              onsite meeting with FTX team on all
              employment tax items
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), J. DeVincenzo, K. Wrenn, A.
              Richardson, K. Lowery, T. Ferris (EY);         Kathryn
 8/2/2023                                                                   0.60            $585.00
              discuss the customer demographic data          Schultea
              to determine scope for foreign taxation
              review
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
              DeVincenzo (EY); discuss US                    Kathryn
 8/2/2023                                                                   1.50           $1,462.50
              employment tax items including                 Schultea
              information document summary and new
              items recently received
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), B. Mistler, J. DeVincenzo, K.
              Wrenn, K. Lowery (EY); discuss                 Kathryn
 8/2/2023                                                                   0.40            $390.00
              employment tax items and other income          Schultea
              tax items required information for audit
              response
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
                                                             Kathryn
 8/2/2023     DeVincenzo (EY); call with IRS                                0.60            $585.00
                                                             Schultea
              employment tax auditor to discuss new
              entities
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.                Kathryn
 8/2/2023                                                                   2.00           $1,950.00
              DeVincenzo (EY); discuss employment            Schultea
              tax items including August due dates,


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date    Description                                     Professional
                                                                             Worked        Charge
              state and local account updates, expense
              statement review and other items
              Meeting with L. Barrios, F. Buenrostro
              (RLKS), K. Wrenn, K. Lowery, J.
                                                                Kathryn
 8/2/2023     DeVincenzo (EY); working session on                              0.30            $292.50
                                                                Schultea
              executive payment supporting detail
              analysis
              Meeting with CFO, K. Lowery, T. Shea,
                                                                Kathryn
 8/2/2023     C. Tong (EY) and others; EY tax update                           0.50            $487.50
                                                                Schultea
              with key stakeholders
              Received & validated payment requests             Kathryn
 8/2/2023                                                                      0.30            $292.50
              for employee related payments                     Schultea
                                                                Kathryn
 8/2/2023     Input wire transactions for approval                             0.60            $585.00
                                                                Schultea
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo, R.
                                                                Leticia
 8/2/2023     Walker, K. Fitzgerald (EY); FTX                                  3.50           $1,925.00
                                                                Barrios
              compensation review and impact to
              federal employment tax audit
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo                Leticia
 8/2/2023                                                                      1.00            $550.00
              (EY); overview of planned employment              Barrios
              tax agenda for working sessions
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo
                                                                Leticia
 8/2/2023     (EY); internal preparation for onsite                            1.00            $550.00
                                                                Barrios
              meeting with FTX team on all
              employment tax items
              Meeting with CAO, F. Buenrostro (RLKS),
              J. DeVincenzo, K. Wrenn, A. Richardson,
                                                                Leticia
 8/2/2023     K. Lowery, T. Ferris (EY); discuss the                           0.60            $330.00
                                                                Barrios
              customer demographic data to determine
              scope for foreign taxation review
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo
                                                                Leticia
 8/2/2023     (EY); discuss US employment tax items                            1.50            $825.00
                                                                Barrios
              including information document summary
              and new items recently received
              Meeting with CAO, F. Buenrostro (RLKS),
              B. Mistler, J. DeVincenzo, K. Wrenn, K.
                                                                Leticia
 8/2/2023     Lowery (EY); discuss employment tax                              0.40            $220.00
                                                                Barrios
              items and other income tax items
              required information for audit response
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo                Leticia
 8/2/2023                                                                      0.60            $330.00
              (EY); call with IRS employment tax                Barrios
              auditor to discuss new entities
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo                Leticia
 8/2/2023                                                                      2.00           $1,100.00
              (EY); discuss employment tax items                Barrios
              including August due dates, state and

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date    Description                                    Professional
                                                                            Worked        Charge
              local account updates, expense
              statement review and other items
              Meeting with CAO, F. Buenrostro (RLKS),
              K. Wrenn, K. Lowery, J. DeVincenzo               Leticia
 8/2/2023                                                                     0.30            $165.00
              (EY); working session on executive               Barrios
              payment supporting detail analysis
              Review petition date trial balances and
 8/2/2023     prepare and record required journal             Mary Cilia      1.50           $1,462.50
              adjustments
              Review e-mails related to amended
 8/2/2023                                                     Mary Cilia      0.30            $292.50
              schedules re: insider payments
              Coordinate various treasury activities and
 8/2/2023                                                     Mary Cilia      1.10           $1,072.50
              monitor daily communications
              Correspondence with R. Hoskins (RLKS)
 8/2/2023     re: Alameda and Ventures silo financial         Mary Cilia      1.20           $1,170.00
              statements
              Communicating with various domestic
              and international offices to approve
 8/2/2023                                                     Mary Cilia      1.70           $1,657.50
              spending while responding to operational
              and financial considerations
              Maintain a variety of financial records,
 8/2/2023     reports, and communications on a daily          Mary Cilia      2.10           $2,047.50
              basis
              Review and complete state tax return
 8/2/2023                                                     Mary Cilia      1.40           $1,365.00
              filings and related e-mails
              Review docket report and document and
 8/2/2023                                                     Mary Cilia      0.60            $585.00
              account for related filings
              Meeting with CAO, K. Lowery, T. Shea,
 8/2/2023     C. Tong (EY) and others; EY tax update          Mary Cilia      0.50            $487.50
              with key stakeholders
              Non-working travel from Houston to NY;
 8/2/2023     travel for in-person meeting to review tax      Mary Cilia      2.50        $1,218.75 *
              items at EY office
              Download July 2023 bank statements               Melissa
 8/2/2023                                                                     1.20            $660.00
              received from foreign bank lead                  Concitis
              Modify the names of the bank statements
              for July 2023 and subsequently place             Melissa
 8/2/2023                                                                     1.80            $990.00
              them in the shared drive, granting access        Concitis
              to all team members
              Efficiently retrieved the vendor's financial
              information from the designated                  Melissa
 8/2/2023                                                                     1.50            $825.00
              repository through a comprehensive               Concitis
              search
              Completed the transfer of vendor
                                                               Melissa
 8/2/2023     transactions into the designated                                1.70            $935.00
                                                               Concitis
              accounting application
              To facilitate team access and review,
              detailed annotations were meticulously           Melissa
 8/2/2023                                                                     1.30            $715.00
              generated for all vendor transaction             Concitis
              attachments


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date    Description                                     Professional
                                                                             Worked        Charge
              Review Customer portal traffic associated           Raj
 8/2/2023                                                                      0.50            $487.50
              countries                                        Perubhatla
              Call with J. Hughes (Kroll), K.
              Ramanathan, R. Esposito, A. Mohammed                Raj
 8/2/2023                                                                      0.50            $487.50
              (A&M) and others; FTX Customer portal            Perubhatla
              sync with Kroll
              Correspondence with CAO; re: crypto                 Raj
 8/2/2023                                                                      0.50            $487.50
              movements and tracing                            Perubhatla
                                                                  Raj
 8/2/2023     Review staffing on various projects                              1.30           $1,267.50
                                                               Perubhatla
              Correspondence with J. Kapoor (S&C);
                                                                  Raj
 8/2/2023     regarding cloud service agreement                                0.30            $292.50
                                                               Perubhatla
              downgrades
              Conference call with A. Mohammad, V.
                                                                  Raj
 8/2/2023     Nadimpalli (A&M) and a third party                               0.90            $877.50
                                                               Perubhatla
              vendor; Customer Portal development
              Conference call with A. Mohammad
                                                                  Raj
 8/2/2023     (A&M), P. Travis (Alix) and the FTX                              0.40            $390.00
                                                               Perubhatla
              Team; Status updates call
              Correspondence with D. Sagen (A&M);                 Raj
 8/2/2023                                                                      0.40            $390.00
              Crypto management                                Perubhatla
              Review development oversight and                    Raj
 8/2/2023                                                                      1.20           $1,170.00
              respond accordingly                              Perubhatla
              Review and respond to IT access and                 Raj
 8/2/2023                                                                      1.80           $1,755.00
              administration matters                           Perubhatla
              Review, research and collect invoices for           Raj
 8/2/2023                                                                      1.30           $1,267.50
              payment re: cloud services in use                Perubhatla
              Review and respond to C. Arnett (A&M)               Raj
 8/2/2023                                                                      0.50            $487.50
              re: Crypto management                            Perubhatla
              Review and reply to J. Sime (Business
                                                                  Raj
 8/2/2023     Unit); data collection and systems access                        0.30            $292.50
                                                               Perubhatla
              matters
              Review and reply to K. Montague (A&M);              Raj
 8/2/2023                                                                      0.30            $292.50
              KYC vendor agreements                            Perubhatla
              Review and confirm Crypto management                Raj
 8/2/2023                                                                      0.50            $487.50
              actions at a custodian site                      Perubhatla
              Correspondence with D. Tollefsen                    Raj
 8/2/2023                                                                      0.30            $292.50
              (RLKS); cloud account charges                    Perubhatla
              Review and gather required
                                                                  Raj
 8/2/2023     documentation and complete service                               0.50            $487.50
                                                               Perubhatla
              provider applications
              Aggregate support for Venture Silo loans          Robert
 8/2/2023                                                                      0.80            $600.00
              receivable balance and post on Box                Hoskins
              Correspondence with CFO re: review of             Robert
 8/2/2023                                                                      1.20            $900.00
              Alameda and Ventures Silo financials              Hoskins
              Correspondence with EY Statutory
                                                                Robert
 8/2/2023     Reporting re: Non Debtor accounting                              0.40            $300.00
                                                                Hoskins
              records
              Correspondence with EY tax re: Petition           Robert
 8/2/2023                                                                      0.30            $225.00
              date TB's                                         Hoskins


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              Correspondence with M. Concitis (RLKS)          Robert
 8/2/2023                                                                    0.30            $225.00
              re: November intercompany reconciliation        Hoskins
              Non-working travel from Houston to New
                                                              Robert
 8/2/2023     York; travel for in-person meeting to                          4.50        $1,687.50 *
                                                              Hoskins
              review tax items at EY office
              Recalculate petition date accrued interest      Robert
 8/2/2023                                                                    1.40           $1,050.00
              receivable for Ventures Silo                    Hoskins
              Recalculate post petition date accrued          Robert
 8/2/2023                                                                    1.30            $975.00
              interest receivable for Ventures Silo           Hoskins
              Review loans receivable balances and            Robert
 8/2/2023                                                                    1.20            $900.00
              detailed support for Ventures Silo              Hoskins
              IT Helpdesk e-mail responses / account
                                                             Brandon
 8/3/2023     updates / password resets / invitations to                     2.40           $1,440.00
                                                             Bangerter
              applications
              Meeting with L. Farazis (Sygnia);              Brandon
 8/3/2023                                                                    0.80            $480.00
              migrating user data and domains                Bangerter
              Conference call with CIO; discuss IT           Brandon
 8/3/2023                                                                    0.60            $360.00
              projects, costs and issues                     Bangerter
              Support ticket updates with software
                                                             Brandon
 8/3/2023     vendors on pre and post petition                               2.80           $1,680.00
                                                             Bangerter
              expenses
              Critical application audit of user accounts    Brandon
 8/3/2023                                                                    2.30           $1,380.00
              and administrators and suspensions             Bangerter
              Cloud platform searches for application        Brandon
 8/3/2023                                                                    2.10           $1,260.00
              contracts                                      Bangerter
              Review and reconciliation of Foreign            Daniel
 8/3/2023                                                                    0.90            $495.00
              Debtor financial operating accounts            Tollefsen
              Review and update of Foreign Debtor             Daniel
 8/3/2023                                                                    0.80            $440.00
              payment trackers                               Tollefsen
              Review and respond to emails from CIO           Daniel
 8/3/2023                                                                    0.20            $110.00
              re: new vendor invoices                        Tollefsen
              Review and reconciliation of Debtor
                                                              Daniel
 8/3/2023     financial operating accounts re: daily                         0.90            $495.00
                                                             Tollefsen
              transactional activity
              Review of supporting documentation re:          Daniel
 8/3/2023                                                                    1.60            $880.00
              Debtor payment requests                        Tollefsen
              Update master payment tracker with
                                                              Daniel
 8/3/2023     recent vendor and employee invoice and                         2.20           $1,210.00
                                                             Tollefsen
              payment data
              Update vendor files with supporting             Daniel
 8/3/2023                                                                    0.80            $440.00
              payment documentation                          Tollefsen
              Address / contact information research for      Daniel
 8/3/2023                                                                    2.80           $1,540.00
              business unit population                       Tollefsen
              Meeting with L. Barrios (RLKS), K.
                                                               Felicia
 8/3/2023     Wrenn, K. Lowery (EY); data gathering                          2.40            $960.00
                                                             Buenrostro
              and statement review for Debtor Entities
              Meeting with L. Barrios (RLKS), K.
              Wrenn, K. Lowery (EY); data gathering            Felicia
 8/3/2023                                                                    2.30            $920.00
              on employment agreements for Debtor            Buenrostro
              Entities


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date    Description                                    Professional
                                                                            Worked        Charge
              Meeting with L. Barrios (RLKS), K.
              Wrenn, K. Lowery (EY); data gathering             Felicia
 8/3/2023                                                                     2.30           $920.00
              for global claimant demographics filed to       Buenrostro
              date
              Research and gather Alameda                       Felicia
 8/3/2023                                                                     1.20           $480.00
              employment contracts for analysis               Buenrostro
              Log all FTX Inquiry inbox requests in the         Felicia
 8/3/2023                                                                     1.00           $400.00
              appropriate database                            Buenrostro
              Review and respond to a Debtor entity’s          Kathryn
 8/3/2023                                                                     0.30           $292.50
              employee re: employment termination              Schultea
              Correspondence with CIO re: follow-up            Kathryn
 8/3/2023                                                                     0.40           $390.00
              on Blockfolio Crypto inquiry                     Schultea
              Correspondence with D. Hammon (EY)
                                                               Kathryn
 8/3/2023     and S. Li (S&C) re: follow-up on Foreign                        0.60           $585.00
                                                               Schultea
              Debtors' tax documents
              Correspondence with CFO and D.
                                                               Kathryn
 8/3/2023     Johnston (A&M) re: follow-up on FTX                             0.30           $292.50
                                                               Schultea
              Trading GmbH compensation matters
              Correspondence with K. Dusendschon
                                                               Kathryn
 8/3/2023     (A&M) re: termination notice re customer                        0.50           $487.50
                                                               Schultea
              agreement
              Correspondence with HR Lead and a
                                                               Kathryn
 8/3/2023     former FTX employee re: 401K balance                            0.40           $390.00
                                                               Schultea
              owed
                                                               Kathryn
 8/3/2023     Customer Portal dashboard review                                0.20           $195.00
                                                               Schultea
              Correspondence with J. Ljustina (S&C)            Kathryn
 8/3/2023                                                                     0.60           $585.00
              re: Ledger X sale escrow                         Schultea
              Meeting with CFO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, J. Scott, J. Healy, T. Ferris (EY);        Kathryn
 8/3/2023                                                                     0.60           $585.00
              discuss the due diligence deliverable and        Schultea
              IRS workstream with the FTX Executive
              committee
              Meeting with CFO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Ancona, J. Berman, T.
                                                               Kathryn
 8/3/2023     Shea, B. Mistler (EY); discuss the Federal                      0.50           $487.50
                                                               Schultea
              Tax workstream and the due diligence
              deliverable with FTX Executive committee
              Meeting with CFO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, J. Scott, K. Lowery, K. Wrenn, J.          Kathryn
 8/3/2023                                                                     0.90           $877.50
              DeVincenzo (EY); discuss the due                 Schultea
              diligence deliverable and the Employment
              Tax workstream with the FTX committee
              Meeting with CFO, R. Hoskins (RLKS), C.
              Tong, C. Ancona, C. Cavusoglu, D.
              Gorman, T. Shea, J. Scott (EY); discuss          Kathryn
 8/3/2023                                                                     0.50           $487.50
              the due diligence deliverable and the            Schultea
              Technology workstream with the FTX
              Executive committee

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date    Description                                 Professional
                                                                         Worked        Charge
              Meeting with CFO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, J. Scott, C. Tong, M.
              Borts, K. Soderman (EY); discuss the due      Kathryn
 8/3/2023                                                                  1.00            $975.00
              diligence deliverable and the ACR             Schultea
              workstream with the FTX Executive
              committee
              Meeting with CFO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, K. Staromiejska, J.
              Scott, C. Tong, T. Knoeller, G. Dossche,
                                                            Kathryn
 8/3/2023     J. Marlow, D. Hammon, S. McNary (EY);                        1.00            $975.00
                                                            Schultea
              discuss the due diligence deliverable and
              the Non-US Direct Tax workstream with
              the FTX Executive committee
              Meeting with CFO, R. Hoskins (RLKS), E.
              Hall, M. Musano, C. Ancona, W.
              Bieganski, J. Scott, T. Shea, C. Tong         Kathryn
 8/3/2023                                                                  0.70            $682.50
              (EY); discuss the due diligence               Schultea
              deliverable and the SALT workstream
              with the FTX Executive committee
              Meeting with CFO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, C. Tong, L. Lovelace,
              K. Lowery, M. Musano, J. Scott, D.            Kathryn
 8/3/2023                                                                  1.00            $975.00
              Bailey, E. Hall, K. Wrenn (EY); discuss       Schultea
              missing information on 13 FTX entities
              with the FTX executive committee
              Meeting with CFO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, J. Scott, T. Ferris, A.
              Richardson (EY); discuss the due              Kathryn
 8/3/2023                                                                  0.60            $585.00
              diligence deliverable and the Information     Schultea
              Reporting and Withholding workstream
              with the FTX Executive committee
              Meeting with CFO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Ancona, C. Tong, T.
              Shea, J. Scott (EY); discuss the due          Kathryn
 8/3/2023                                                                  0.60            $585.00
              diligence deliverable and the Project         Schultea
              Management workstream with the FTX
              Executive committee
              Meeting with CFO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, D. Bailey, L. Lovelace, J. Scott
                                                            Kathryn
 8/3/2023     (EY); discuss the due diligence                              1.20           $1,170.00
                                                            Schultea
              deliverable and the International Tax
              Workstream with the FTX executive
              committee
              Meeting with F. Buenrostro (RLKS), K.
                                                            Leticia
 8/3/2023     Wrenn, K. Lowery (EY); data gathering                        2.40           $1,320.00
                                                            Barrios
              and statement review for Debtor Entities
              Meeting with F. Buenrostro (RLKS), K.
              Wrenn, K. Lowery (EY); data gathering         Leticia
 8/3/2023                                                                  2.30           $1,265.00
              on employment agreements for Debtor           Barrios
              Entities

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date    Description                                    Professional
                                                                            Worked        Charge
              Meeting with F. Buenrostro (RLKS), K.
              Wrenn, K. Lowery (EY); data gathering            Leticia
 8/3/2023                                                                     2.30           $1,265.00
              for global claimant demographics filed to        Barrios
              date
                                                               Leticia
 8/3/2023     Reconcile daily payroll logs                                    1.50            $825.00
                                                               Barrios
                                                               Leticia
 8/3/2023     Archive payroll backup history                                  1.80            $990.00
                                                               Barrios
              Organize various treasury operations and
 8/3/2023                                                     Mary Cilia      2.10           $2,047.50
              monitor daily communications
              Daily preparation of accounting, financial
 8/3/2023                                                     Mary Cilia      1.60           $1,560.00
              reporting, and communications duties
              Correspondence with domestic and
 8/3/2023     international departments for budgetary         Mary Cilia      1.30           $1,267.50
              and operational approvals
              Review of debtor entities' amended
              statements and schedules, conducting
 8/3/2023                                                     Mary Cilia      2.20           $2,145.00
              related research, and compiling review
              questions
              Account holder identification, signature
 8/3/2023     updates, and balance transfers requiring        Mary Cilia      0.80            $780.00
              communication with the bank
              Review docket report and document and
 8/3/2023                                                     Mary Cilia      0.40            $390.00
              account for related filings
              Review petition date trial balances and
 8/3/2023     prepare and record required journal             Mary Cilia      1.80           $1,755.00
              adjustments
              Meeting with CAO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, J. Scott, J. Healy, T. Ferris (EY);
 8/3/2023                                                     Mary Cilia      0.60            $585.00
              discuss the due diligence deliverable and
              IRS workstream with the FTX Executive
              committee
              Meeting with CAO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Ancona, J. Berman, T.
 8/3/2023     Shea, B. Mistler (EY); discuss the Federal      Mary Cilia      0.50            $487.50
              Tax workstream and the due diligence
              deliverable with FTX Executive committee
              Meeting with CAO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, J. Scott, K. Lowery, K. Wrenn, J.
 8/3/2023                                                     Mary Cilia      0.90            $877.50
              DeVincenzo (EY); discuss the due
              diligence deliverable and the Employment
              Tax workstream with the FTX committee
              Meeting with CAO, R. Hoskins (RLKS), C.
              Tong, C. Ancona, C. Cavusoglu, D.
              Gorman, T. Shea, J. Scott (EY); discuss
 8/3/2023                                                     Mary Cilia      0.50            $487.50
              the due diligence deliverable and the
              Technology workstream with the FTX
              Executive committee


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date    Description                                 Professional
                                                                         Worked        Charge
              Meeting with CAO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, J. Scott, C. Tong, M.
              Borts, K. Soderman (EY); discuss the due
 8/3/2023                                                  Mary Cilia      1.00            $975.00
              diligence deliverable and the ACR
              workstream with the FTX Executive
              committee
              Meeting with CAO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, K. Staromiejska, J.
              Scott, C. Tong, T. Knoeller, G. Dossche,
 8/3/2023     J. Marlow, D. Hammon, S. McNary (EY);        Mary Cilia      1.00            $975.00
              discuss the due diligence deliverable and
              the Non-US Direct Tax workstream with
              the FTX Executive committee
              Meeting with CAO, R. Hoskins (RLKS), E.
              Hall, M. Musano, C. Ancona, W.
              Bieganski, J. Scott, T. Shea, C. Tong
 8/3/2023                                                  Mary Cilia      0.70            $682.50
              (EY); discuss the due diligence
              deliverable and the SALT workstream
              with the FTX Executive committee
              Meeting with CAO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, C. Tong, L. Lovelace,
              K. Lowery, M. Musano, J. Scott, D.
 8/3/2023                                                  Mary Cilia      1.00            $975.00
              Bailey, E. Hall, K. Wrenn (EY); discuss
              missing information on 13 FTX entities
              with the FTX executive committee
              Meeting with CAO, R. Hoskins (RLKS), C.
              Ancona, T. Shea, J. Scott, T. Ferris, A.
              Richardson (EY); discuss the due
 8/3/2023                                                  Mary Cilia      0.60            $585.00
              diligence deliverable and the Information
              Reporting and Withholding workstream
              with the FTX Executive committee
              Meeting with CAO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Ancona, C. Tong, T.
              Shea, J. Scott (EY); discuss the due
 8/3/2023                                                  Mary Cilia      0.60            $585.00
              diligence deliverable and the Project
              Management workstream with the FTX
              Executive committee
              Meeting with CAO, R. Hoskins (RLKS), D.
              Hariton (S&C), C. Tong, C. Ancona, T.
              Shea, D. Bailey, L. Lovelace, J. Scott
 8/3/2023     (EY); discuss the due diligence              Mary Cilia      1.20           $1,170.00
              deliverable and the International Tax
              Workstream with the FTX executive
              committee
              Access the shared drive to collect vendor     Melissa
 8/3/2023                                                                  2.30           $1,265.00
              transaction information                       Concitis
              Log vendor transactions in the designated     Melissa
 8/3/2023                                                                  2.50           $1,375.00
              finance management system                     Concitis
              Enabling team-wide access and efficient
                                                            Melissa
 8/3/2023     review, detailed annotations were crafted                    1.30            $715.00
                                                            Concitis
              for all vendor transaction attachments

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date    Description                                    Professional
                                                                            Worked        Charge
              Rectify any discrepancies between
                                                               Melissa
 8/3/2023     vendor transactions and the team's                              1.30            $715.00
                                                               Concitis
              monthly payment tracker
              Conference call with H. Nachmias and L.
                                                                 Raj
 8/3/2023     Farazis (Sygnia); weekly standup on                             0.50            $487.50
                                                              Perubhatla
              Cyber/Crypto/IT issues
              Call with vendor; application documents            Raj
 8/3/2023                                                                     0.30            $292.50
              and requirements                                Perubhatla
              Gather required documentation and
                                                                 Raj
 8/3/2023     continue to complete service provider                           0.50            $487.50
                                                              Perubhatla
              applications
              Call with L. Callerio, R. Hershan (A&M)
                                                                 Raj
 8/3/2023     and others; archival and data retention                         0.30            $292.50
                                                              Perubhatla
              needs
              Correspondence with CAO and H. Boo
                                                                 Raj
 8/3/2023     (Blockfolio); trace activity on certain                         0.30            $292.50
                                                              Perubhatla
              wallets
              Correspondence with CAO and CFO;                   Raj
 8/3/2023                                                                     0.50            $487.50
              staffing matters                                Perubhatla
                                                                 Raj
 8/3/2023     Review status of data collection efforts                        1.50           $1,462.50
                                                              Perubhatla
              Call with A. Mohammad, M. Flynn, K.
                                                                 Raj
 8/3/2023     Ramanathan (A&M); Weekly tech                                   0.60            $585.00
                                                              Perubhatla
              touchpoint
              Assess and resolve IT access and                   Raj
 8/3/2023                                                                     2.40           $2,340.00
              administrative issues                           Perubhatla
              Observe and respond to development                 Raj
 8/3/2023                                                                     2.30           $2,242.50
              oversight                                       Perubhatla
              Conference call with B. Bangerter
                                                                 Raj
 8/3/2023     (RLKS); discuss IT projects, costs and                          0.60            $585.00
                                                              Perubhatla
              issues
              Call with C. Kampa (Custodian); Crypto             Raj
 8/3/2023                                                                     0.20            $195.00
              management                                      Perubhatla
              Review and respond to J. Kapoor (S&C);
                                                                 Raj
 8/3/2023     cloud support agreement termination                             0.50            $487.50
                                                              Perubhatla
              forms
              Meeting with CAO, CFO, D. Hariton
              (S&C), C. Tong, C. Ancona, T. Shea, J.
              Scott, J. Healy, T. Ferris (EY); discuss the     Robert
 8/3/2023                                                                     0.60            $450.00
              due diligence deliverable and IRS                Hoskins
              workstream with the FTX Executive
              committee
              Meeting with CAO, CFO, D. Hariton
              (S&C), C. Ancona, J. Berman, T. Shea,
                                                               Robert
 8/3/2023     B. Mistler (EY); discuss the Federal Tax                        0.50            $375.00
                                                               Hoskins
              workstream and the due diligence
              deliverable with FTX Executive committee
              Meeting with CAO, CFO, D. Hariton
              (S&C), C. Tong, C. Ancona, T. Shea, J.           Robert
 8/3/2023                                                                     0.90            $675.00
              Scott, K. Lowery, K. Wrenn, J.                   Hoskins
              DeVincenzo (EY); discuss the due

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              diligence deliverable and the Employment
              Tax workstream with the FTX committee
              Meeting with CAO, CFO, C. Tong, C.
              Ancona, C. Cavusoglu, D. Gorman, T.
              Shea, J. Scott (EY); discuss the due            Robert
 8/3/2023                                                                    0.50           $375.00
              diligence deliverable and the Technology        Hoskins
              workstream with the FTX Executive
              committee
              Meeting with CAO, CFO, C. Ancona, T.
              Shea, J. Scott, C. Tong, M. Borts, K.
              Soderman (EY); discuss the due                  Robert
 8/3/2023                                                                    1.00           $750.00
              diligence deliverable and the ACR               Hoskins
              workstream with the FTX Executive
              committee
              Meeting with CAO, CFO, C. Ancona, T.
              Shea, K. Staromiejska, J. Scott, C. Tong,
              T. Knoeller, G. Dossche, J. Marlow, D.
                                                              Robert
 8/3/2023     Hammon, S. McNary (EY); discuss the                            1.00           $750.00
                                                              Hoskins
              due diligence deliverable and the Non-US
              Direct Tax workstream with the FTX
              Executive committee
              Meeting with CAO, CFO, E. Hall, M.
              Musano, C. Ancona, W. Bieganski, J.
              Scott, T. Shea, C. Tong (EY); discuss the       Robert
 8/3/2023                                                                    0.70           $525.00
              due diligence deliverable and the SALT          Hoskins
              workstream with the FTX Executive
              committee
              Meeting with CAO, CFO, C. Ancona, T.
              Shea, C. Tong, L. Lovelace, K. Lowery,
              M. Musano, J. Scott, D. Bailey, E. Hall, K.     Robert
 8/3/2023                                                                    1.00           $750.00
              Wrenn (EY); discuss missing information         Hoskins
              on 13 FTX entities with the FTX executive
              committee
              Meeting with CAO, CFO, C. Ancona, T.
              Shea, J. Scott, T. Ferris, A. Richardson
              (EY); discuss the due diligence                 Robert
 8/3/2023                                                                    0.60           $450.00
              deliverable and the Information Reporting       Hoskins
              and Withholding workstream with the FTX
              Executive committee
              Meeting with CAO, CFO, D. Hariton
              (S&C), C. Ancona, C. Tong, T. Shea, J.
              Scott (EY); discuss the due diligence           Robert
 8/3/2023                                                                    0.60           $450.00
              deliverable and the Project Management          Hoskins
              workstream with the FTX Executive
              committee
              Meeting with CAO, CFO, D. Hariton
              (S&C), C. Tong, C. Ancona, T. Shea, D.
              Bailey, L. Lovelace, J. Scott (EY); discuss     Robert
 8/3/2023                                                                    1.20           $900.00
              the due diligence deliverable and the           Hoskins
              International Tax Workstream with the
              FTX executive committee

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              IT Helpdesk responses / access rights /        Brandon
 8/4/2023                                                                    2.70           $1,620.00
              password changes / account updates             Bangerter
              Hardware retrieval updates to outstanding      Brandon
 8/4/2023                                                                    1.90           $1,140.00
              list and website                               Bangerter
              Configuration and setup for exporting          Brandon
 8/4/2023                                                                    2.60           $1,560.00
              data from critical applications                Bangerter
              Hardware retrieval user account list           Brandon
 8/4/2023                                                                    1.80           $1,080.00
              updates and communications                     Bangerter
              Research on security software and              Brandon
 8/4/2023                                                                    2.40           $1,440.00
              installations on employee hardware             Bangerter
              Conference call with CIO; messaging            Brandon
 8/4/2023                                                                    0.50            $300.00
              platform migration, data retention issues      Bangerter
              Meeting with B. McMahon (FTI); vendor
                                                             Brandon
 8/4/2023     software exports and access to                                 0.40            $240.00
                                                             Bangerter
              applications
              Review and respond to emails from CIO           Daniel
 8/4/2023                                                                    0.20            $110.00
              re: new vendor invoices                        Tollefsen
              Review and reconciliation of Debtor
                                                              Daniel
 8/4/2023     financial operating accounts re: daily                         0.80            $440.00
                                                             Tollefsen
              transactional activity
              Review of supporting documentation re:           Daniel
 8/4/2023                                                                    1.80            $990.00
              Debtor payment requests                         Tollefsen
              Update master payment tracker with               Daniel
 8/4/2023                                                                    1.70            $935.00
              recent vendor invoice and payment data          Tollefsen
              Review of supporting documentation re:           Daniel
 8/4/2023                                                                    1.30            $715.00
              Foreign Debtor payment requests                 Tollefsen
              Review and update of Foreign Debtor              Daniel
 8/4/2023                                                                    1.70            $935.00
              payment trackers                                Tollefsen
              Review and respond to CFO re: vendor             Daniel
 8/4/2023                                                                    0.20            $110.00
              invoices                                        Tollefsen
              Update of vendor files with recent               Daniel
 8/4/2023                                                                    0.60            $330.00
              supporting documentation                        Tollefsen
              Working session with CFO; WA ACH                 Daniel
 8/4/2023                                                                    2.00           $1,100.00
              account and data entry                          Tollefsen
                                                               Daniel
 8/4/2023     Review and update ACH data entries                             1.90           $1,045.00
                                                              Tollefsen
              Review and sort incoming documents for           Felicia
 8/4/2023                                                                    0.70            $280.00
              FTX US                                         Buenrostro
              Update the call log spreadsheet using My
                                                               Felicia
 8/4/2023     Phone.com corporate inbox message                              0.50            $200.00
                                                             Buenrostro
              details
              Review and maintain a record of all
                                                               Felicia
 8/4/2023     incoming documents and materials                               0.70            $280.00
                                                             Buenrostro
              received by Alameda Research LLC
              Incoming documentation processing and
                                                               Felicia
 8/4/2023     review on behalf of West Realm Shires                          0.50            $200.00
                                                             Buenrostro
              Inc.
              Prepare, sort, and evaluate all Earth
                                                               Felicia
 8/4/2023     Class Virtual Mailbox emails before filing                     1.50            $600.00
                                                             Buenrostro
              in the appropriate repository folders


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                              Hrs/Mins   Corresponding
Enter Date    Description                                      Professional
                                                                              Worked        Charge
              Log all FTX Inquiry inbox requests in the           Felicia
 8/4/2023                                                                       2.00            $800.00
              appropriate database                              Buenrostro
              Collect and organize various debtor                 Felicia
 8/4/2023                                                                       3.20           $1,280.00
              entities' employment agreements                   Buenrostro
              Correspondence with CEO and CFO re:                Kathryn
 8/4/2023                                                                       0.20            $195.00
              FTX Property Holdings bank accounts                Schultea
              Correspondence with a vendor re:                   Kathryn
 8/4/2023                                                                       0.50            $487.50
              outstanding corporate income tax balance           Schultea
              Correspondence with A. Kranzley (S&C)              Kathryn
 8/4/2023                                                                       0.40            $390.00
              re: wind-down of Debtor entity                     Schultea
                                                                 Kathryn
 8/4/2023     Customer Portal dashboard review                                  0.20            $195.00
                                                                 Schultea
              Correspondence with H. Boo (Blockfolio)
                                                                 Kathryn
 8/4/2023     re: follow-up on Blockfolio Crypto                                0.40            $390.00
                                                                 Schultea
              management actions
              Correspondence with J. Scott (EY) re:              Kathryn
 8/4/2023                                                                       0.80            $780.00
              WRS SOW review                                     Schultea
              Correspondence with D. Tollefsen
                                                                 Kathryn
 8/4/2023     (RLKS) re: former employee                                        0.40            $390.00
                                                                 Schultea
              compensation request
              Correspondence with D. Tollefsen                   Kathryn
 8/4/2023                                                                       0.50            $487.50
              (RLKS) re: Ledger Prime payment tracker            Schultea
              Non-working travel from NY to Houston;
                                                                 Kathryn
 8/4/2023     return from in-person meeting to review                           4.50        $2,193.75 *
                                                                 Schultea
              tax items at EY office
              Received & validated payment requests              Kathryn
 8/4/2023                                                                       1.90           $1,852.50
              for employee related payments                      Schultea
                                                                 Kathryn
 8/4/2023     Input wire transactions for approval                              2.50           $2,437.50
                                                                 Schultea
              Send 1099 emails to EY for preliminary              Leticia
 8/4/2023                                                                       1.80            $990.00
              processing and review                               Barrios
              Review and respond to email requests re:
                                                                 Leticia
 8/4/2023     confidential electronic transmission of                           1.70            $935.00
                                                                 Barrios
              1099 forms
              Review and respond to emails re:                   Leticia
 8/4/2023                                                                       1.30            $715.00
              requests for identity verification                 Barrios
              Review and respond to emails re:
              requests for information from                      Leticia
 8/4/2023                                                                       1.80            $990.00
              terminated employees via domestic &                Barrios
              international HR Teams inboxes
                                                                 Leticia
 8/4/2023     Compile daily processed payroll logs                              1.70            $935.00
                                                                 Barrios
              Investigate and gather Blockfolio                  Leticia
 8/4/2023                                                                       1.60            $880.00
              employment contracts for analysis                  Barrios
              Conference call with A&M, S&C and EY;
 8/4/2023                                                       Mary Cilia      0.30            $292.50
              potential subsidiary dissolutions
              Conference call with A&M and S&C;
 8/4/2023                                                       Mary Cilia      0.30            $292.50
              SOFA 4 disclosures




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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date    Description                                 Professional
                                                                         Worked        Charge
              Weekly conference call with the
 8/4/2023     investigating team; discuss developments     Mary Cilia      0.30            $292.50
              and provide information
              Conference call with A&M; MOR cash
 8/4/2023                                                  Mary Cilia      0.70            $682.50
              reporting
              Working session with D. Tollefsen (RLKS)
 8/4/2023                                                  Mary Cilia      2.00           $1,950.00
              re: WA ACH account and data entry
              Manage a wide range of treasury-related
 8/4/2023                                                  Mary Cilia      1.40           $1,365.00
              activities and daily messages
              Maintain daily accounting, financial
 8/4/2023                                                  Mary Cilia      1.70           $1,657.50
              reporting, and communications activities
              Correspondence with R. Hoskins (RLKS)
 8/4/2023     re: Alameda and Ventures silo financial      Mary Cilia      0.70            $682.50
              statements
              Review petition date trial balances and
 8/4/2023     prepare and record required journal          Mary Cilia      2.80           $2,730.00
              adjustments
              Review docket report and document and
 8/4/2023                                                  Mary Cilia      0.30            $292.50
              account for related filings
              Non-working travel from NY to Houston;
 8/4/2023     return from in-person meeting to review      Mary Cilia      2.50        $1,218.75 *
              tax items at EY office
              Located the vendor's financial records by     Melissa
 8/4/2023                                                                  2.50           $1,375.00
              searching the designated repository           Concitis
              Imported the vendor transactions into the     Melissa
 8/4/2023                                                                  3.80           $2,090.00
              specified accounting software as required     Concitis
              Detailed annotations were made on all
              vendor transaction attachments, allowing      Melissa
 8/4/2023                                                                  1.30            $715.00
              the team to access and review the             Concitis
              information
              Verify the precision of vendor
              transactions by cross-referencing them        Melissa
 8/4/2023                                                                  2.90           $1,595.00
              with the monthly payment tracker              Concitis
              provided by the team
              Correspondence with D. Tollefsen                Raj
 8/4/2023                                                                  0.80            $780.00
              (RLKS); cloud account charges                Perubhatla
              Call with J. Hughes (Kroll), K.
              Ramanathan, R. Esposito, A. Mohammed            Raj
 8/4/2023                                                                  0.40            $390.00
              (A&M) and others; FTX Customer portal        Perubhatla
              sync with Kroll
              Correspondence with J. Shannon (Cloud
                                                              Raj
 8/4/2023     Provider) and R. Schutt (S&C); changes                       0.60            $585.00
                                                           Perubhatla
              to the forms and agreements
              Conference call with B. Bangerter
                                                              Raj
 8/4/2023     (RLKS); messaging platform migration,                        0.50            $487.50
                                                           Perubhatla
              data retention issues
                                                              Raj
 8/4/2023     Crypto management matters                                    0.30            $292.50
                                                           Perubhatla
              Monitor and address development                 Raj
 8/4/2023                                                                  2.80           $2,730.00
              supervision matters                          Perubhatla


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              Attend call with A. Bailey, B. McMahon
              (FTI), Z. Flegenheimer (S&C) and others;          Raj
 8/4/2023                                                                    0.30            $292.50
              data inventory and collection efforts for      Perubhatla
              data preservation
              Check-in call with K. Dusendschon and J.
              Marshall (A&M); weekly AWS requests,              Raj
 8/4/2023                                                                    0.30            $292.50
              databases, KYC data collection, and            Perubhatla
              follow-up tasks
              People and data searches for business             Raj
 8/4/2023                                                                    0.80            $780.00
              unit needs                                     Perubhatla
              Work on data exports from cloud service           Raj
 8/4/2023                                                                    1.30           $1,267.50
              and viability of its use for data retention    Perubhatla
              Correspondence with S. Ehrenberg                  Raj
 8/4/2023                                                                    0.30            $292.50
              (S&C); messaging data transfer to FTI          Perubhatla
              Review, research and collect invoices for         Raj
 8/4/2023                                                                    1.60           $1,560.00
              payment re: cloud services in use              Perubhatla
              Review email from D. Sagen (A&M); KYC             Raj
 8/4/2023                                                                    0.30            $292.50
              daily reporting                                Perubhatla
              Correspondence with CFO re: Review of
                                                              Robert
 8/4/2023     Alameda and Ventures silo petition date                        0.70            $525.00
                                                              Hoskins
              financials records
              Non-working travel from New York to
                                                              Robert
 8/4/2023     Houston; return from in-person meeting to                      4.50        $1,687.50 *
                                                              Hoskins
              review tax items at EY office
              Resolve accounting system access                Robert
 8/4/2023                                                                    0.30            $225.00
              issues for RLKS team members                    Hoskins
                                                              Robert
 8/4/2023     Review updated coin report                                     0.60            $450.00
                                                              Hoskins
              Review and respond to emails from CIO
                                                              Daniel
 8/5/2023     re: newly received or outstanding vendor                       0.20            $110.00
                                                             Tollefsen
              invoices
              Review and respond to emails with debtor
              personnel (Ledger Prime LLC) re:                Daniel
 8/5/2023                                                                    0.30            $165.00
              payment tracker sheet with payment             Tollefsen
              requests and supporting documentation
              Review and reconciliation of Debtor
                                                              Daniel
 8/5/2023     financial operating accounts re: daily                         0.90            $495.00
                                                             Tollefsen
              transactional activity
              Review of supporting documentation re:           Daniel
 8/5/2023                                                                    1.20            $660.00
              Debtor payment requests                         Tollefsen
              Update master payment tracker with               Daniel
 8/5/2023                                                                    2.60           $1,430.00
              recent vendor invoice and payment data          Tollefsen
              Review and update ACH data entries of            Daniel
 8/5/2023                                                                    1.80            $990.00
              invoices, payments and transfers                Tollefsen
              Update of vendor files with recent               Daniel
 8/5/2023                                                                    0.80            $440.00
              supporting documentation                        Tollefsen
              Correspondence with A. Bailey (FTI) and           Raj
 8/5/2023                                                                    0.20            $195.00
              others; messaging matters                      Perubhatla
              Resolve accounting system access                 Robert
 8/5/2023                                                                    0.80            $600.00
              issues for RLKS team members                    Hoskins


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                                  Time Detail Activity by Professional
                                               Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date    Description                                     Professional
                                                                             Worked        Charge
              Review email correspondence from A&M              Robert
 8/5/2023                                                                      0.30            $225.00
              and S&C re: Global notes to the MOR               Hoskins
              IT Helpdesk e-mail responses / account
                                                               Brandon
 8/6/2023     updates / troubleshooting held email on                          0.80            $480.00
                                                               Bangerter
              accounts
              Review petition date trial balances and
 8/6/2023     prepare and record required journal              Mary Cilia      1.90           $1,852.50
              adjustments
              Monitor weekly cash balance report and
 8/6/2023     generate a comprehensive weekly task             Mary Cilia      1.20           $1,170.00
              list
              Correspondence with D. Tollefsen                    Raj
 8/6/2023                                                                      0.50            $487.50
              (RLKS); cloud account charges                    Perubhatla
              Meeting with L. Farazis (Sygnia);                 Brandon
 8/7/2023                                                                      0.50            $300.00
              migrating user data and domains                  Bangerter
              Audits of critical applications user              Brandon
 8/7/2023                                                                      2.70           $1,620.00
              population and removal of accounts               Bangerter
              Support case updates with critical
                                                               Brandon
 8/7/2023     application vendors on contracts and                             2.40           $1,440.00
                                                               Bangerter
              expenses
              IT Helpdesk responses / e-mail
                                                               Brandon
 8/7/2023     responses / password changes / account                           1.90           $1,140.00
                                                               Bangerter
              updates
              Cloud platform searches for critical             Brandon
 8/7/2023                                                                      3.00           $1,800.00
              application invoices and contracts               Bangerter
              Research on application accounts and             Brandon
 8/7/2023                                                                      2.20           $1,320.00
              configuration of software utilized in portal     Bangerter
              Review and respond to emails from CIO
                                                                Daniel
 8/7/2023     re: newly received or outstanding vendor                         0.20            $110.00
                                                               Tollefsen
              invoices
              Review and respond to Foreign Debtor
              personnel (Alameda Research KK) re:               Daniel
 8/7/2023                                                                      0.30            $165.00
              payment tracker sheet with payment               Tollefsen
              requests and supporting documentation
              Review and respond to emails with
              Foreign Debtor and Non-Debtor
                                                                Daniel
 8/7/2023     personnel re: payment tracker sheet with                         0.80            $440.00
                                                               Tollefsen
              payment requests and supporting
              documentation
              Review and respond to CFO re: vendor              Daniel
 8/7/2023                                                                      0.20            $110.00
              invoices                                         Tollefsen
              Review and respond to emails with
              Foreign Debtor personnel (FTX Japan
                                                                Daniel
 8/7/2023     Group) re: payment tracker sheet with                            0.80            $440.00
                                                               Tollefsen
              payment requests and supporting
              documentation
              Review and reconciliation of Foreign              Daniel
 8/7/2023                                                                      0.90            $495.00
              Debtor financial operating accounts              Tollefsen
              Review of supporting invoice
                                                                Daniel
 8/7/2023     documentation re: payment requests of                            1.70            $935.00
                                                               Tollefsen
              Foreign Debtors

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date    Description                                    Professional
                                                                            Worked        Charge
              Update of Foreign Debtor payment                 Daniel
 8/7/2023                                                                     0.80            $440.00
              tracker sheets                                  Tollefsen
              Review and reconciliation of US Debtor           Daniel
 8/7/2023                                                                     0.80            $440.00
              operating accounts                              Tollefsen
              Review vendor invoice supporting                 Daniel
 8/7/2023                                                                     1.20            $660.00
              documentation for US Debtors                    Tollefsen
              Update of master payment tracker with
                                                               Daniel
 8/7/2023     financial transaction activity from all                         1.30            $715.00
                                                              Tollefsen
              Debtors
              Update vendor files with supporting               Daniel
 8/7/2023                                                                     0.60            $330.00
              payment documentation                            Tollefsen
              Review and update ACH data entries of             Daniel
 8/7/2023                                                                     0.80            $440.00
              invoices, payments and transfers                 Tollefsen
              Receive and sort all incoming files               Felicia
 8/7/2023                                                                     0.70            $280.00
              and paperwork for FTX US                        Buenrostro
              Review calls in the My Phone.com
                                                                Felicia
 8/7/2023     company inbox and log information in the                        0.50            $200.00
                                                              Buenrostro
              call log spreadsheet
              Manage and organize all materials
                                                                Felicia
 8/7/2023     received on behalf of Alameda Research                          0.70            $280.00
                                                              Buenrostro
              LLC
              Filing and screening documents for West           Felicia
 8/7/2023                                                                     0.50            $200.00
              Realm Shires Inc.                               Buenrostro
              Review and file Earth Class Virtual
                                                                Felicia
 8/7/2023     Mailbox emails in the proper repository                         0.80            $320.00
                                                              Buenrostro
              folders
              Manage and record all FTX Inquiry inbox           Felicia
 8/7/2023                                                                     1.80            $720.00
              queries in the designated database              Buenrostro
              Review and maintain Alameda                       Felicia
 8/7/2023                                                                     3.30           $1,320.00
              employment agreements for review                Buenrostro
              Review and respond to CIO re: KERP               Kathryn
 8/7/2023                                                                     0.40            $390.00
              materials                                        Schultea
              Review and respond to emails with
                                                               Kathryn
 8/7/2023     several FTX employees re: distribution of                       0.80            $780.00
                                                               Schultea
              KERP materials
              Review and respond to emails with CFO            Kathryn
 8/7/2023                                                                     0.60            $585.00
              re: weekly payment package                       Schultea
              Review and respond to K. Wrenn (EY) re:
                                                               Kathryn
 8/7/2023     receipt of entity initial contact forms from                    0.30            $292.50
                                                               Schultea
              EY
              Review and respond to emails with D.
                                                               Kathryn
 8/7/2023     Tollefsen (RLKS) re: S&C mailroom                               0.40            $390.00
                                                               Schultea
              contact information inquiry
              Correspondence with a vendor re: I-9             Kathryn
 8/7/2023                                                                     0.30            $292.50
              physical document inspection process             Schultea
              Correspondence with K. Wrenn (EY) re:            Kathryn
 8/7/2023                                                                     0.50            $487.50
              US citizens on Foreign Debtor payroll            Schultea
              Correspondence with D. Tollefsen
                                                               Kathryn
 8/7/2023     (RLKS) re: office rent payment of                               0.40            $390.00
                                                               Schultea
              Alameda Research KK


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
                                                             Kathryn
 8/7/2023     Review weekly PMO and WGL updates                             0.20            $195.00
                                                             Schultea
              Correspondence with D. Tollefsen
              (RLKS) and an FTX employee re:                 Kathryn
 8/7/2023                                                                   0.80            $780.00
              payment trackers & payment approval            Schultea
              slide deck review
              Correspondence with D. Hammon (EY)
                                                             Kathryn
 8/7/2023     re: review draft of FTX due diligence                         0.70            $682.50
                                                             Schultea
              summary report for foreign entities
              Correspondence with CFO and D.
                                                             Kathryn
 8/7/2023     Hammon (EY) re: Foreign Entity tax                            0.40            $390.00
                                                             Schultea
              compliance matters
              Correspondence with Debtor Bank
                                                             Kathryn
 8/7/2023     personnel re: eFX trade authorization                         0.30            $292.50
                                                             Schultea
              request
              Correspondence with K. Wrenn (EY) re:          Kathryn
 8/7/2023                                                                   0.60            $585.00
              review IRS IDR materials                       Schultea
                                                             Kathryn
 8/7/2023     Customer Portal dashboard review                              0.20            $195.00
                                                             Schultea
              Correspondence with a payroll vendor re:
                                                             Kathryn
 8/7/2023     Alameda Research payroll journal                              0.30            $292.50
                                                             Schultea
              request
              Correspondence with D. Tollefsen
                                                             Kathryn
 8/7/2023     (RLKS) re: follow-up on former employee                       0.40            $390.00
                                                             Schultea
              compensation request
              Correspondence with Debtor Bank
                                                             Kathryn
 8/7/2023     personnel re: track vendor wire payment                       0.30            $292.50
                                                             Schultea
              status
              Correspondence with B. Mistler (EY) re:
                                                             Kathryn
 8/7/2023     reportable transactions questionnaire for                     0.80            $780.00
                                                             Schultea
              tax return preparation
              Correspondence with D. Tollefsen               Kathryn
 8/7/2023                                                                   0.50            $487.50
              (RLKS) re: Zubr payment tracking inquiry       Schultea
              Correspondence with a vendor
                                                             Kathryn
 8/7/2023     representative re: FTX non-customer                           0.40            $390.00
                                                             Schultea
              country data
              Correspondence with an FTX employee
                                                             Kathryn
 8/7/2023     re: matching engine analysis and due                          0.30            $292.50
                                                             Schultea
              diligence process
              Approved expenses with multiple
              domestic and international offices while
 8/7/2023                                                   Mary Cilia      1.70           $1,657.50
              addressing operational and financial
              matters
              Review petition date trial balances and
 8/7/2023     prepare and record required journal           Mary Cilia      1.60           $1,560.00
              adjustments
 8/7/2023     Conference call with QE; asset recovery       Mary Cilia      0.30            $292.50
              Monitoring debtor entities' amended
 8/7/2023                                                   Mary Cilia      1.70           $1,657.50
              statements and schedules, conducting



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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              associated research, and compiling
              review questions
              Organize various treasury operations and
 8/7/2023                                                    Mary Cilia      2.10           $2,047.50
              monitor daily communications
              Daily preparation of accounting, financial
 8/7/2023                                                    Mary Cilia      1.80           $1,755.00
              reporting, and communications duties
              Follow up with foreign bank lead re: July       Melissa
 8/7/2023                                                                    0.40            $220.00
              2023 Bank Statements                            Concitis
              Successfully sourced the vendor's
                                                              Melissa
 8/7/2023     financial documentation through a                              2.70           $1,485.00
                                                              Concitis
              repository search
              Document vendor transactions within the         Melissa
 8/7/2023                                                                    3.40           $1,870.00
              specified accounting application                Concitis
              Attach relevant comments to accounting          Melissa
 8/7/2023                                                                    1.50            $825.00
              software transactions involving vendors         Concitis
              Validate vendor transactions by cross-
                                                              Melissa
 8/7/2023     referencing them with the monthly                              2.30           $1,265.00
                                                              Concitis
              payment tracker from the team
              Correspondence with CAO; Staffing                 Raj
 8/7/2023                                                                    0.30            $292.50
              matters                                        Perubhatla
              Conference call with L. Farazis (Sygnia);
                                                                Raj
 8/7/2023     weekly standup on Cyber/Crypto/IT                              0.50            $487.50
                                                             Perubhatla
              issues
              Correspondence with K. Dusendschon
                                                                Raj
 8/7/2023     (A&M); data collection/preservation                            0.30            $292.50
                                                             Perubhatla
              efforts
              Correspondence with J. Shannon (Cloud
                                                                Raj
 8/7/2023     Provider) and J. Kapoor (S&C); changes                         0.30            $292.50
                                                             Perubhatla
              to the forms and agreements
              Evaluate development oversight and act            Raj
 8/7/2023                                                                    2.80           $2,730.00
              as necessary                                   Perubhatla
              Review and approve Crypto management              Raj
 8/7/2023                                                                    0.30            $292.50
              actions                                        Perubhatla
              Review and gather required
                                                                Raj
 8/7/2023     documentation and complete service                             0.50            $487.50
                                                             Perubhatla
              provider applications
              Review, research and collect invoices for         Raj
 8/7/2023                                                                    1.80           $1,755.00
              payment re: cloud services in use              Perubhatla
                                                                Raj
 8/7/2023     Review status of data collection efforts                       0.50            $487.50
                                                             Perubhatla
              Manage access and IT administrative               Raj
 8/7/2023                                                                    1.70           $1,657.50
              concerns                                       Perubhatla
              Conference call with J. Sime (Business
              Unit), L. Callerio (A&M) and others; intro        Raj
 8/7/2023                                                                    0.20            $195.00
              call with the team for upcoming data           Perubhatla
              collection efforts
              Review Customer portal KYC/AML users              Raj
 8/7/2023                                                                    0.20            $195.00
              status                                         Perubhatla
              Correspondence with H. Nachmias
                                                                Raj
 8/7/2023     (Sygnia); plan and coordinate data                             0.30            $292.50
                                                             Perubhatla
              collection actions

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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
              Meeting with vendor; ChatGPT plugin and        Brandon
 8/8/2023                                                                    0.50            $300.00
              integration                                    Bangerter
              Troubleshooting application configuration      Brandon
 8/8/2023                                                                    2.10           $1,260.00
              and rights issues                              Bangerter
              Conference call with CIO, A. Mohammad
              (A&M) and Cloud service provider;              Brandon
 8/8/2023                                                                    0.50            $300.00
              discuss customer support option                Bangerter
              automation on the site
              Tracking billing and invoices for critical     Brandon
 8/8/2023                                                                    1.90           $1,140.00
              applications                                   Bangerter
              Retrieval of hardware - list updates to 3rd
                                                             Brandon
 8/8/2023     party vendor, review of account and                            2.40           $1,440.00
                                                             Bangerter
              personal email addresses
              IT Helpdesk e-mail responses and               Brandon
 8/8/2023                                                                    2.60           $1,560.00
              account updates                                Bangerter
              Support ticket updates with software
                                                             Brandon
 8/8/2023     vendors on post petition expenses and                          2.80           $1,680.00
                                                             Bangerter
              contracts
              Review and respond to emails with
              Foreign Debtor personnel (FTX Japan             Daniel
 8/8/2023                                                                    0.80            $440.00
              Group) re: payment requests and                Tollefsen
              supporting documentation
              Review and respond to emails with
              Foreign Debtor personnel (FTX Exchange
                                                              Daniel
 8/8/2023     FZE) re: payment tracker sheet with                            0.40            $220.00
                                                             Tollefsen
              payment requests and supporting
              documentation
              Review and respond to emails from E.            Daniel
 8/8/2023                                                                    0.20            $110.00
              Taraba (A&M) re: payment tracker data          Tollefsen
              Review and respond to emails with CFO           Daniel
 8/8/2023                                                                    0.20            $110.00
              re: vendor invoice payments                    Tollefsen
              Review and respond to emails from CAO           Daniel
 8/8/2023                                                                    0.20            $110.00
              re: employee payments                          Tollefsen
              Review and respond to CIO re: vendor            Daniel
 8/8/2023                                                                    0.20            $110.00
              invoices                                       Tollefsen
              Review of supporting documentation re:          Daniel
 8/8/2023                                                                    1.40            $770.00
              Foreign Debtor payment requests                Tollefsen
              Update of Foreign Debtor payment                Daniel
 8/8/2023                                                                    1.70            $935.00
              tracker sheets                                 Tollefsen
              Review of supporting documentation re:          Daniel
 8/8/2023                                                                    1.30            $715.00
              Debtor payment requests                        Tollefsen
              Update of master payment tracker with
                                                              Daniel
 8/8/2023     financial transaction activity from all                        2.30           $1,265.00
                                                             Tollefsen
              Debtors
              Update vendor files with supporting              Daniel
 8/8/2023                                                                    0.80            $440.00
              payment documentation                           Tollefsen
              Review and update ACH data entries of            Daniel
 8/8/2023                                                                    0.90            $495.00
              invoices, payments and transfers                Tollefsen
              Locate forwarding addresses and remail           Felicia
 8/8/2023                                                                    0.80            $320.00
              all returned customer checks                   Buenrostro


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date    Description                                 Professional
                                                                         Worked        Charge
              Assess and organize the latest inbound         Felicia
 8/8/2023                                                                  0.50            $200.00
              documentation for FTX US                     Buenrostro
              Review calls in the My Phone.com
                                                             Felicia
 8/8/2023     company inbox and log information in the                     0.70            $280.00
                                                           Buenrostro
              call log spreadsheet
              Receive and arrange all documents on           Felicia
 8/8/2023                                                                  0.50            $200.00
              behalf of Alameda Research LLC               Buenrostro
                                                             Felicia
 8/8/2023     Filing and reviewing WRS materials                           0.70            $280.00
                                                           Buenrostro
              Sort and review Earth Class Virtual
                                                             Felicia
 8/8/2023     Mailbox emails and deposit them in the                       0.80            $320.00
                                                           Buenrostro
              appropriate repository folders
              Record queries from the FTX Inquiry            Felicia
 8/8/2023                                                                  1.50            $600.00
              inbox in the designated database             Buenrostro
              Organize and maintain Alameda                  Felicia
 8/8/2023                                                                  2.80           $1,120.00
              employment agreements                        Buenrostro
              Correspondence with D. Tollefsen              Kathryn
 8/8/2023                                                                  0.40            $390.00
              (RLKS) re: FTX EU July payments inquiry       Schultea
              Review and respond to emails with
                                                            Kathryn
 8/8/2023     various S&C advisors re: S&C mailroom                        0.50            $487.50
                                                            Schultea
              document request
              Review and respond to emails with B.
                                                            Kathryn
 8/8/2023     Mistler (EY) re: scheduling time to                          0.30            $292.50
                                                            Schultea
              discuss EY SOW
              Review and respond to emails with M.
              Flynn and R. Esposito (A&M) re:               Kathryn
 8/8/2023                                                                  0.30            $292.50
              requesting a log of all customer claims       Schultea
              inquiries received
              Review and respond to emails with B.
                                                            Kathryn
 8/8/2023     Bangerter (RLKS) re: identifying support                     0.40            $390.00
                                                            Schultea
              for customer claims email inbox
              Review and respond to emails with 401K
                                                            Kathryn
 8/8/2023     vendor personnel re: Alameda Research                        0.50            $487.50
                                                            Schultea
              plan termination inquiry
              Review and respond to emails with CFO
                                                            Kathryn
 8/8/2023     and numerous A&M advisors re: weekly                         0.60            $585.00
                                                            Schultea
              touchpoint
              Review and respond to emails with K.
                                                            Kathryn
 8/8/2023     Wrenn (EY) re: employment tax items in                       0.40            $390.00
                                                            Schultea
              process
              Correspondence with D. Tollefsen
                                                            Kathryn
 8/8/2023     (RLKS) and a FTX employee re: Foreign                        0.30            $292.50
                                                            Schultea
              Debtor payment tracking report updates
              Correspondence with CFO and A.
                                                            Kathryn
 8/8/2023     Courroy (S&C) re: review draft letter                        0.60            $585.00
                                                            Schultea
              agreements
              Correspondence with CEO and D.
              Hariton (S&C) re: supporting tax              Kathryn
 8/8/2023                                                                  0.20            $195.00
              memorandum on the priority of tax claims      Schultea
              for the 2022 straddle year


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                              Hrs/Mins   Corresponding
Enter Date    Description                                      Professional
                                                                              Worked        Charge
              Correspondence with CFO and S.
                                                                 Kathryn
 8/8/2023     Witherspoon (A&M) re: updated monthly                             0.50            $487.50
                                                                 Schultea
              FX rates database
              Correspondence with F. Buenrostro
                                                                 Kathryn
 8/8/2023     (RLKS) re: researching employment                                 0.80            $780.00
                                                                 Schultea
              agreements
              Correspondence with CFO re: follow-up              Kathryn
 8/8/2023                                                                       0.50            $487.50
              on weekly payment package                          Schultea
              Correspondence with L. Barrios (RLKS)              Kathryn
 8/8/2023                                                                       0.70            $682.50
              re: research KYC verification request              Schultea
              Correspondence with CFO and various
                                                                 Kathryn
 8/8/2023     A&M advisors re: foreign informational                            0.60            $585.00
                                                                 Schultea
              filings for domestic shareholder entity
              Correspondence with HR Lead re:                    Kathryn
 8/8/2023                                                                       0.30            $292.50
              employee reimbursement confirmation                Schultea
              Correspondence with HR Lead re: EY                 Kathryn
 8/8/2023                                                                       0.40            $390.00
              meeting recap                                      Schultea
              Correspondence with K. Wrenn (EY) re:              Kathryn
 8/8/2023                                                                       0.70            $682.50
              FTX promotors IDR response                         Schultea
                                                                 Kathryn
 8/8/2023     Customer Portal dashboard review                                  0.20            $195.00
                                                                 Schultea
              Correspondence with K. Wrenn (EY) re:              Kathryn
 8/8/2023                                                                       0.80            $780.00
              review Ledger Prime IDR materials                  Schultea
              Correspondence with C. Tong (EY) re:               Kathryn
 8/8/2023                                                                       0.30            $292.50
              EY tax summary update                              Schultea
              Correspondence with an FTX employee                Kathryn
 8/8/2023                                                                       0.40            $390.00
              re: signed KERP materials                          Schultea
              Correspondence with an FTX employee
                                                                 Kathryn
 8/8/2023     re: proposal for contract renewal                                 0.50            $487.50
                                                                 Schultea
              authorization
              Correspondence with R. Esposito (A&M)              Kathryn
 8/8/2023                                                                       0.30            $292.50
              re: customer claims questions follow-up            Schultea
              Meeting with J. DeVincenzo, K. Wrenn, K.
                                                                 Kathryn
 8/8/2023     Lowery (EY) and D. Ornelas (FTX);                                 0.50            $487.50
                                                                 Schultea
              payroll weekly touchpoint
              Received & validated payment requests              Kathryn
 8/8/2023                                                                       0.50            $487.50
              for employee related payments                      Schultea
                                                                 Kathryn
 8/8/2023     Input wire transactions for approval                              0.90            $877.50
                                                                 Schultea
              Correspondence with domestic and
 8/8/2023     international departments for budgetary           Mary Cilia      1.90           $1,852.50
              and operational approvals
              Conference call with A&M; open MOR
 8/8/2023                                                       Mary Cilia      0.70            $682.50
              issues
              Conference call with A&M, S&C and
 8/8/2023                                                       Mary Cilia      0.30            $292.50
              Landis; crypto valuations
              Correspondence with R. Hoskins (RLKS)
 8/8/2023                                                       Mary Cilia      0.30            $292.50
              re: MORs
              Maintain daily accounting, financial
 8/8/2023                                                       Mary Cilia      2.40           $2,340.00
              reporting, and communications activities


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              Complete a variety of treasury activities
 8/8/2023                                                   Mary Cilia      2.80           $2,730.00
              and monitor daily correspondence
              Review petition date trial balances and
 8/8/2023     prepare and record required journal           Mary Cilia      2.10           $2,047.50
              adjustments
              Review docket report and document and
 8/8/2023                                                   Mary Cilia      0.60            $585.00
              account for related filings
              Engage in correspondence with the
                                                             Melissa
 8/8/2023     foreign bank lead regarding the Bank                          0.30            $165.00
                                                             Concitis
              Statements for July 2023
              Sourced the financial records of the
                                                             Melissa
 8/8/2023     vendor by navigating the designated                           2.80           $1,540.00
                                                             Concitis
              repository
              Export vendor transaction data residing in     Melissa
 8/8/2023                                                                   2.60           $1,430.00
              the shared drive                               Concitis
              Integrate vendor-specific information into     Melissa
 8/8/2023                                                                   1.40            $770.00
              accounting software transactions               Concitis
              Perform a reconciliation of vendor
                                                             Melissa
 8/8/2023     transactions with the monthly payment                         2.70           $1,485.00
                                                             Concitis
              tracker offered by the team
              Correspondence with third-party Cloud
                                                               Raj
 8/8/2023     service provider; agreements and                              0.50            $487.50
                                                            Perubhatla
              services review
              Review correspondence from H.                    Raj
 8/8/2023                                                                   0.80            $780.00
              Nachmias (Sygnia); Crypto assets              Perubhatla
              Domain renewals related issues and               Raj
 8/8/2023                                                                   0.50            $487.50
              research                                      Perubhatla
              Assess and gather documentation to               Raj
 8/8/2023                                                                   1.50           $1,462.50
              complete service provider applications        Perubhatla
              Call with R. Hershan (A&M), L. Callerio
                                                               Raj
 8/8/2023     (A&M); Business unit data collection                          0.30            $292.50
                                                            Perubhatla
              strategy and planning
              Review correspondence from K.
              Ramanathan (A&M) re: Custodian / Asset           Raj
 8/8/2023                                                                   0.80            $780.00
              Management application documents              Perubhatla
              gathering
              Investigate IT access and administration         Raj
 8/8/2023                                                                   1.70           $1,657.50
              concerns                                      Perubhatla
              Call with K. Ramanathan (A&M); IT /              Raj
 8/8/2023                                                                   0.40            $390.00
              Crypto updates                                Perubhatla
              Conference call with A. Mohammad
              (A&M), B. Bangerter (RLKS) and Cloud             Raj
 8/8/2023                                                                   0.50            $487.50
              service provider; discuss customer            Perubhatla
              support option automation on the site
              Evaluate development oversight and act           Raj
 8/8/2023                                                                   1.50           $1,462.50
              as necessary                                  Perubhatla
              Review, research and collect invoices for        Raj
 8/8/2023                                                                   1.30           $1,267.50
              payment re: cloud services in use             Perubhatla
                                                               Raj
 8/8/2023     Review PMO deck from D. Slay (A&M)                            0.80            $780.00
                                                            Perubhatla


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date    Description                                   Professional
                                                                           Worked        Charge
                                                              Robert
 8/8/2023     Correspondence with CFO re: MORs                               0.30            $225.00
                                                              Hoskins
              Meeting with EY Statutory Reporting;            Robert
 8/8/2023                                                                    0.40            $300.00
              Europe bookkeeping status                       Hoskins
              Preparation for meeting with EY Statutory       Robert
 8/8/2023                                                                    0.20            $150.00
              Reporting; Europe bookkeeping status            Hoskins
              Review petition date crypto asset balance
                                                              Robert
 8/8/2023     for Alameda Silo and detailed supporting                       0.90            $675.00
                                                              Hoskins
              schedules
              Review petition date crypto collateral
                                                              Robert
 8/8/2023     balance for Alameda Silo and detailed                          0.70            $525.00
                                                              Hoskins
              supporting schedules
              Review petition date crypto receivable
                                                              Robert
 8/8/2023     balance for Alameda Silo and detailed                          1.40           $1,050.00
                                                              Hoskins
              supporting schedules
              Review petition date loan receivable
                                                              Robert
 8/8/2023     balance for Alameda Silo and detailed                          1.70           $1,275.00
                                                              Hoskins
              supporting schedules
              Review petition date securities
                                                              Robert
 8/8/2023     investments balance for Alameda Silo                           0.60            $450.00
                                                              Hoskins
              and detailed supporting schedules
              Review petition date venture investments
                                                              Robert
 8/8/2023     balance for Alameda Silo and detailed                          1.90           $1,425.00
                                                              Hoskins
              supporting schedules
              Research on critical applications, access      Brandon
 8/9/2023                                                                    2.40           $1,440.00
              to apps and contracts                          Bangerter
              Conference call with CIO; messaging            Brandon
 8/9/2023                                                                    0.30            $180.00
              platform configuration issues                  Bangerter
              Meeting with third party vendor; contract      Brandon
 8/9/2023                                                                    0.50            $300.00
              updates and outstanding expenses               Bangerter
              Conference call with CIO and third-party
              Cloud service provider; infrastructure data    Brandon
 8/9/2023                                                                    0.30            $180.00
              alerts history, access and archival            Bangerter
              discussion
              Vendor support calls for discussion on         Brandon
 8/9/2023                                                                    2.60           $1,560.00
              pre-post invoices and contract details         Bangerter
              Conference call with CIO; Alerts archived      Brandon
 8/9/2023                                                                    0.30            $180.00
              and go-forward strategy for access             Bangerter
              IT Helpdesk responses / e-mail
                                                             Brandon
 8/9/2023     responses / access rights / password                           2.80           $1,680.00
                                                             Bangerter
              changes
              Critical application audit of user account     Brandon
 8/9/2023                                                                    2.30           $1,380.00
              access and administrators                      Bangerter
              Review and respond to CIO re: vendor            Daniel
 8/9/2023                                                                    0.20            $110.00
              invoices                                       Tollefsen
              Review and respond to emails with
              Foreign Debtor and Non-Debtor
                                                              Daniel
 8/9/2023     personnel (FTX Trading GmbH) re:                               0.30            $165.00
                                                             Tollefsen
              search for previous invoices and
              payments


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                       Hrs/Mins   Corresponding
Enter Date    Description                               Professional
                                                                       Worked        Charge
              Review and respond to emails with
              Foreign Debtor personnel (FTX EU Ltd)       Daniel
 8/9/2023                                                                0.30            $165.00
              re: previous payment supporting            Tollefsen
              documentation
              Review and update ACH data entries of        Daniel
 8/9/2023                                                                1.40            $770.00
              invoices, payments and transfers            Tollefsen
              Review and reconciliation of financial       Daniel
 8/9/2023                                                                1.30            $715.00
              operating accounts                          Tollefsen
              Review vendor invoice supporting             Daniel
 8/9/2023                                                                1.80            $990.00
              documentation for US Debtors                Tollefsen
              Master payment tracker update with           Daniel
 8/9/2023                                                                2.30           $1,265.00
              transactional data                          Tollefsen
              Vendor files update with supporting          Daniel
 8/9/2023                                                                0.70            $385.00
              documentation                               Tollefsen
              Research and review of past vendor           Daniel
 8/9/2023                                                                0.90            $495.00
              invoice documentation                       Tollefsen
              Analyze and organize newly received          Felicia
 8/9/2023                                                                0.50            $200.00
              records for FTX US                         Buenrostro
              Update call log details from My
                                                           Felicia
 8/9/2023     Phone.com corporate inbox messages in                      0.80            $320.00
                                                         Buenrostro
              the assigned database
              Process and organize incoming
                                                           Felicia
 8/9/2023     documents sent to Alameda Research                         0.70            $280.00
                                                         Buenrostro
              LLC
              Logging and processing documents for         Felicia
 8/9/2023                                                                0.50            $200.00
              West Realm Shires Inc.                     Buenrostro
              Prepare, sort, and review all e-mails
              delivered to the Earth Class Virtual         Felicia
 8/9/2023                                                                1.20            $480.00
              Mailbox, then file in the relevant         Buenrostro
              repository folders
              Record all requests received from the
                                                           Felicia
 8/9/2023     FTX Inquiry inbox in the designated                        1.30            $520.00
                                                         Buenrostro
              spreadsheet
              Collect and manage various debtor            Felicia
 8/9/2023                                                                2.30            $920.00
              entities' employment agreements            Buenrostro
              Obtain forwarding address, log, and          Felicia
 8/9/2023                                                                1.00            $400.00
              remail all returned customer checks        Buenrostro
              Review and respond to emails with H.
                                                          Kathryn
 8/9/2023     Trent (A&M) re: review independent                         0.60            $585.00
                                                          Schultea
              contractor agreement
              Review and respond to emails with B.
                                                          Kathryn
 8/9/2023     Bangerter (RLKS) re: requesting                            0.40            $390.00
                                                          Schultea
              encrypted drive credentials
              Review and respond to emails with B.
                                                          Kathryn
 8/9/2023     Bangerter (RLKS) re: follow-up on                          0.50            $487.50
                                                          Schultea
              customer claims email inbox support
              Review and respond to emails with K.
                                                          Kathryn
 8/9/2023     Ramanathan (A&M) re: customer request                      0.30            $292.50
                                                          Schultea
              for KYC verification response



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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                              Hrs/Mins   Corresponding
Enter Date    Description                                      Professional
                                                                              Worked        Charge
              Review and respond to emails with K.
                                                                 Kathryn
 8/9/2023     Wrenn (EY) re: research tax liability for                         0.50            $487.50
                                                                 Schultea
              employee's training reimbursement
              Review and respond to emails with CEO              Kathryn
 8/9/2023                                                                       0.60            $585.00
              re: EY SOW 2                                       Schultea
              Review and respond to emails with B.
                                                                 Kathryn
 8/9/2023     Bangerter (RLKS) re: IDR detailed review                          0.80            $780.00
                                                                 Schultea
              of contracts
              Review and respond to HR Lead re:
                                                                 Kathryn
 8/9/2023     follow-up on employment agreements not                            0.50            $487.50
                                                                 Schultea
              found
              Review and respond to emails with A.               Kathryn
 8/9/2023                                                                       0.40            $390.00
              Kranzley (S&C) re: executed EY SOW 2               Schultea
              Review and respond to emails with J.
                                                                 Kathryn
 8/9/2023     Scott (EY) re: signed EY SOW 2 and next                           0.60            $585.00
                                                                 Schultea
              steps
              Correspondence with a vendor re:
                                                                 Kathryn
 8/9/2023     authorized contact forms for FTX Equity                           0.80            $780.00
                                                                 Schultea
              Record Holdings
              Correspondence with a Ledger Prime                 Kathryn
 8/9/2023                                                                       0.50            $487.50
              employee re: follow-up on IRS IDR                  Schultea
              Correspondence with CFO re: past due               Kathryn
 8/9/2023                                                                       0.30            $292.50
              invoices                                           Schultea
              Correspondence with a FTX employee re:
                                                                 Kathryn
 8/9/2023     request for FTX Crypto Services                                   0.50            $487.50
                                                                 Schultea
              signatory change
              Correspondence with A. Kranzley (S&C)              Kathryn
 8/9/2023                                                                       0.60            $585.00
              re: FTX subcontractor declaration                  Schultea
              Correspondence with Debtor Bank
                                                                 Kathryn
 8/9/2023     personnel re: FTX Japan KK outgoing                               0.40            $390.00
                                                                 Schultea
              wire inquiry
              Correspondence with L. Callerio (A&M)              Kathryn
 8/9/2023                                                                       0.30            $292.50
              re: review Embed weekly status report              Schultea
                                                                 Kathryn
 8/9/2023     Customer Portal dashboard review                                  0.20            $195.00
                                                                 Schultea
              Received & validated payment requests              Kathryn
 8/9/2023                                                                       0.60            $585.00
              for employee related payments                      Schultea
                                                                 Kathryn
 8/9/2023     Input wire transactions for approval                              1.30           $1,267.50
                                                                 Schultea
              Approved expenses with multiple
              domestic and international offices while
 8/9/2023                                                       Mary Cilia      1.40           $1,365.00
              addressing operational and financial
              matters
              Manage a wide range of treasury-related
 8/9/2023                                                       Mary Cilia      2.20           $2,145.00
              activities and daily messages
              Maintain a variety of financial records,
 8/9/2023     reports, and communications on a daily            Mary Cilia      1.70           $1,657.50
              basis
              Reviewing debtor entities' financial
 8/9/2023                                                       Mary Cilia      1.60           $1,560.00
              statements and schedules, conducting


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              related research, and compiling review
              questions
              Review petition date trial balances and
 8/9/2023     prepare and record required journal           Mary Cilia      2.90           $2,827.50
              adjustments
              Review docket report and document and
 8/9/2023                                                   Mary Cilia      0.80            $780.00
              account for related filings
              Discuss specific vendor transactions in        Melissa
 8/9/2023                                                                   0.30            $165.00
              the accounting software with the team          Concitis
              Identified the vendor's financial
                                                             Melissa
 8/9/2023     documentation by conducting a search in                       2.80           $1,540.00
                                                             Concitis
              the designated repository
              Enter vendor transactions into the             Melissa
 8/9/2023                                                                   3.50           $1,925.00
              designated accounting application              Concitis
              Merge supplementary data with
                                                             Melissa
 8/9/2023     accounting software transactions                              1.30            $715.00
                                                             Concitis
              involving vendors
              Match vendor transactions to the team's
                                                             Melissa
 8/9/2023     monthly payment tracker to ensure                             3.20           $1,760.00
                                                             Concitis
              accuracy and completeness
              Review Cloud service usage for the call          Raj
 8/9/2023                                                                   1.20           $1,170.00
              with the provider                             Perubhatla
              Call with J. Hughes (Kroll), K.
              Ramanathan, R. Esposito, A. Mohammed             Raj
 8/9/2023                                                                   0.30            $292.50
              (A&M) and others; FTX Customer portal         Perubhatla
              sync with Kroll
              Review and Research security
                                                               Raj
 8/9/2023     configuration for document sharing with                       0.60            $585.00
                                                            Perubhatla
              external parties
              Call with third-party cloud service
                                                               Raj
 8/9/2023     provider; review changes to services,                         0.50            $487.50
                                                            Perubhatla
              affected billing accounts and other issues
              Conference call with B. Bangerter
                                                               Raj
 8/9/2023     (RLKS); messaging platform configuration                      0.30            $292.50
                                                            Perubhatla
              issues
              Review the messaging platform                    Raj
 8/9/2023                                                                   0.80            $780.00
              configuration                                 Perubhatla
              Call with A. Mohammad (A&M), D. White
                                                               Raj
 8/9/2023     (Alix), FTX team, and others; project                         0.20            $195.00
                                                            Perubhatla
              updates
              Review and gather documents for Asset            Raj
 8/9/2023                                                                   1.30           $1,267.50
              Manager application requirement               Perubhatla
              Review Customer support discussions for          Raj
 8/9/2023                                                                   0.80            $780.00
              issues                                        Perubhatla
              Review staffing matters on various               Raj
 8/9/2023                                                                   0.80            $780.00
              projects                                      Perubhatla
              Review and accept invites to Crypto              Raj
 8/9/2023                                                                   0.50            $487.50
              wallets                                       Perubhatla
              Conference call with B. Bangerter (RLKS)         Raj
 8/9/2023                                                                   0.30            $292.50
              and third-party Cloud Service provider;       Perubhatla


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date    Description                                  Professional
                                                                          Worked        Charge
              infrastructure data alerts history, access
              and archival discussion
              Conference call with B. Bangerter
                                                               Raj
 8/9/2023     (RLKS); Alerts archived and go-forward                        0.30            $292.50
                                                            Perubhatla
              strategy for access
              Evaluate development oversight and act           Raj
 8/9/2023                                                                   1.30           $1,267.50
              as necessary                                  Perubhatla
              Address IT access and administration             Raj
 8/9/2023                                                                   1.20           $1,170.00
              issues                                        Perubhatla
              Meeting with A&M; DOTCOM Silo petition         Robert
 8/9/2023                                                                   0.90            $675.00
              date adjustments                               Hoskins
              Preparation for meeting with A&M;              Robert
 8/9/2023                                                                   0.30            $225.00
              DOTCOM Silo petition date adjustments          Hoskins
              Review changes to Alameda Silo petition        Robert
 8/9/2023                                                                   1.80           $1,350.00
              date trial balance                             Hoskins
              Review docket filings for accounting           Robert
 8/9/2023                                                                   0.40            $300.00
              implications                                   Hoskins
              Review petition date crypto receivable
                                                             Robert
 8/9/2023     balance for Ventures Silo and detailed                        2.10           $1,575.00
                                                             Hoskins
              supporting schedules
              Review petition date fixed assets balance
                                                             Robert
 8/9/2023     for Alameda Silo and detailed supporting                      0.40            $300.00
                                                             Hoskins
              schedules
              Review petition date interest receivable
                                                             Robert
 8/9/2023     balance for Alameda Silo and detailed                         0.70            $525.00
                                                             Hoskins
              supporting schedules
              Review petition date loan payable
                                                             Robert
 8/9/2023     balances for Alameda Silo and detailed                        1.10            $825.00
                                                             Hoskins
              supporting schedules
              Review petition date LSTC balances for
                                                             Robert
 8/9/2023     Alameda Silo and detailed supporting                          1.30            $975.00
                                                             Hoskins
              schedules
              Research on critical application monthly      Brandon
8/10/2023                                                                   1.80           $1,080.00
              cost for ongoing budgets                      Bangerter
              Hardware retrieval process user account
                                                            Brandon
8/10/2023     list verifications / cleanup / additional                     2.40           $1,440.00
                                                            Bangerter
              tenant searches
              Research on application access for new        Brandon
8/10/2023                                                                   2.00           $1,200.00
              developers and costs associated               Bangerter
              Conference call with CIO and R. Italiano
                                                            Brandon
8/10/2023     (Cloud provider); account consolidation                       0.30            $180.00
                                                            Bangerter
              and billing options
              Troubleshooting Mimecast issues with
                                                            Brandon
8/10/2023     deferred and blocked messages and                             1.80           $1,080.00
                                                            Bangerter
              updating configurations
              IT Helpdesk responses / e-mail
                                                            Brandon
8/10/2023     responses / password changes / account                        2.30           $1,380.00
                                                            Bangerter
              updates
              Comparisons of terminations and
                                                            Brandon
8/10/2023     attritions with active employee and                           2.40           $1,440.00
                                                            Bangerter
              application accounts

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Meeting with third party vendor; FTX          Brandon
8/10/2023                                                                  0.50            $300.00
             contracts and renewals                        Bangerter
             Review of recent vendor invoices and           Daniel
8/10/2023                                                                  0.80            $440.00
             payments requests                             Tollefsen
             Reconciliation of Debtor operating             Daniel
8/10/2023                                                                  0.80            $440.00
             accounts                                      Tollefsen
             Update of master payment tracker with
                                                            Daniel
8/10/2023    financial transaction activity from all                       2.30           $1,265.00
                                                           Tollefsen
             Debtors
             Review and respond to emails from CFO          Daniel
8/10/2023                                                                  0.30            $165.00
             re: vendor invoices and payments              Tollefsen
             Working session with CFO; ACH data             Daniel
8/10/2023                                                                  1.60            $880.00
             entry                                         Tollefsen
             Review of supporting payment requests          Daniel
8/10/2023                                                                  0.90            $495.00
             and documentation re: Foreign Debtors         Tollefsen
                                                            Daniel
8/10/2023    Foreign Debtor payment tracker updates                        1.20            $660.00
                                                           Tollefsen
             Vendor and employee files update with          Daniel
8/10/2023                                                                  0.80            $440.00
             supporting invoice documentation              Tollefsen
             Review and update ACH data entries of          Daniel
8/10/2023                                                                  1.10            $605.00
             invoices, payments and transfers              Tollefsen
             Gather and maintain employment
                                                             Felicia
8/10/2023    agreement materials for review and                            2.50           $1,000.00
                                                           Buenrostro
             analysis
             Meeting with CAO, L. Barrios (RLKS), V.
             Short, K. Wrenn, K. Lowery, J.                  Felicia
8/10/2023                                                                  0.40            $160.00
             DeVincenzo (EY); review employment tax        Buenrostro
             items in process
             Sort, evaluate and file all Earth Class
                                                             Felicia
8/10/2023    Virtual Mailbox emails in the appropriate                     1.50            $600.00
                                                           Buenrostro
             repository folders
             Review and sort incoming documents for          Felicia
8/10/2023                                                                  0.50            $200.00
             Alameda Research LLC                          Buenrostro
             Monitor and log all My Phone.com
                                                             Felicia
8/10/2023    corporate inbox call details in the                           0.70            $280.00
                                                           Buenrostro
             designated spreadsheet
             Review and organize FTX US's incoming           Felicia
8/10/2023                                                                  0.50            $200.00
             documentation                                 Buenrostro
             Document processing and reporting for           Felicia
8/10/2023                                                                  0.50            $200.00
             West Realm Shires Inc.                        Buenrostro
             Respond to FTX Inquiry inbox
                                                             Felicia
8/10/2023    communications and record them in the                         1.00            $400.00
                                                           Buenrostro
             appropriate spreadsheet
             Remail all returned customer checks,
                                                             Felicia
8/10/2023    verify forwarding address, and log in                         1.00            $400.00
                                                           Buenrostro
             designated repository
             Review and respond to emails with CFO
                                                            Kathryn
8/10/2023    and a vendor re: follow-up on FTX Crypto                      0.40            $390.00
                                                            Schultea
             Services signatory change



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Review and respond to emails with CEO
                                                            Kathryn
8/10/2023    and a FTX employee re: FTX Japan KK                           0.70           $682.50
                                                            Schultea
             recruitment matters
             Review and respond to emails with K.
                                                            Kathryn
8/10/2023    Wrenn (EY) re: 83(b) elections and                            0.30           $292.50
                                                            Schultea
             deadlines
             Correspondence with CFO and E.
                                                            Kathryn
8/10/2023    Simpson (EY) re: change of contacts for                       0.50           $487.50
                                                            Schultea
             non-US legal entities
             Correspondence with FTX employee re:           Kathryn
8/10/2023                                                                  0.40           $390.00
             former employee settlement agreement           Schultea
             Correspondence with CFO and E.
                                                            Kathryn
8/10/2023    Simpson (EY) re: review signed                                0.50           $487.50
                                                            Schultea
             authorized contact details
             Correspondence with CFO and vendor
                                                            Kathryn
8/10/2023    personnel re: requesting access to                            0.30           $292.50
                                                            Schultea
             Blockfolio accounts
             Correspondence with C. Tong (EY) re:           Kathryn
8/10/2023                                                                  0.40           $390.00
             tax meeting agenda                             Schultea
             Correspondence with CEO and D.
                                                            Kathryn
8/10/2023    Hariton (S&C) re: signature request for                       0.30           $292.50
                                                            Schultea
             FTX affidavit
             Correspondence with CFO and D.
                                                            Kathryn
8/10/2023    Hammon (EY) re: outstanding compliance                        0.80           $780.00
                                                            Schultea
             obligations
             Correspondence with CFO and H. Trent           Kathryn
8/10/2023                                                                  0.50           $487.50
             (A&M) re: Debtor entity status summary         Schultea
                                                            Kathryn
8/10/2023    Customer Portal dashboard review                              0.20           $195.00
                                                            Schultea
             Correspondence with N. Simoneaux
                                                            Kathryn
8/10/2023    (A&M) re: review of daily payroll summary                     0.60           $585.00
                                                            Schultea
             report
             Correspondence with a payroll vendor re:
                                                            Kathryn
8/10/2023    follow-up on Alameda Research payroll                         0.40           $390.00
                                                            Schultea
             journal request
             Correspondence with CFO and CIO re:            Kathryn
8/10/2023                                                                  0.50           $487.50
             vendor account renewal                         Schultea
             Correspondence with CFO and J.
                                                            Kathryn
8/10/2023    Berman (EY) re: review 2022 federal tax                       0.80           $780.00
                                                            Schultea
             returns - batch 1
             Correspondence with K. Wrenn (EY) re:
                                                            Kathryn
8/10/2023    drafting FTX IRS employment tax                               0.50           $487.50
                                                            Schultea
             updates
             Correspondence with D. Tollefsen               Kathryn
8/10/2023                                                                  0.40           $390.00
             (RLKS) re: investigate fund deposits           Schultea
             Meeting with L. Barrios, F. Buenrostro
             (RLKS), V. Short, K. Wrenn, K. Lowery, J.      Kathryn
8/10/2023                                                                  0.40           $390.00
             DeVincenzo (EY); review employment tax         Schultea
             items in process



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Meeting with CFO, B. Mistler, J. Scott, L.
                                                                Kathryn
8/10/2023    Lovelace, D. Bailey (EY); EY reportable                           0.50            $487.50
                                                                Schultea
             transactions questionnaire
             Meeting with CFO, K. Lowery, T. Shea,
                                                                Kathryn
8/10/2023    C. Tong (EY) and others; EY tax update                            0.50            $487.50
                                                                Schultea
             with key stakeholders
             Received & validated payment requests              Kathryn
8/10/2023                                                                      0.40            $390.00
             for employee related payments                      Schultea
                                                                Kathryn
8/10/2023    Input wire transactions for approval                              0.70            $682.50
                                                                Schultea
             Deliver all 1099-related communication to           Leticia
8/10/2023                                                                      1.10            $605.00
             EY                                                  Barrios
             Update and maintain spreadsheet with
                                                                Leticia
8/10/2023    customer & vendor 1099 email                                      1.70            $935.00
                                                                Barrios
             responses
             Review and respond to emails re: confirm           Leticia
8/10/2023                                                                      1.80            $990.00
             recipient identity                                 Barrios
             Gather and analyze employment                      Leticia
8/10/2023                                                                      1.70            $935.00
             agreements for various debtor entities             Barrios
                                                                Leticia
8/10/2023    Consolidate processed daily payroll log                           1.50            $825.00
                                                                Barrios
                                                                Leticia
8/10/2023    Maintain a record of payroll backup files                         1.80            $990.00
                                                                Barrios
             Meeting with CAO, F. Buenrostro (RLKS),
             V. Short, K. Wrenn, K. Lowery, J.                  Leticia
8/10/2023                                                                      0.40            $220.00
             DeVincenzo (EY); review employment tax             Barrios
             items in process
             Daily preparation of accounting, financial
8/10/2023                                                      Mary Cilia      2.20           $2,145.00
             reporting, and communications duties
             Correspondence with domestic and
8/10/2023    international departments for budgetary           Mary Cilia      1.80           $1,755.00
             and operational approvals
             Working session with D. Tollefsen (RLKS)
8/10/2023                                                      Mary Cilia      1.60           $1,560.00
             re: ACH data entry
             Maintain a variety of financial records,
8/10/2023    reports, and communications on a daily            Mary Cilia      1.30           $1,267.50
             basis
             Review petition date trial balances and
8/10/2023    prepare and record required journal               Mary Cilia      2.10           $2,047.50
             adjustments
             Review docket report and document and
8/10/2023                                                      Mary Cilia      0.30            $292.50
             account for related filings
             Meeting with CAO, B. Mistler, J. Scott, L.
8/10/2023    Lovelace, D. Bailey (EY); EY reportable           Mary Cilia      0.50            $487.50
             transactions questionnaire
             Meeting with CAO, K. Lowery, T. Shea,
8/10/2023    C. Tong (EY) and others; EY tax update            Mary Cilia      0.50            $487.50
             with key stakeholders
             Utilized the designated repository to find         Melissa
8/10/2023                                                                      2.40           $1,320.00
             the financial information of a vendor              Concitis


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Efficiently loaded the vendor transactions     Melissa
8/10/2023                                                                  4.30           $2,365.00
             into the designated accounting software        Concitis
             Produced extensive documentation with
                                                            Melissa
8/10/2023    detailed notes on vendor transaction                          1.30            $715.00
                                                            Concitis
             attachments for team access
             Cross-verify vendor transactions with the
                                                            Melissa
8/10/2023    team's monthly payment tracker to attain                      3.50           $1,925.00
                                                            Concitis
             accuracy and entirety
             Conference call with CEO, A&M and S&C            Raj
8/10/2023                                                                  0.50            $487.50
             teams; data security and privacy matters      Perubhatla
             Call with J. Hughes (Kroll), K.
             Ramanathan, R. Esposito, A. Mohammed             Raj
8/10/2023                                                                  0.20            $195.00
             (A&M) and others; FTX Customer portal         Perubhatla
             sync with Kroll
             Conference call with A. Taylor, L. Farazis
                                                              Raj
8/10/2023    (Sygnia); weekly standup on                                   0.40            $390.00
                                                           Perubhatla
             Cyber/Crypto/IT issues
             Conference call with B. Bangerter
                                                              Raj
8/10/2023    (RLKS), R. Italiano (Cloud provider);                         0.30            $292.50
                                                           Perubhatla
             account consolidation and billing options
             Review, research and collect invoices for        Raj
8/10/2023                                                                  1.60           $1,560.00
             payment re: cloud services in use             Perubhatla
             Evaluate development oversight and act           Raj
8/10/2023                                                                  2.30           $2,242.50
             as necessary                                  Perubhatla
             Review and gather documents for Asset            Raj
8/10/2023                                                                  0.80            $780.00
             Manager applications                          Perubhatla
             Review staffing matters on various               Raj
8/10/2023                                                                  0.50            $487.50
             projects                                      Perubhatla
             Call with A. Mohammad (A&M) ; weekly             Raj
8/10/2023                                                                  0.80            $780.00
             tech touchpoint                               Perubhatla
             Review and execute the service                   Raj
8/10/2023                                                                  0.30            $292.50
             provider's change request agreement           Perubhatla
             Review correspondence from H. Trent
                                                              Raj
8/10/2023    (A&M) re: data collection/preservation of                     0.30            $292.50
                                                           Perubhatla
             entity wind down
             Resolve administration matters and IT            Raj
8/10/2023                                                                  1.80           $1,755.00
             access concerns                               Perubhatla
             Investigate and resolve variances
                                                            Robert
8/10/2023    identified in Alameda petition date trial                     1.30            $975.00
                                                            Hoskins
             balance review
             Recalculate petition date accrued interest     Robert
8/10/2023                                                                  1.30            $975.00
             receivable for Ventures Silo                   Hoskins
             Recalculate post petition date accrued         Robert
8/10/2023                                                                  1.30            $975.00
             interest receivable for Ventures Silo          Hoskins
             Review changes to Ventures Silo petition       Robert
8/10/2023                                                                  1.10            $825.00
             date trial balance                             Hoskins
             Review petition date interest receivable
                                                            Robert
8/10/2023    balance for Ventures Silo and detailed                        0.60            $450.00
                                                            Hoskins
             supporting schedules



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Review petition date loan receivable
                                                              Robert
8/10/2023    balance for Ventures Silo and detailed                          0.70            $525.00
                                                              Hoskins
             supporting schedules
             Review petition date venture investments
                                                              Robert
8/10/2023    balance for Ventures Silo and detailed                          1.90           $1,425.00
                                                              Hoskins
             supporting schedules
             Review updated loans receivable
                                                              Robert
8/10/2023    balances and detailed support for                               1.60           $1,200.00
                                                              Hoskins
             Alameda Silo
             Review updated loans receivable
                                                              Robert
8/10/2023    balances and detailed support for                               0.50            $375.00
                                                              Hoskins
             Ventures Silo
             Hardware retrieval process user account
                                                             Brandon
8/11/2023    updates and research for additional                             1.80           $1,080.00
                                                             Bangerter
             accounts
             Cloud platform searches for critical            Brandon
8/11/2023                                                                    2.00           $1,200.00
             applications documentation                      Bangerter
             Critical application account clean up and       Brandon
8/11/2023                                                                    2.30           $1,380.00
             removal as necessary.                           Bangerter
             IT Helpdesk e-mail responses / update           Brandon
8/11/2023                                                                    2.10           $1,260.00
             access rights / password changes                Bangerter
             Support contracts updates and
                                                             Brandon
8/11/2023    verifications with support via phone, text,                     2.50           $1,500.00
                                                             Bangerter
             and email
             New application setup, configuration and        Brandon
8/11/2023                                                                    2.10           $1,260.00
             testing / troubleshooting                       Bangerter
             Reconciliation of Debtor operating               Daniel
8/11/2023                                                                    0.90            $495.00
             accounts                                        Tollefsen
             Review of supporting payment requests            Daniel
8/11/2023                                                                    1.30            $715.00
             and documentation re: US Debtors                Tollefsen
             Update of the master payment tracker             Daniel
8/11/2023                                                                    2.30           $1,265.00
             with recent transactional data                  Tollefsen
             Review and update ACH data entries of            Daniel
8/11/2023                                                                    0.90            $495.00
             invoices, payments and transfers                Tollefsen
             Review and respond to emails from CAO            Daniel
8/11/2023                                                                    0.20            $110.00
             re: employee benefit payments                   Tollefsen
             Review and respond to emails from CIO            Daniel
8/11/2023                                                                    0.40            $220.00
             re: employee benefit payments                   Tollefsen
             File update for vendors with supporting          Daniel
8/11/2023                                                                    0.90            $495.00
             invoice documentation                           Tollefsen
             Review and organize Alameda
                                                               Felicia
8/11/2023    employment agreements in the                                    2.70           $1,080.00
                                                             Buenrostro
             designated repository
             Review and process recent incoming                Felicia
8/11/2023                                                                    2.00            $800.00
             documents for FTX US                            Buenrostro
             Review and update the My Phone.com
                                                               Felicia
8/11/2023    call log database with the most recent                          0.70            $280.00
                                                             Buenrostro
             data available
             Receive and categorize documents sent             Felicia
8/11/2023                                                                    0.50            $200.00
             to Alameda Research LLC                         Buenrostro


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Analyze and classify incoming paperwork        Felicia
8/11/2023                                                                 0.50           $200.00
             for West Realm Shires Inc.                   Buenrostro
             Review and file Earth Class Virtual
                                                            Felicia
8/11/2023    Mailbox emails in their respective                           0.80           $320.00
                                                          Buenrostro
             repository folders
             Track and respond to FTX Inquiry inbox
                                                            Felicia
8/11/2023    requests and log them in the                                 0.70           $280.00
                                                          Buenrostro
             corresponding spreadsheet
             Confirm forwarding addresses for
                                                            Felicia
8/11/2023    returned customer checks, log in                             1.00           $400.00
                                                          Buenrostro
             database, and remail
             Review and respond to emails with T.          Kathryn
8/11/2023                                                                 0.60           $585.00
             Shea (EY) re: Follow-up on DOJ write-up       Schultea
             Review and respond to emails with CFO
                                                           Kathryn
8/11/2023    and CIO re: follow-up on request for                         0.30           $292.50
                                                           Schultea
             access to Blockfolio accounts
             Review and respond to emails with HR
                                                           Kathryn
8/11/2023    Lead and D. Tollefsen (RLKS) re:                             0.80           $780.00
                                                           Schultea
             investigate UHC deposit received
             Review and respond to emails with K.
                                                           Kathryn
8/11/2023    Wrenn (EY) re: employment tax summary                        0.80           $780.00
                                                           Schultea
             documentation
             Review and respond to emails with J.
             Scott and T. Shea (EY) re: drafting           Kathryn
8/11/2023                                                                 0.60           $585.00
             executive summary of 2022 federal tax         Schultea
             returns for CEO consideration
             Review and respond to emails with CFO
                                                           Kathryn
8/11/2023    and H. Trent (A&M) re: follow-up on                          0.50           $487.50
                                                           Schultea
             Debtor entity status summary
             Review and respond to emails with CEO
                                                           Kathryn
8/11/2023    re: coordinating EY tax return review                        0.30           $292.50
                                                           Schultea
             session
             Review and respond to emails with HR          Kathryn
8/11/2023                                                                 0.40           $390.00
             Lead re: Alameda Research invoices            Schultea
             Review and respond to emails with CFO         Kathryn
8/11/2023                                                                 0.50           $487.50
             re: compile weekly payment package            Schultea
             Review and respond to emails with HR
                                                           Kathryn
8/11/2023    Lead re: follow-up on requested                              0.30           $292.50
                                                           Schultea
             employee agreements
             Review and respond to emails with HR          Kathryn
8/11/2023                                                                 0.70           $682.50
             Lead re: employee matters                     Schultea
             Correspondence with K. Wrenn (EY) re:
                                                           Kathryn
8/11/2023    follow-up on US citizens on foreign                          0.40           $390.00
                                                           Schultea
             payroll matter
             Correspondence with CEO and D.
                                                           Kathryn
8/11/2023    Hariton (S&C) re: review revised FTX                         0.30           $292.50
                                                           Schultea
             affidavit
             Correspondence with A. Courroy (S&C)          Kathryn
8/11/2023                                                                 0.70           $682.50
             re: employee termination matters              Schultea
             Correspondence with J. Scott (EY) re: EY      Kathryn
8/11/2023                                                                 0.40           $390.00
             SOW effective date                            Schultea

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Correspondence with CFO and K. Wrenn               Kathryn
8/11/2023                                                                      0.50            $487.50
             (EY) re: signature request on IRS POA's            Schultea
             Correspondence with B. Bangerter
                                                                Kathryn
8/11/2023    (RLKS) re: follow-up on IDR detailed                              0.60            $585.00
                                                                Schultea
             review of contracts
             Correspondence with an Embed
                                                                Kathryn
8/11/2023    employee and various S&C advisors re:                             0.70            $682.50
                                                                Schultea
             review Embed open questions
             Correspondence with CFO and L.
                                                                Kathryn
8/11/2023    Lovelace (EY) re: section 6702 of FTX                             0.40            $390.00
                                                                Schultea
             affidavit confirmation
                                                                Kathryn
8/11/2023    Customer Portal dashboard review                                  0.20            $195.00
                                                                Schultea
             Correspondence with HR Lead re: FTX                Kathryn
8/11/2023                                                                      0.60            $585.00
             US payroll reports                                 Schultea
             Correspondence with CIO re: FTX                    Kathryn
8/11/2023                                                                      0.50            $487.50
             resources observations and review                  Schultea
             Correspondence with HR Lead and HR                 Kathryn
8/11/2023                                                                      0.70            $682.50
             vendor re: Alameda Research payroll                Schultea
             Received & validated payment requests              Kathryn
8/11/2023                                                                      0.60            $585.00
             for employee related payments                      Schultea
                                                                Kathryn
8/11/2023    Input wire transactions for approval                              0.80            $780.00
                                                                Schultea
             Research and collect employment                     Leticia
8/11/2023                                                                      1.80            $990.00
             agreements from several debtor entities             Barrios
             Review and respond to email requests re:
                                                                Leticia
8/11/2023    confidential electronic transmission of                           2.70           $1,485.00
                                                                Barrios
             1099 forms
             Review and respond to emails re:                   Leticia
8/11/2023                                                                      1.80            $990.00
             verification of identification request             Barrios
             Provide requested information regarding            Leticia
8/11/2023                                                                      2.30           $1,265.00
             former employee                                    Barrios
             Process payroll journal and organize               Leticia
8/11/2023                                                                      1.70            $935.00
             backup in document repository                      Barrios
             Review petition date trial balances and
8/11/2023    prepare and record required journal               Mary Cilia      2.40           $2,340.00
             adjustments
             Coordinate various treasury activities and
8/11/2023                                                      Mary Cilia      2.20           $2,145.00
             monitor daily communications
             Daily preparation of accounting, financial
8/11/2023                                                      Mary Cilia      2.60           $2,535.00
             reporting, and communications duties
             Correspondence with domestic and
8/11/2023    international departments for budgetary           Mary Cilia      1.80           $1,755.00
             and operational approvals
             Meeting with R. Hoskins (RLKS) re:
8/11/2023    Crypto balance, MORs, and accounting              Mary Cilia      1.50           $1,462.50
             items
             Review docket report and document and
8/11/2023                                                      Mary Cilia      0.30            $292.50
             account for related filings



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Meeting with R. Hoskins (RLKS); post-          Melissa
8/11/2023                                                                  0.60            $330.00
             petition intercompany reconciliation           Concitis
             Consolidate November 2022 Post-
                                                            Melissa
8/11/2023    Petition data from entity balance sheets                      3.70           $2,035.00
                                                            Concitis
             for analysis
             Conduct a detailed entity analysis on
                                                            Melissa
8/11/2023    post-petition intercompany payables and                       4.80           $2,640.00
                                                            Concitis
             receivables
             Prepare a summary of post-petition             Melissa
8/11/2023                                                                  2.80           $1,540.00
             analysis findings for team review              Concitis
             Correspondence with CAO and A.                   Raj
8/11/2023                                                                  0.80            $780.00
             Mohammad (A&M) re: staffing matters           Perubhatla
             Review, research and collect invoices for        Raj
8/11/2023                                                                  1.50           $1,462.50
             payment re: cloud services in use             Perubhatla
             Call with J. Hughes (Kroll), K.
             Ramanathan, R. Esposito, A. Mohammed             Raj
8/11/2023                                                                  0.20            $195.00
             (A&M) and others; FTX Customer portal         Perubhatla
             sync with Kroll
             Research charges posted to the account
                                                              Raj
8/11/2023    re: cloud provider did not provide any                        1.30           $1,267.50
                                                           Perubhatla
             details on the charges
             Call with third-party service provider, A.
                                                              Raj
8/11/2023    Mohammad (A&M); customer portal                               0.50            $487.50
                                                           Perubhatla
             project
             Call with W. Burt (Asset Manager) and            Raj
8/11/2023                                                                  0.30            $292.50
             others; discuss on-boarding requirements      Perubhatla
             Review and address IT access and                 Raj
8/11/2023                                                                  1.80           $1,755.00
             administrative matters                        Perubhatla
             Review development activities and                Raj
8/11/2023                                                                  2.20           $2,145.00
             respond as necessary                          Perubhatla
             Call with A. Mohammad (A&M); staffing            Raj
8/11/2023                                                                  0.30            $292.50
             matters                                       Perubhatla
             Review, approve Crypto management                Raj
8/11/2023                                                                  0.30            $292.50
             actions                                       Perubhatla
             Meeting with CFO; Crypto balance,              Robert
8/11/2023                                                                  1.50           $1,125.00
             MORs, and accounting items                     Hoskins
             Meeting with K. Kearney (A&M); Alameda         Robert
8/11/2023                                                                  0.60            $450.00
             accounting items                               Hoskins
             Meeting with M. Concitis (RLKS); post-         Robert
8/11/2023                                                                  0.60            $450.00
             petition intercompany reconciliation           Hoskins
             Recalculate petition date accrued interest     Robert
8/11/2023                                                                  1.10            $825.00
             receivable for Alameda Silo                    Hoskins
             Recalculate post petition date accrued         Robert
8/11/2023                                                                  1.00            $750.00
             interest receivable for Alameda Silo           Hoskins
             Review DOTCOM AJE's proposed by                Robert
8/11/2023                                                                  1.40           $1,050.00
             A&M against supporting documentation           Hoskins
             Review of petition date accounting for         Robert
8/11/2023                                                                  3.40           $2,550.00
             crypto related to Alameda silo                 Hoskins
                                                            Robert
8/11/2023    Update post petition accounting tracker                       0.50            $375.00
                                                            Hoskins


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Correspondence with K. Wrenn (EY) and
                                                            Kathryn
8/12/2023    a LedgerX employee re: Ledger Prime                           0.80            $780.00
                                                            Schultea
             IDR follow-up inquiries
             Maintain daily accounting and financial
8/12/2023                                                  Mary Cilia      1.90           $1,852.50
             reporting records
             Correspondence with R. Hoskins (RLKS)
8/12/2023    re: foreign entity and Alameda trial          Mary Cilia      0.30            $292.50
             balances
             Correspondence with A&M re: DOTCOM             Robert
8/12/2023                                                                  0.40            $300.00
             Adjustments                                    Hoskins
             Correspondence with CFO re: Foreign            Robert
8/12/2023                                                                  0.30            $225.00
             entities and Alameda trial balance             Hoskins
             Record AJE's for Alameda Research KK           Robert
8/12/2023                                                                  0.60            $450.00
             proposed by A&M                                Hoskins
             Record DOTCOM AJE's proposed by                Robert
8/12/2023                                                                  1.60           $1,200.00
             A&M                                            Hoskins
             Review AJE's for Alameda Research KK
                                                            Robert
8/12/2023    proposed by A&M against supporting                            0.80            $600.00
                                                            Hoskins
             documentation
             Review DOTCOM AJE's proposed by                Robert
8/12/2023                                                                  1.80           $1,350.00
             A&M against supporting documentation           Hoskins
             IT Helpdesk e-mail responses and              Brandon
8/13/2023                                                                  0.60            $360.00
             account updates                               Bangerter
             Review of supporting payment requests          Daniel
8/13/2023                                                                  0.90            $495.00
             and documentation re: US Debtors              Tollefsen
             Master payment tracker update with US          Daniel
8/13/2023                                                                  2.80           $1,540.00
             Debtor transactional data                     Tollefsen
             Vendor files update with supporting            Daniel
8/13/2023                                                                  0.80            $440.00
             documentation                                 Tollefsen
             Review of Foreign Debtor invoice               Daniel
8/13/2023                                                                  0.80            $440.00
             documentation                                 Tollefsen
             Update of Foreign Debtor payment               Daniel
8/13/2023                                                                  0.90            $495.00
             tracker sheets                                Tollefsen
             Correspondence with CFO re: updated            Kathryn
8/13/2023                                                                  0.50            $487.50
             Ledger Prime payment tracking report          Schultea
             Correspondence with CFO re: updated
                                                            Kathryn
8/13/2023    wire instructions and revised template for                    0.40            $390.00
                                                            Schultea
             vendor invoice
             Correspondence with CFO and J.
                                                            Kathryn
8/13/2023    Berman (EY) re: review 2022 federal tax                       0.80            $780.00
                                                            Schultea
             returns - batch 2
             Correspondence with N. Simoneaux
                                                            Kathryn
8/13/2023    (A&M) re: review of daily payroll summary                     0.70            $682.50
                                                            Schultea
             report
             Maintain daily accounting and financial
8/13/2023                                                  Mary Cilia      2.30           $2,242.50
             reporting records
             Monitor weekly cash balance report and
8/13/2023    generate a comprehensive weekly task          Mary Cilia      1.50           $1,462.50
             list



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Review and gather documents for Asset            Raj
8/13/2023                                                                  1.80           $1,755.00
             Manager applications                          Perubhatla
             Perform data validation for update             Robert
8/13/2023                                                                  1.30            $975.00
             Alameda Silo trial balances                    Hoskins
             Record AJE's for Alameda Research LLC          Robert
8/13/2023                                                                  0.40            $300.00
             proposed by A&M                                Hoskins
             Record AJE's for Alameda Research Ltd          Robert
8/13/2023                                                                  0.60            $450.00
             proposed by A&M                                Hoskins
             Record AJE's for Cottonwood proposed           Robert
8/13/2023                                                                  0.20            $150.00
             by A&M                                         Hoskins
             Record AJE's for Hannam Group                  Robert
8/13/2023                                                                  0.20            $150.00
             proposed by A&M                                Hoskins
             Record AJE's for Maclaurin proposed by         Robert
8/13/2023                                                                  0.40            $300.00
             A&M                                            Hoskins
             Record AJE's for North Dimension               Robert
8/13/2023                                                                  0.20            $150.00
             proposed by A&M                                Hoskins
             Review AJE's for Alameda Research LLC
                                                            Robert
8/13/2023    proposed by A&M against supporting                            1.10            $825.00
                                                            Hoskins
             documentation
             Review AJE's for Alameda Research Ltd
                                                            Robert
8/13/2023    proposed by A&M against supporting                            1.30            $975.00
                                                            Hoskins
             documentation
             Review AJE's for Cottonwood proposed
                                                            Robert
8/13/2023    by A&M against supporting                                     0.20            $150.00
                                                            Hoskins
             documentation
             Review AJE's for Hannam Group
                                                            Robert
8/13/2023    proposed by A&M against supporting                            0.20            $150.00
                                                            Hoskins
             documentation
             Review AJE's for Maclaurin proposed by         Robert
8/13/2023                                                                  0.80            $600.00
             A&M against supporting documentation           Hoskins
             Review AJE's for North Dimension
                                                            Robert
8/13/2023    proposed by A&M against supporting                            0.30            $225.00
                                                            Hoskins
             documentation
             Review updated Alameda Silo AJE
                                                            Robert
8/13/2023    template against previous version of trial                    1.30            $975.00
                                                            Hoskins
             balance
             Conference call with CIO; IT projects /       Brandon
8/14/2023                                                                  0.20            $120.00
             issues coordination                           Bangerter
             Conference call with CIO, H. Nachmias
                                                           Brandon
8/14/2023    (Sygnia) and others; data collection                          0.60            $360.00
                                                           Bangerter
             project coordination efforts
             Access to critical applications and
                                                           Brandon
8/14/2023    configuration updates / testing and                           2.20           $1,320.00
                                                           Bangerter
             troubleshooting
             IT Helpdesk responses / password              Brandon
8/14/2023                                                                  1.90           $1,140.00
             changes / account updates                     Bangerter
             Mimecast troubleshooting with spoofing,       Brandon
8/14/2023                                                                  2.40           $1,440.00
             blocked, and deferred emails                  Bangerter
             Hardware retrieval list updates on website
                                                           Brandon
8/14/2023    and comparisons to what has been                              1.60            $960.00
                                                           Bangerter
             received

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Troubleshooting developer access to           Brandon
8/14/2023                                                                  2.70           $1,620.00
             critical applications                         Bangerter
             Research on critical applications, access     Brandon
8/14/2023                                                                  1.50            $900.00
             to apps and contracts                         Bangerter
             Review and respond to emails with
             Foreign Debtor personnel (FTX Japan            Daniel
8/14/2023                                                                  0.60            $330.00
             Group) re: payment requests and               Tollefsen
             supporting documentation
             Review and respond to emails with
             Foreign Debtor and Non-Debtor
                                                            Daniel
8/14/2023    personnel re: payment tracker sheet with                      0.70            $385.00
                                                           Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails with
             Foreign Debtor personnel (Zubr
                                                            Daniel
8/14/2023    Exchange Ltd) re: payment tracker sheet                       0.30            $165.00
                                                           Tollefsen
             with payment requests and supporting
             documentation
             Review and respond to Foreign Debtor
             personnel (Alameda Research KK) re:            Daniel
8/14/2023                                                                  0.20            $110.00
             payment tracker sheet with payment            Tollefsen
             requests and supporting documentation
             Review and respond to emails from CFO           Daniel
8/14/2023                                                                  0.20            $110.00
             re: vendor invoices and payments               Tollefsen
             Review and reconciliation of all Foreign        Daniel
8/14/2023                                                                  0.90            $495.00
             Debtor financial operating accounts            Tollefsen
             Review of supporting documentation re:          Daniel
8/14/2023                                                                  0.60            $330.00
             Foreign Debtor payment requests                Tollefsen
             Review and update of Foreign Debtor             Daniel
8/14/2023                                                                  1.20            $660.00
             payment trackers                               Tollefsen
             Reconciliation of all US Debtor operating       Daniel
8/14/2023                                                                  0.60            $330.00
             accounts                                       Tollefsen
             Review vendor invoice supporting                Daniel
8/14/2023                                                                  0.80            $440.00
             documentation for US Debtors                   Tollefsen
             Update of the master payment tracker            Daniel
8/14/2023                                                                  2.20           $1,210.00
             with recent transactional data                 Tollefsen
             Update of vendor files with recent              Daniel
8/14/2023                                                                  0.80            $440.00
             supporting documentation                       Tollefsen
             Review and update ACH data entries of           Daniel
8/14/2023                                                                  0.70            $385.00
             invoices, payments and transfers               Tollefsen
             Collect and organize various debtor             Felicia
8/14/2023                                                                  2.80           $1,120.00
             entities' employment agreements               Buenrostro
             Record queries from the FTX Inquiry             Felicia
8/14/2023                                                                  2.00            $800.00
             inbox in the designated database              Buenrostro
             Sort and classify emails from the Earth
                                                             Felicia
8/14/2023    Class Virtual Mailbox to their respective                     0.70            $280.00
                                                           Buenrostro
             repository locations
             Screen incoming documents and file              Felicia
8/14/2023                                                                  0.80            $320.00
             them for West Realm Shires Inc.               Buenrostro



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                              Time Detail Activity by Professional
                                           Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Monitor and categorize incoming
                                                            Felicia
8/14/2023    documentation for Alameda Research                           0.70           $280.00
                                                          Buenrostro
             LLC
             Review and update the My Phone.com             Felicia
8/14/2023                                                                 0.70           $280.00
             business voicemail log spreadsheet           Buenrostro
             Examine and sort all incoming paperwork        Felicia
8/14/2023                                                                 0.50           $200.00
             for FTX US                                   Buenrostro
             Validate forwarding addresses for all          Felicia
8/14/2023                                                                 0.50           $200.00
             returned customer checks and remail          Buenrostro
             Review and respond to emails with CFO
                                                           Kathryn
8/14/2023    and H. Trent (A&M) re: review Debtor                         0.60           $585.00
                                                           Schultea
             entity status summary updates
             Review and respond to emails with CFO         Kathryn
8/14/2023                                                                 0.50           $487.50
             re: follow-up on weekly payment package       Schultea
             Review and respond to emails with N.
                                                           Kathryn
8/14/2023    Simoneaux (A&M) re: vendor invoice                           0.30           $292.50
                                                           Schultea
             inquiry
             Review and respond to emails with N.
                                                           Kathryn
8/14/2023    Simoneaux (A&M) re: FTX Japan KK                             0.50           $487.50
                                                           Schultea
             payroll matters
             Review and respond to emails with D.          Kathryn
8/14/2023                                                                 0.40           $390.00
             Johnston (A&M) re: HR matters                 Schultea
             Review and respond to emails with L.
                                                           Kathryn
8/14/2023    Barrios (RLKS) re: return of donation                        0.30           $292.50
                                                           Schultea
             funds
             Review and respond to emails with CFO         Kathryn
8/14/2023                                                                 0.30           $292.50
             re: testing FTX checks with Debtor Bank       Schultea
             Review and respond to emails with J.
                                                           Kathryn
8/14/2023    DeVincenzo (EY) re: Deck Technologies                        0.40           $390.00
                                                           Schultea
             IDR meeting recap notes
             Review and respond to emails with H.
                                                           Kathryn
8/14/2023    Trent (A&M) re: Debtor entity wind-down                      0.30           $292.50
                                                           Schultea
             open questions
             Review and respond to emails with CEO
                                                           Kathryn
8/14/2023    re: etax deliverables to IRS and FTX US                      0.40           $390.00
                                                           Schultea
             potential employment tax exposures
             Correspondence with CFO and E.
             Simpson (S&C) re: identifying a director      Kathryn
8/14/2023                                                                 0.50           $487.50
             to sign and date forms for FTX Trading        Schultea
             Ltd
             Correspondence with H. Chambers
                                                           Kathryn
8/14/2023    (A&M) and a FTX employee re: various                         0.60           $585.00
                                                           Schultea
             data and system initiatives
             Correspondence with a FTX employee re:
                                                           Kathryn
8/14/2023    review historic and expected headcount                       0.50           $487.50
                                                           Schultea
             costs for FTX Japan Holdings
             Correspondence with CFO and a FTX
                                                           Kathryn
8/14/2023    employee re: review updated Foreign                          0.50           $487.50
                                                           Schultea
             Debtors payment tracking reports
             Correspondence with CEO and various           Kathryn
8/14/2023                                                                 0.40           $390.00
             A&M advisors re: developing a post-           Schultea

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             petition and unrejected pre-petition
             contracts database
             Correspondence with H. Trent (A&M) re:             Kathryn
8/14/2023                                                                      0.50            $487.50
             drafting termination letters                       Schultea
                                                                Kathryn
8/14/2023    Review weekly PMO and WGL updates                                 0.20            $195.00
                                                                Schultea
             Correspondence with D. Roque (USI) and             Kathryn
8/14/2023                                                                      0.40            $390.00
             an Embed employee re: Embed matters                Schultea
             Correspondence with D. Tollefsen
                                                                Kathryn
8/14/2023    (RLKS) re: updated Zubr payment                                   0.30            $292.50
                                                                Schultea
             tracking report
             Correspondence with T. Shea (EY) re:
                                                                Kathryn
8/14/2023    review 2022 tax return executive                                  0.50            $487.50
                                                                Schultea
             walkthrough slide deck
                                                                Kathryn
8/14/2023    Customer Portal dashboard review                                  0.20            $195.00
                                                                Schultea
             Correspondence with H. Trent (A&M) re:             Kathryn
8/14/2023                                                                      0.50            $487.50
             review weekly BOD meeting agenda                   Schultea
             Correspondence with D. Tollefsen
             (RLKS) and a FTX employee re: review               Kathryn
8/14/2023                                                                      0.60            $585.00
             Alameda Research payment tracking                  Schultea
             report
             Meeting with CEO, CFO, T. Shea, J.
             Scott, D. Bailey, L. Lovelace, J. Berman,          Kathryn
8/14/2023                                                                      0.70            $682.50
             B. Mistler (EY); 2022 tax return executive         Schultea
             walkthrough
             Meeting with CEO, CFO, D. Gorman, J.
             Scott, D. Bailey, L. Lovelace, J. Berman,          Kathryn
8/14/2023                                                                      1.00            $975.00
             B. Mistler, C. Cavusoglu (EY); 2022 tax            Schultea
             return follow-up discussion
             Received & validated payment requests              Kathryn
8/14/2023                                                                      0.30            $292.50
             for employee related payments                      Schultea
                                                                Kathryn
8/14/2023    Input wire transactions for approval                              0.80            $780.00
                                                                Schultea
             Blockfolio employment agreements data               Leticia
8/14/2023                                                                      1.50            $825.00
             gathering                                           Barrios
             Forward pertinent tax documents from                Leticia
8/14/2023                                                                      1.80            $990.00
             state agencies to EY for review                     Barrios
             Provide requested information regarding             Leticia
8/14/2023                                                                      1.80            $990.00
             former employee                                     Barrios
                                                                 Leticia
8/14/2023    Daily payroll log consolidation                                   1.70            $935.00
                                                                 Barrios
                                                                 Leticia
8/14/2023    Archive payroll backup history                                    1.80            $990.00
                                                                 Barrios
             Update unclaimed property tracker with              Leticia
8/14/2023                                                                      1.50            $825.00
             results found on state agency websites              Barrios
             Daily preparation and oversight of
8/14/2023    accounting, financial reporting, and              Mary Cilia      1.70           $1,657.50
             communications responsibilities
             Approved expenses with multiple
8/14/2023                                                      Mary Cilia      1.60           $1,560.00
             domestic and international offices while

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             addressing operational and financial
             matters
             Working sessions with R. Hoskins
             (RLKS); review petition date trial
8/14/2023                                                    Mary Cilia      1.10           $1,072.50
             balances and related adjustments
             provided by A&M
             Conference call with CIO; Crypto Asset
8/14/2023                                                    Mary Cilia      0.80            $780.00
             Manager Onboarding KYC
             Conference call with S&C and A&M;
8/14/2023    MOR and Amended                                 Mary Cilia      0.50            $487.50
             Statements/Schedules
             Review 2022 federal tax returns and
8/14/2023                                                    Mary Cilia      1.40           $1,365.00
             related presentation
             Meeting with CEO, CAO, T. Shea, J.
             Scott, D. Bailey, L. Lovelace, J. Berman,
8/14/2023                                                    Mary Cilia      0.70            $682.50
             B. Mistler (EY); 2022 tax return executive
             walkthrough
             Meeting with CEO, CAO, D. Gorman, J.
             Scott, D. Bailey, L. Lovelace, J. Berman,
8/14/2023                                                    Mary Cilia      1.00            $975.00
             B. Mistler, C. Cavusoglu (EY); 2022 tax
             return follow-up discussion
             Organize various treasury operations and
8/14/2023                                                    Mary Cilia      2.20           $2,145.00
             monitor daily communications
             Review amended schedule issues and e-
8/14/2023                                                    Mary Cilia      0.60            $585.00
             mails re: customer balances
             Combining post-petition information from
             all November 2022 entities' balance              Melissa
8/14/2023                                                                    3.80           $2,090.00
             sheets into one summary sheet for team           Concitis
             analysis and review
             Compile in-depth evaluations for each
             entity, centering around the Nov 2022            Melissa
8/14/2023                                                                    4.80           $2,640.00
             post-petition intercompany payables and          Concitis
             receivables
             Prepare a summary report for post-
                                                              Melissa
8/14/2023    petition analysis, highlighting key findings                    2.60           $1,430.00
                                                              Concitis
             to aid team resolution
             Obtain and upload the designated bank
                                                              Melissa
8/14/2023    statements as per the team's request for                        0.70            $385.00
                                                              Concitis
             their accessibility
             Conference call with CFO; Crypto Asset             Raj
8/14/2023                                                                    0.80            $780.00
             Manager Onboarding KYC                          Perubhatla
             Conference call with A. Taylor, H.
             Nachmias and L. Farazis (Sygnia);                  Raj
8/14/2023                                                                    0.50            $487.50
             weekly stand-up on Cyber/Crypto/IT              Perubhatla
             issues
             Conference call with B. Bangerter                  Raj
8/14/2023                                                                    0.20            $195.00
             (RLKS); IT projects / issues coordination       Perubhatla
             Review and gather and share documents              Raj
8/14/2023                                                                    1.30           $1,267.50
             for Asset Manager applications                  Perubhatla
             Address IT access and administrative               Raj
8/14/2023                                                                    1.80           $1,755.00
             issues                                          Perubhatla

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Conference call with H. Nachmias
             (Sygnia), B. Bangerter (RLKS) and                  Raj
8/14/2023                                                                    0.60            $585.00
             others; data collection project                 Perubhatla
             coordination efforts
                                                                Raj
8/14/2023    Review IT costs and budgets                                     1.20           $1,170.00
                                                             Perubhatla
             Assess and resolve IT access and                   Raj
8/14/2023                                                                    2.30           $2,242.50
             administrative issues                           Perubhatla
             Review, approve Crypto management                  Raj
8/14/2023                                                                    0.30            $292.50
             actions                                         Perubhatla
             Review development activities and                  Raj
8/14/2023                                                                    1.80           $1,755.00
             respond as necessary                            Perubhatla
             Meeting with CFO; review petition date
                                                              Robert
8/14/2023    trial balances and related adjustments                          1.10            $825.00
                                                              Hoskins
             provided by A&M
             Meeting with FTX debtor personnel;               Robert
8/14/2023                                                                    1.10            $825.00
             Foreign financial statements                     Hoskins
             Perform data validation for update               Robert
8/14/2023                                                                    0.90            $675.00
             Ventures Silo trial balances                     Hoskins
             Preparation for meeting with FTX debtor          Robert
8/14/2023                                                                    0.30            $225.00
             personnel; Foreign financial statements          Hoskins
             Record AJE's for Clifton Bay Invest              Robert
8/14/2023                                                                    0.40            $300.00
             proposed by A&M                                  Hoskins
             Record AJE's for FTX Ventures proposed           Robert
8/14/2023                                                                    0.50            $375.00
             by A&M                                           Hoskins
             Record AJE's for Island Bay proposed by          Robert
8/14/2023                                                                    0.30            $225.00
             A&M                                              Hoskins
             Record AJE's for Paper Bird proposed by          Robert
8/14/2023                                                                    0.30            $225.00
             A&M                                              Hoskins
             Record November 2022 post petition               Robert
8/14/2023                                                                    1.80           $1,350.00
             cash activity for Alameda Research KK            Hoskins
             Record November 2022 post petition               Robert
8/14/2023                                                                    1.80           $1,350.00
             cash activity for Cottonwood                     Hoskins
             Record November 2022 post petition non-          Robert
8/14/2023                                                                    0.90            $675.00
             cash activity for Alameda Research KK            Hoskins
             Record November 2022 post petition non-          Robert
8/14/2023                                                                    1.40           $1,050.00
             cash activity for Cottonwood                     Hoskins
             Review AJE's for Clifton Bay Invest
                                                              Robert
8/14/2023    proposed by A&M against supporting                              1.20            $900.00
                                                              Hoskins
             documentation
             Review AJE's for FTX Ventures proposed
                                                              Robert
8/14/2023    by A&M against supporting                                       1.40           $1,050.00
                                                              Hoskins
             documentation
             Review AJE's for Island Bay proposed by          Robert
8/14/2023                                                                    0.40            $300.00
             A&M against supporting documentation             Hoskins
             Review AJE's for Paper Bird proposed by          Robert
8/14/2023                                                                    0.60            $450.00
             A&M against supporting documentation             Hoskins
             Reconciling vendor IT application               Brandon
8/15/2023                                                                    2.40           $1,440.00
             invoices with associated credit card billing    Bangerter



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Cloud platform searches for contracts and    Brandon
8/15/2023                                                                 2.70           $1,620.00
             addendums                                    Bangerter
             IT Helpdesk e-mail responses and             Brandon
8/15/2023                                                                 2.30           $1,380.00
             account updates                              Bangerter
             Opening support cases with vendors for       Brandon
8/15/2023                                                                 1.90           $1,140.00
             access and contract information              Bangerter
             Assigning access rights and                  Brandon
8/15/2023                                                                 2.30           $1,380.00
             troubleshooting access issues                Bangerter
             Conference call with CIO, A. Mohammad
             (A&M), E. Plimack (Cloud provider) and       Brandon
8/15/2023                                                                 0.50            $300.00
             others; discuss technology offerings for     Bangerter
             consideration
             Meeting with third party vendor; contract    Brandon
8/15/2023                                                                 0.50            $300.00
             renewal and cost per license                 Bangerter
             Meeting with vendor; ChatGPT plugin and      Brandon
8/15/2023                                                                 0.50            $300.00
             integration                                  Bangerter
             Review and respond to emails with
             Foreign Debtor personnel (FTX Exchange
                                                           Daniel
8/15/2023    FZE) re: payment tracker sheet with                          0.30            $165.00
                                                          Tollefsen
             payment requests and supporting
             documentation
             Review and respond to email from Debtor
                                                           Daniel
8/15/2023    Bank personnel re: transactional activity                    0.20            $110.00
                                                          Tollefsen
             on FTX operating accounts
             Reconciliation of Foreign Debtors             Daniel
8/15/2023                                                                 1.40            $770.00
             operating accounts                           Tollefsen
             Review of supporting invoice
                                                           Daniel
8/15/2023    documentation re: payment requests of                        1.70            $935.00
                                                          Tollefsen
             Foreign Debtors
             Review and update ACH data entries of         Daniel
8/15/2023                                                                 1.60            $880.00
             invoices, payments and transfers             Tollefsen
             US Debtor operating accounts
                                                           Daniel
8/15/2023    reconciliation with recent transactional                     0.90            $495.00
                                                          Tollefsen
             activity
             Update of the payment tracker with recent     Daniel
8/15/2023                                                                 2.30           $1,265.00
             payment data                                 Tollefsen
             Conference call with CFO, S.
             Witherspoon, J. Cooper, E. Taraba             Daniel
8/15/2023                                                                 0.80            $440.00
             (A&M); weekly update of FTX Debtor           Tollefsen
             financial activity
             Vendor files update with supporting           Daniel
8/15/2023                                                                 0.90            $495.00
             documentation                                Tollefsen
             Gather and organize Alameda
                                                            Felicia
8/15/2023    employment agreements for further                            2.00            $800.00
                                                          Buenrostro
             analysis
             Review the My Phone.com business
                                                            Felicia
8/15/2023    voicemail log file and incorporate the                       0.80            $320.00
                                                          Buenrostro
             most recent data
             Review and process recent incoming             Felicia
8/15/2023                                                                 0.70            $280.00
             documents for FTX US                         Buenrostro


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Receive and categorize documents sent            Felicia
8/15/2023                                                                   0.50            $200.00
             to Alameda Research LLC                        Buenrostro
             Perform document filing and screening for        Felicia
8/15/2023                                                                   0.50            $200.00
             West Realm Shires Inc.                         Buenrostro
             Analyze and sort emails from Earth Class
                                                              Felicia
8/15/2023    Virtual Mailbox into appropriate repository                    0.70            $280.00
                                                            Buenrostro
             folders
             Manage and record all FTX Inquiry inbox          Felicia
8/15/2023                                                                   2.50           $1,000.00
             queries in the designated database             Buenrostro
             Identify the forwarding addresses for all        Felicia
8/15/2023                                                                   1.00            $400.00
             returned customer checks and remail            Buenrostro
             Review and respond to emails with L.
             Barrios (RLKS) and S. Wheeler (S&C) re:         Kathryn
8/15/2023                                                                   0.60            $585.00
             research contact information for former         Schultea
             FTX employee
             Review and respond to emails with H.
                                                             Kathryn
8/15/2023    Trent (A&M) re: confirming distribution of                     0.30            $292.50
                                                             Schultea
             official employee termination notifications
             Review and respond to emails with
                                                             Kathryn
8/15/2023    several S&C advisors re: IRS audit                             0.70            $682.50
                                                             Schultea
             information request
             Review and respond to emails with S.            Kathryn
8/15/2023                                                                   0.50            $487.50
             Wheeler (S&C) re: locating W-9's for IDR        Schultea
             Review and respond to emails with K.            Kathryn
8/15/2023                                                                   0.40            $390.00
             Lowery (EY) re: promoter contracts              Schultea
             Review and respond to emails with M.
             Strand and S. Wheeler (S&C) re:                 Kathryn
8/15/2023                                                                   0.70            $682.50
             obtaining former WRS employee section           Schultea
             83(b) election forms
             Review and respond to emails with N.
                                                             Kathryn
8/15/2023    Simoneaux (A&M) re: IFU headcount and                          0.60            $585.00
                                                             Schultea
             cash forecast
             Review and respond to emails with
                                                             Kathryn
8/15/2023    several A&M advisors re: follow-up on                          0.40            $390.00
                                                             Schultea
             Foreign Debtor's storage unit site visit
             Review and respond to emails with L.
                                                             Kathryn
8/15/2023    Barrios (RLKS) re: customer inquiry about                      0.30            $292.50
                                                             Schultea
             claims procedure
             Review and respond to emails with a FTX         Kathryn
8/15/2023                                                                   0.80            $780.00
             employee re: employee matters                   Schultea
             Correspondence with D. Tollefsen
             (RLKS) and a FTX employee re: review            Kathryn
8/15/2023                                                                   0.50            $487.50
             updated FTX UAE payment tracking                Schultea
             report
             Correspondence with J. Sutton (S&C) re:         Kathryn
8/15/2023                                                                   0.30            $292.50
             WRSS mailroom deliveries                        Schultea
             Correspondence with T. Hill and A.
             Courroy (S&C) re: review draft                  Kathryn
8/15/2023                                                                   0.50            $487.50
             termination letter and severance                Schultea
             agreements


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Correspondence with L. Callerio (A&M)              Kathryn
8/15/2023                                                                      0.40            $390.00
             re: review Embed weekly status report              Schultea
             Correspondence with CFO and J.
                                                                Kathryn
8/15/2023    Berman (EY) re: signature request for                             0.30            $292.50
                                                                Schultea
             FTX 2022 federal tax returns
             Correspondence with C. Tong (EY) re:               Kathryn
8/15/2023                                                                      0.40            $390.00
             review tax meeting agenda                          Schultea
                                                                Kathryn
8/15/2023    Customer Portal dashboard review                                  0.20            $195.00
                                                                Schultea
             Correspondence with an FTX employee                Kathryn
8/15/2023                                                                      0.30            $292.50
             re: signed KERP materials                          Schultea
             Meeting with K. Wrenn, K. Lowery, J.
             DeVincenzo, K. Fitzgerald, R. Walker               Kathryn
8/15/2023                                                                      1.00            $975.00
             (EY) and J. Chan (FTX); discuss                    Schultea
             Cottonwood Grove HSBC bank statement
             Meeting with D. Fish, S. Tang, G.
             Camella, J. Markau (LedgerX), V. Short,
                                                                Kathryn
8/15/2023    K. Wrenn, J. DeVincenzo, K. Lowery                                1.00            $975.00
                                                                Schultea
             (EY); FTX Ledger entities IRS IDR
             touchpoint
             Meeting with CFO, H. Trent, N.
                                                                Kathryn
8/15/2023    Simoneaux (A&M) and Debtor personnel;                             0.30            $292.50
                                                                Schultea
             Debtor entity HR & accounting
             Meeting with CFO, K. Lowery, T. Shea,
                                                                Kathryn
8/15/2023    C. Tong (EY) and others; EY tax update                            0.40            $390.00
                                                                Schultea
             with key stakeholders
             Meeting with CFO, CIO, A&M, S&C, and               Kathryn
8/15/2023                                                                      0.30            $292.50
             others; weekly board call                          Schultea
             Received & validated payment requests              Kathryn
8/15/2023                                                                      0.50            $487.50
             for employee related payments                      Schultea
                                                                Kathryn
8/15/2023    Input wire transactions for approval                              0.90            $877.50
                                                                Schultea
             Identify and collect employment                     Leticia
8/15/2023                                                                      1.70            $935.00
             agreements for numerous debtor entities             Barrios
             Load employment agreements from
                                                                Leticia
8/15/2023    various debtor entities in the designated                         1.20            $660.00
                                                                Barrios
             repository
             Review and respond to email requests re:           Leticia
8/15/2023                                                                      1.30            $715.00
             Secure Electronic Delivery of 1099 Form            Barrios
             Capture payment requests for August                Leticia
8/15/2023                                                                      1.20            $660.00
             semi-monthly payroll processing                    Barrios
             Respond to employee information
                                                                Leticia
8/15/2023    requests in HR Teams US & International                           1.30            $715.00
                                                                Barrios
             email boxes
                                                                Leticia
8/15/2023    Load payment requests for payroll runs                            2.10           $1,155.00
                                                                Barrios
                                                                Leticia
8/15/2023    Maintain a record of payroll backup files                         1.70            $935.00
                                                                Barrios
             Meeting with CAO, CIO, A&M, S&C, and
8/15/2023                                                      Mary Cilia      0.30            $292.50
             others; weekly board call


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Weekly call with A&M cash team; cash
8/15/2023    forecast, MOR reporting, IFU and other        Mary Cilia      0.40            $390.00
             cash issues
             Meeting with CAO, H. Trent, N.
8/15/2023    Simoneaux (A&M) and Debtor personnel;         Mary Cilia      0.30            $292.50
             Debtor entity HR & accounting
             Review and reconcile debtor bank
8/15/2023                                                  Mary Cilia      2.90           $2,827.50
             accounts
             Maintain daily accounting, financial
8/15/2023                                                  Mary Cilia      1.70           $1,657.50
             reporting, and communications activities
             Complete a variety of treasury activities
8/15/2023                                                  Mary Cilia      1.90           $1,852.50
             and monitor daily correspondence
             Conference call with D. Tollefsen (RLKS),
             S. Witherspoon, J. Cooper, E. Taraba
8/15/2023                                                  Mary Cilia      0.80            $780.00
             (A&M); weekly update of FTX Debtor
             financial activity
             Communicating with various domestic
             and international offices to approve
8/15/2023                                                  Mary Cilia      2.30           $2,242.50
             spending while responding to operational
             and financial considerations
             Review and sign tax return documents
8/15/2023                                                  Mary Cilia      2.60           $2,535.00
             and related e-mails
             Meeting with CAO, K. Lowery, T. Shea,
8/15/2023    C. Tong (EY) and others; EY tax update        Mary Cilia      0.40            $390.00
             with key stakeholders
             Read, review and respond to e-mails re:
8/15/2023    various amended statements and                Mary Cilia      0.80            $780.00
             schedules
             Initiate a search and follow up by
             uploading the requested bank                   Melissa
8/15/2023                                                                  0.60            $330.00
             statements, meant for the team's               Concitis
             examination
             Retrieved the vendor's financial records       Melissa
8/15/2023                                                                  2.70           $1,485.00
             by investigating the designated repository     Concitis
             Record vendor transactions within the          Melissa
8/15/2023                                                                  3.80           $2,090.00
             chosen bookkeeping system                      Concitis
             Verify the accuracy and entirety of vendor
                                                            Melissa
8/15/2023    transactions by matching them to the                          2.50           $1,375.00
                                                            Concitis
             team's monthly payment tracker
             Conduct a search and proceed with
                                                            Melissa
8/15/2023    uploading the bank statements that have                       1.80            $990.00
                                                            Concitis
             been requested
             Manage access and IT administrative              Raj
8/15/2023                                                                  2.30           $2,242.50
             concerns                                      Perubhatla
             Review the status of the Data
                                                              Raj
8/15/2023    collection/archival projects and act as                       2.20           $2,145.00
                                                           Perubhatla
             needed
                                                              Raj
8/15/2023    Review PMO deck from D. Slay (A&M)                            0.80            $780.00
                                                           Perubhatla
             Meeting with CAO, CFO, A&M, S&C, and             Raj
8/15/2023                                                                  0.30            $292.50
             others; weekly board call                     Perubhatla

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Review and respond to Crypto                     Raj
8/15/2023                                                                  0.80            $780.00
             management actions                            Perubhatla
             Call with A. Mohammad (A&M), I.
             Weinberger (Sygnia) and a third party            Raj
8/15/2023                                                                  0.30            $292.50
             vendor; discuss various technology            Perubhatla
             issues
                                                              Raj
8/15/2023    Review messaging options for the portal                       1.30           $1,267.50
                                                           Perubhatla
             Call with K. Ramanathan (A&M); IT /              Raj
8/15/2023                                                                  0.30            $292.50
             Crypto updates                                Perubhatla
             Conference call with A. Mohammad
             (A&M), B. Bangerter (RLKS), E. Plimack           Raj
8/15/2023                                                                  0.50            $487.50
             (Cloud provider) and others; discuss          Perubhatla
             technology offerings for consideration
             Correspondence with CAO and A&M;                 Raj
8/15/2023                                                                  0.50            $487.50
             staffing matters on projects                  Perubhatla
             Review and gather and share documents            Raj
8/15/2023                                                                  0.50            $487.50
             for Asset Manager applications                Perubhatla
             Calculate and record deprecation of fixed      Robert
8/15/2023                                                                  1.60           $1,200.00
             assets for the Alameda Silo                    Hoskins
             Calculate post petition accrued interest       Robert
8/15/2023                                                                  2.90           $2,175.00
             for affiliate loans                            Hoskins
             Reconcile bank accounts for Alameda
                                                            Robert
8/15/2023    Research KK November 2022 and correct                         1.40           $1,050.00
                                                            Hoskins
             inaccuracies
             Reconcile LSTC balance for Alameda
                                                            Robert
8/15/2023    Research Holdings for with November                           0.60            $450.00
                                                            Hoskins
             2022 payments and record adjustments
             Reconcile LSTC balance for Alameda
                                                            Robert
8/15/2023    Research KK with November 2022                                1.30            $975.00
                                                            Hoskins
             payments and record adjustments
             Reconcile LSTC balance for Alameda
                                                            Robert
8/15/2023    Research LLC with November 2022                               0.90            $675.00
                                                            Hoskins
             payments and record adjustments
             Reconcile LSTC balance for Cottonwood
                                                            Robert
8/15/2023    with November 2022 payments and                               1.10            $825.00
                                                            Hoskins
             record adjustments
             Reconcile LSTC balance for Maclaurin
                                                            Robert
8/15/2023    with November 2022 payments and                               0.30            $225.00
                                                            Hoskins
             record adjustments
             Record post petition accrued interest for      Robert
8/15/2023                                                                  0.60            $450.00
             affiliate loans                                Hoskins
             Record post petition accrued interest for      Robert
8/15/2023                                                                  1.40           $1,050.00
             Alameda loans receivables                      Hoskins
             Record post petition accrued interest for      Robert
8/15/2023                                                                  1.70           $1,275.00
             Ventures loans receivables                     Hoskins
             Record post petition amortization on           Robert
8/15/2023                                                                  0.60            $450.00
             Ventures Silo prepaids                         Hoskins
                                                            Robert
8/15/2023    Update post petition accounting tracker                       0.30            $225.00
                                                            Hoskins


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Audits of critical applications user           Brandon
8/16/2023                                                                   2.40           $1,440.00
             population and permissions                     Bangerter
             Research on contracts renewals for             Brandon
8/16/2023                                                                   2.30           $1,380.00
             developer applications                         Bangerter
             Conference call with CIO; TOTP pricing         Brandon
8/16/2023                                                                   0.30            $180.00
             options for the next 6 weeks                   Bangerter
             Developer application setup and                Brandon
8/16/2023                                                                   2.40           $1,440.00
             configuration including troubleshooting        Bangerter
             Support case updates with vendors on           Brandon
8/16/2023                                                                   2.90           $1,740.00
             licensing and outstanding invoices             Bangerter
             Communication with vendors on
                                                            Brandon
8/16/2023    outstanding invoices and access to the                         2.30           $1,380.00
                                                            Bangerter
             applications
             Reconciliation of Debtor operating              Daniel
8/16/2023                                                                   0.80            $440.00
             accounts                                       Tollefsen
             Review of recent vendor invoices and            Daniel
8/16/2023                                                                   1.40            $770.00
             payments requests                              Tollefsen
             Master payment tracker update with US           Daniel
8/16/2023                                                                   2.20           $1,210.00
             Debtor transactional data                      Tollefsen
             Review and update ACH data entries of           Daniel
8/16/2023                                                                   0.80            $440.00
             invoices, payments and transfers               Tollefsen
             Review and respond to emails from S.
                                                             Daniel
8/16/2023    Witherspoon (A&M) re: transactional                            0.20            $110.00
                                                            Tollefsen
             activity
             Review and respond to emails with
             Foreign Debtor personnel (FTX Japan             Daniel
8/16/2023                                                                   0.80            $440.00
             Group) re: payment requests and                Tollefsen
             supporting documentation
             Review and respond to emails with
             Foreign Debtor personnel (Zubr
                                                             Daniel
8/16/2023    Exchange Ltd) re: payment tracker sheet                        0.20            $110.00
                                                            Tollefsen
             with payment requests and supporting
             documentation
             Review and respond to emails from CFO            Daniel
8/16/2023                                                                   0.20            $110.00
             re: vendor invoices and payments                Tollefsen
             Review of supporting documentation of            Daniel
8/16/2023                                                                   1.80            $990.00
             Foreign Debtor invoices                         Tollefsen
                                                              Daniel
8/16/2023    Foreign Debtor payment tracker updates                         1.40            $770.00
                                                             Tollefsen
             Collect and organize various debtor              Felicia
8/16/2023                                                                   2.80           $1,120.00
             entities' employment agreements                Buenrostro
             Receive and sort all incoming files              Felicia
8/16/2023                                                                   0.70            $280.00
             and paperwork for FTX US                       Buenrostro
             Regularly review and update the My
             Phone.com corporate call log                     Felicia
8/16/2023                                                                   0.70            $280.00
             spreadsheet with latest information from       Buenrostro
             My Phone.com inbox
             Process and organize incoming
                                                              Felicia
8/16/2023    documents sent to Alameda Research                             0.50            $200.00
                                                            Buenrostro
             LLC


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
                                                              Felicia
8/16/2023    Document filing and screening for WRS                          0.70           $280.00
                                                            Buenrostro
             Analyze and sort emails from Earth Class
                                                              Felicia
8/16/2023    Virtual Mailbox into appropriate repository                    0.80           $320.00
                                                            Buenrostro
             folders
             Respond to FTX Inquiry inbox
                                                              Felicia
8/16/2023    communications and record them in the                          2.00           $800.00
                                                            Buenrostro
             appropriate spreadsheet
             Locate forwarding addresses and remail           Felicia
8/16/2023                                                                   0.80           $320.00
             all returned customer checks                   Buenrostro
             Review and respond to emails with T. Hill
                                                             Kathryn
8/16/2023    (S&C) re: follow-up on draft letter                            0.60           $585.00
                                                             Schultea
             agreements
             Correspondence with a vendor re: follow-
                                                             Kathryn
8/16/2023    up on authorized contact forms for FTX                         0.50           $487.50
                                                             Schultea
             Equity Record Holdings
             Correspondence with D. Hariton (S&C)
                                                             Kathryn
8/16/2023    and several EY advisors re: filing 2022                        0.40           $390.00
                                                             Schultea
             returns for FTX Debtors
             Correspondence with CEO and CFO re:             Kathryn
8/16/2023                                                                   0.30           $292.50
             2022 federal tax return status updates          Schultea
             Correspondence with CFO and CIO re:             Kathryn
8/16/2023                                                                   0.50           $487.50
             ACH positive pay                                Schultea
             Correspondence with a vendor re: follow-        Kathryn
8/16/2023                                                                   0.30           $292.50
             up on WRSS mailroom delivery                    Schultea
             Correspondence with K. Wrenn (EY) re:           Kathryn
8/16/2023                                                                   0.80           $780.00
             US citizens on Foreign Debtor payroll           Schultea
             Correspondence with H. Trent (A&M) and
                                                             Kathryn
8/16/2023    a Debtor entity employee re: employee                          0.50           $487.50
                                                             Schultea
             reimbursements inquiry
             Correspondence with LedgerX employee
                                                             Kathryn
8/16/2023    and various EY advisors re: fringe benefit                     0.70           $682.50
                                                             Schultea
             files and 941X requests
             Correspondence with T. Ruan (S&C) re:
                                                             Kathryn
8/16/2023    signature request for Debtor name                              0.50           $487.50
                                                             Schultea
             change
             Correspondence with K. Wrenn (EY) re:           Kathryn
8/16/2023                                                                   0.40           $390.00
             WRSS IRS IDR responses                          Schultea
             Correspondence with H. Kim (S&C) and
                                                             Kathryn
8/16/2023    numerous EY advisors re: FTX IRS                               0.30           $292.50
                                                             Schultea
             employment tax updates
                                                             Kathryn
8/16/2023    Customer Portal dashboard review                               0.20           $195.00
                                                             Schultea
             Correspondence with D. Roque (USI) and
                                                             Kathryn
8/16/2023    an Embed employee re: follow-up on                             0.40           $390.00
                                                             Schultea
             Embed matters
             Correspondence with CFO and Debtor
                                                             Kathryn
8/16/2023    Bank personnel re: Embed check                                 0.70           $682.50
                                                             Schultea
             disbursements
             Correspondence with L. Barrios and F.           Kathryn
8/16/2023                                                                   0.80           $780.00
             Buenrostro (RLKS) re: research                  Schultea

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             employment agreements for Ledger
             Prime employees and contractors
             Correspondence with CFO and T. Ruan
                                                             Kathryn
8/16/2023    (S&C) re: employee compensation                                0.50            $487.50
                                                             Schultea
             matters
             Correspondence with CIO and Debtor
                                                             Kathryn
8/16/2023    entity personnel re: Debtor entity’s open                      0.30            $292.50
                                                             Schultea
             investigation into crypto-related matters
             Correspondence with CEO and L. Van
             Allen (S&C) re: follow-up on FTX's money        Kathryn
8/16/2023                                                                   0.60            $585.00
             transmission license and compliance             Schultea
             matters
             Correspondence with D. Tollefsen
                                                             Kathryn
8/16/2023    (RLKS) and a FTX employee re: Zubr                             0.40            $390.00
                                                             Schultea
             July pay slips and tax information
             Correspondence with a payroll vendor re:        Kathryn
8/16/2023                                                                   0.50            $487.50
             Alameda Research payroll matters                Schultea
             Investigate and gather Blockfolio
                                                             Leticia
8/16/2023    employment agreements for analysis                             1.30            $715.00
                                                             Barrios
             review
             Upload debtor entity employment                 Leticia
8/16/2023                                                                   2.50           $1,375.00
             agreements in the designated repository         Barrios
             Send relevant tax documents from the
                                                             Leticia
8/16/2023    state tax agency to EY for review and                          1.40            $770.00
                                                             Barrios
             processing
             Process payroll journal and organize
                                                             Leticia
8/16/2023    backup in document repository for semi-                        1.50            $825.00
                                                             Barrios
             monthly
                                                             Leticia
8/16/2023    Compile daily processed payroll logs                           1.30            $715.00
                                                             Barrios
                                                             Leticia
8/16/2023    Document payroll backup history                                1.50            $825.00
                                                             Barrios
             Review and respond to emails re:
             requests for information from                   Leticia
8/16/2023                                                                   1.20            $660.00
             terminated employees via domestic &             Barrios
             international HR Teams inboxes
             Conference call with R. Hoskins (RLKS)
8/16/2023    and A&M crypto team; crypto                    Mary Cilia      0.70            $682.50
             management actions and forecast
             Follow up discussions with R. Hoskins
8/16/2023    (RLKS) re: crypto balances and                 Mary Cilia      0.40            $390.00
             management actions
             Review and reconcile amended schedule
8/16/2023                                                   Mary Cilia      1.60           $1,560.00
             and SOFA drafts
             Coordinate various treasury activities and
8/16/2023                                                   Mary Cilia      1.90           $1,852.50
             monitor daily communications
             Maintain a variety of financial records,
8/16/2023    reports, and communications on a daily         Mary Cilia      2.30           $2,242.50
             basis



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Review petition date trial balances and
8/16/2023    prepare and record required journal            Mary Cilia      2.80           $2,730.00
             adjustments
             Correspondence with domestic and
8/16/2023    international departments for budgetary        Mary Cilia      1.40           $1,365.00
             and operational approvals
             Meeting with R. Hoskins (RLKS); S&S             Melissa
8/16/2023                                                                   0.90            $495.00
             intercompany reconciliation                     Concitis
             Acquired the financial documentation of
                                                             Melissa
8/16/2023    the vendor by searching in the designated                      2.10           $1,155.00
                                                             Concitis
             repository
             Add vendor transactions to the                  Melissa
8/16/2023                                                                   2.30           $1,265.00
             designated financial software                   Concitis
             Confirm the accuracy of vendor
                                                             Melissa
8/16/2023    transactions through cross-referencing                         0.70            $385.00
                                                             Concitis
             with the team's monthly payment tracker
             Transfer post-petition bank statements to       Melissa
8/16/2023                                                                   0.30            $165.00
             the shared drive, enabling team access          Concitis
             Analyze data on Intercompany
                                                             Melissa
8/16/2023    Statements/Schedules and compare it                            3.40           $1,870.00
                                                             Concitis
             with the accounting software records
             Relocate pre-petition trial balance records
                                                             Melissa
8/16/2023    to the Intercompany balance sheet for                          2.30           $1,265.00
                                                             Concitis
             straightforward comparison
             Review and research data collection               Raj
8/16/2023                                                                   2.20           $2,145.00
             needs/access for business unit shutdown        Perubhatla
             Call with J. Hughes (Kroll), K.
             Ramanathan, R. Esposito, A. Mohammed              Raj
8/16/2023                                                                   0.20            $195.00
             (A&M) and others; FTX Customer portal          Perubhatla
             sync with Kroll
             Review, research and collect invoices for         Raj
8/16/2023                                                                   1.70           $1,657.50
             payment re: cloud services in use              Perubhatla
             Correspondence with CFO and a vendor;             Raj
8/16/2023                                                                   0.70            $682.50
             service provider applications                  Perubhatla
             Correspondence with C. Tse (Cloud
                                                               Raj
8/16/2023    service) re: invoices and consolidated                         0.30            $292.50
                                                            Perubhatla
             billing
             Correspondence with K. Ramanathan
                                                               Raj
8/16/2023    (A&M) and a third party vendor re:                             0.30            $292.50
                                                            Perubhatla
             onboarding and Crypto positions
             Call with A. Mohammad (A&M), D. White
                                                               Raj
8/16/2023    (Alix), FTX team and others; project                           0.10             $97.50
                                                            Perubhatla
             updates
             Review and address crypto management              Raj
8/16/2023                                                                   2.20           $2,145.00
             matters                                        Perubhatla
              Call with D. Sagen (A&M); crypto                 Raj
8/16/2023                                                                   0.30            $292.50
             management actions                             Perubhatla
             Review development activities and                 Raj
8/16/2023                                                                   1.70           $1,657.50
             respond as necessary                           Perubhatla
             Correspondence with CFO; confirming               Raj
8/16/2023                                                                   0.30            $292.50
             online deposits for cloud service              Perubhatla

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Correspondence with H. Boo (Blockfolio)
                                                                Raj
8/16/2023    and H. Nachmias (Sygnia) re: tracing                            0.30            $292.50
                                                             Perubhatla
             crypto deposits
             Correspondence with K. Dusendschon
                                                                Raj
8/16/2023    (A&M) and B. Bangerter (RLKS) re: data                          0.30            $292.50
                                                             Perubhatla
             archival into long term storage
             Conference call with B. Bangerter
                                                                Raj
8/16/2023    (RLKS); TOTP pricing options for the next                       0.30            $292.50
                                                             Perubhatla
             6 weeks
             Correspondence with CFO Re: Crypto               Robert
8/16/2023                                                                    0.40            $300.00
             accounting matters                               Hoskins
             Generate Alameda Silo trial balances for         Robert
8/16/2023                                                                    1.60           $1,200.00
             the MOR and upload to shared drive               Hoskins
             Generate Ventures Silo trial balances for        Robert
8/16/2023                                                                    0.80            $600.00
             the MOR and upload to shared drive               Hoskins
             Meeting with CFO and A&M Crypto
                                                              Robert
8/16/2023    Team; crypto management actions and                             0.70            $525.00
                                                              Hoskins
             forecast
             Meeting with K. Kearney (A&M); Crypto            Robert
8/16/2023                                                                    0.30            $225.00
             receivables                                      Hoskins
             Meeting with M. Concitis (RLKS); S&S             Robert
8/16/2023                                                                    0.90            $675.00
             intercompany reconciliation                      Hoskins
             Perform validation checks against latest
                                                              Robert
8/16/2023    petition date balances for DOTCOM                               1.80           $1,350.00
                                                              Hoskins
             entities
             Prepare intercompany reconciliation file         Robert
8/16/2023                                                                    0.40            $300.00
             template for comparison with S&S                 Hoskins
             Prepare questions for meeting with               Robert
8/16/2023                                                                    0.30            $225.00
             Crypto Team                                      Hoskins
             Record AJE's for FTX Trading proposed            Robert
8/16/2023                                                                    0.40            $300.00
             by A&M                                           Hoskins
             Record post petition brokerage activity for      Robert
8/16/2023                                                                    0.80            $600.00
             November 2022                                    Hoskins
             Review AJE's for FTX Trading proposed
                                                              Robert
8/16/2023    by A&M against supporting                                       0.30            $225.00
                                                              Hoskins
             documentation
             Review Alameda silo balance sheet as of          Robert
8/16/2023                                                                    1.40           $1,050.00
             November 2022                                    Hoskins
             Review docket filings for accounting             Robert
8/16/2023                                                                    0.30            $225.00
             implications                                     Hoskins
             Review Ventures silo balance sheet as of         Robert
8/16/2023                                                                    0.80            $600.00
             November 2022                                    Hoskins
                                                              Robert
8/16/2023    Update bank reconciliation tracker                              0.40            $300.00
                                                              Hoskins
                                                              Robert
8/16/2023    Update post petition accounting tracker                         0.40            $300.00
                                                              Hoskins
             Access updates and password changes             Brandon
8/17/2023                                                                    2.30           $1,380.00
             for email and critical applications             Bangerter
             Research on critical application monthly        Brandon
8/17/2023                                                                    2.30           $1,380.00
             cost for ongoing budgets                        Bangerter


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Conference call with CIO; data collection      Brandon
8/17/2023                                                                   0.30            $180.00
             and preservation for IT systems                Bangerter
             Identification of shared drives and access     Brandon
8/17/2023                                                                   1.80           $1,080.00
             to each for provisioning                       Bangerter
                                                            Brandon
8/17/2023    IT Helpdesk responses / account updates                        2.10           $1,260.00
                                                            Bangerter
             Comparisons of terminations and
                                                            Brandon
8/17/2023    attritions with active employee snapshot                       2.40           $1,440.00
                                                            Bangerter
             and google accounts
             Developer access permissions and               Brandon
8/17/2023                                                                   2.00           $1,200.00
             updates to accounts                            Bangerter
             Reconciliation of Debtor operating              Daniel
8/17/2023                                                                   0.80            $440.00
             accounts                                       Tollefsen
             Review of supporting documentation for          Daniel
8/17/2023                                                                   1.80            $990.00
             invoice payments                               Tollefsen
             Entry of payment and transactional              Daniel
8/17/2023                                                                   2.20           $1,210.00
             activity into master payment tracker           Tollefsen
             Working session with CFO; ACH credit            Daniel
8/17/2023                                                                   1.10            $605.00
             entries and other issues                       Tollefsen
             Review and update ACH data entries of           Daniel
8/17/2023                                                                   1.40            $770.00
             invoices, payments and transfers               Tollefsen
             Review and respond to emails from CIO           Daniel
8/17/2023                                                                   0.20            $110.00
             re: employee benefit payments                  Tollefsen
             Review and respond to emails from CFO           Daniel
8/17/2023                                                                   0.20            $110.00
             re: employee benefit payments                  Tollefsen
             Review and respond to emails from CAO           Daniel
8/17/2023                                                                   0.20            $110.00
             re: employee benefit payments                  Tollefsen
             Vendor files update with supporting             Daniel
8/17/2023                                                                   0.80            $440.00
             documentation                                  Tollefsen
             Meeting with CAO, L. Barrios (RLKS), K.
             Wrenn, K. Lowery, J. DeVincenzo, V.              Felicia
8/17/2023                                                                   0.80            $320.00
             Short (EY); weekly employment tax              Buenrostro
             update
             Obtain forwarding address, log, and              Felicia
8/17/2023                                                                   1.20            $480.00
             remail all returned customer checks            Buenrostro
             Review and maintain Alameda
                                                              Felicia
8/17/2023    employment agreements in the                                   2.80           $1,120.00
                                                            Buenrostro
             designated repository
             Prepare, sort, and review all e-mails
             delivered to the Earth Class Virtual             Felicia
8/17/2023                                                                   1.00            $400.00
             Mailbox, then file in the relevant             Buenrostro
             repository folders
             Review and sort incoming documents for           Felicia
8/17/2023                                                                   0.70            $280.00
             Alameda Research LLC                           Buenrostro
             Record My Phone.com corporate inbox              Felicia
8/17/2023                                                                   0.50            $200.00
             calls in the call appropriate spreadsheet      Buenrostro
             Review and organize FTX US's incoming            Felicia
8/17/2023                                                                   0.30            $120.00
             documentation                                  Buenrostro
             Logging and processing documents for             Felicia
8/17/2023                                                                   0.50            $200.00
             West Realm Shires Inc.                         Buenrostro


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Record all requests received from the
                                                             Felicia
8/17/2023    FTX Inquiry inbox in the designated                           1.00           $400.00
                                                           Buenrostro
             spreadsheet
             Review and respond to emails with T.
                                                            Kathryn
8/17/2023    Ruan (S&C) re: return signed documents                        0.40           $390.00
                                                            Schultea
             for Debtor name change
             Review and respond to emails with CFO          Kathryn
8/17/2023                                                                  0.50           $487.50
             re: weekly payment package                     Schultea
             Review and respond to emails with
                                                            Kathryn
8/17/2023    various EY advisors re: FTX marketing                         0.80           $780.00
                                                            Schultea
             and sponsorship agreement research
             Review and respond to emails with N.
                                                            Kathryn
8/17/2023    Simoneaux (A&M) re: Japan KK August                           0.40           $390.00
                                                            Schultea
             payroll request
             Review and respond to emails with
                                                            Kathryn
8/17/2023    several S&C advisors re: return of                            0.50           $487.50
                                                            Schultea
             donation funds
             Review and respond to emails with F.
                                                            Kathryn
8/17/2023    Buenrostro (RLKS) re: processing                              0.30           $292.50
                                                            Schultea
             returned checks
             Review and respond to emails with D.
                                                            Kathryn
8/17/2023    Tollefsen and F. Buenrostro (RLKS) re:                        0.30           $292.50
                                                            Schultea
             research vendor invoices
             Review and respond to emails with CFO
                                                            Kathryn
8/17/2023    and vendor re: submission of director                         0.80           $780.00
                                                            Schultea
             change to Registered Agent
             Correspondence with R. Esposito (A&M)
                                                            Kathryn
8/17/2023    re: review SOFA amendment summary                             0.50           $487.50
                                                            Schultea
             draft materials
             Correspondence with H. Trent (A&M) and
                                                            Kathryn
8/17/2023    a Debtor entity employee re: Debtor entity                    0.60           $585.00
                                                            Schultea
             wind-down updates
             Correspondence with H. Trent (A&M) and
                                                            Kathryn
8/17/2023    a Debtor entity employee re: review of                        0.30           $292.50
                                                            Schultea
             Debtor entity wind-down checklist
             Correspondence with CFO and T. Shea            Kathryn
8/17/2023                                                                  0.40           $390.00
             (EY) re: third party requests                  Schultea
             Correspondence with K. Wrenn (EY) and
                                                            Kathryn
8/17/2023    a Debtor entity employee re: research                         0.50           $487.50
                                                            Schultea
             historical employee W2's
                                                            Kathryn
8/17/2023    Customer Portal dashboard review                              0.20           $195.00
                                                            Schultea
             Correspondence with C. Tong (EY) re:           Kathryn
8/17/2023                                                                  0.40           $390.00
             review tax meeting agenda                      Schultea
             Correspondence with L. Barrios (RLKS)
                                                            Kathryn
8/17/2023    re: locate employee's signed invention                        0.70           $682.50
                                                            Schultea
             assignment and confidentiality agreement
             Meeting with K. Wrenn, K. Lowery, J.
             DeVincenzo (EY), H. Kim, J. Paranyuk, J.       Kathryn
8/17/2023                                                                  0.50           $487.50
             Bander, D. Hariton (S&C); employment           Schultea
             tax documentation

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Meeting with L. Barrios, F. Buenrostro
             (RLKS), K. Wrenn, K. Lowery, J.               Kathryn
8/17/2023                                                                 0.80            $780.00
             DeVincenzo, V. Short (EY); weekly             Schultea
             employment tax update
             Meeting with CFO, K. Lowery, T. Shea,
                                                           Kathryn
8/17/2023    C. Tong (EY) and others; EY tax update                       0.30            $292.50
                                                           Schultea
             with key stakeholders
             Conduct eBrevia searches for requested        Leticia
8/17/2023                                                                 1.70            $935.00
             HR data                                       Barrios
             Request list of missing employment            Leticia
8/17/2023                                                                 1.60            $880.00
             agreements                                    Barrios
             Review and respond to emails re:              Leticia
8/17/2023                                                                 1.70            $935.00
             customer transactions and responses           Barrios
                                                           Leticia
8/17/2023    Merge processed payroll logs                                 1.30            $715.00
                                                           Barrios
                                                           Leticia
8/17/2023    Archive payroll backup history                               1.50            $825.00
                                                           Barrios
             Research and collect employment               Leticia
8/17/2023                                                                 1.30            $715.00
             agreements from several debtor entities       Barrios
             Meeting with CAO, F. Buenrostro (RLKS),
             K. Wrenn, K. Lowery, J. DeVincenzo, V.        Leticia
8/17/2023                                                                 0.80            $440.00
             Short (EY); weekly employment tax             Barrios
             update
             Conference call with A&M Cash team;
8/17/2023                                                 Mary Cilia      0.60            $585.00
             updated cash flow forecast
             Weekly update call with AlixPartners;
8/17/2023    workstream status and financial              Mary Cilia      0.30            $292.50
             statement classifications
             Working session with D. Tollefsen (RLKS)
8/17/2023                                                 Mary Cilia      1.10           $1,072.50
             re: ACH credit entries and other issues
             Meeting with CAO, K. Lowery, T. Shea,
8/17/2023    C. Tong (EY) and others; EY tax update       Mary Cilia      0.30            $292.50
             with key stakeholders
             Review revised SOFA and schedules
8/17/2023                                                 Mary Cilia      2.30           $2,242.50
             amendments
             Communication with local and
             international offices to approve
8/17/2023                                                 Mary Cilia      1.40           $1,365.00
             expenditures and address operational
             and financial matters
             Organize various treasury operations and
8/17/2023                                                 Mary Cilia      1.60           $1,560.00
             monitor daily communications
             Maintain daily accounting, financial
8/17/2023                                                 Mary Cilia      1.80           $1,755.00
             reporting, and communications activities
             Communicating with various domestic
             and international offices to approve
8/17/2023                                                 Mary Cilia      1.20           $1,170.00
             spending while responding to operational
             and financial considerations
             Conduct a side-by-side examination of
                                                           Melissa
8/17/2023    Intercompany Statements/Schedules data                       4.30           $2,365.00
                                                           Concitis
             and the accounting software records


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Move pre-petition trial balance sheets to
                                                            Melissa
8/17/2023    the Intercompany balance sheet for                            3.40           $1,870.00
                                                            Concitis
             simplified comparison
             Located the vendor's financial records
                                                            Melissa
8/17/2023    through a search in the assigned                              1.80            $990.00
                                                            Concitis
             repository
             Log vendor transactions in the designated      Melissa
8/17/2023                                                                  2.50           $1,375.00
             accounting platform                            Concitis
             Review, research and collect invoices for        Raj
8/17/2023                                                                  1.70           $1,657.50
             payment re: cloud services in use             Perubhatla
             Conference call with A. Taylor and L.
                                                              Raj
8/17/2023    Farazis (Sygnia); weekly standup on                           0.60            $585.00
                                                           Perubhatla
             Cyber/Crypto/IT issues
             Conference call with CAO and CFO;                Raj
8/17/2023                                                                  0.30            $292.50
             Project updates                               Perubhatla
             Review and address crypto management             Raj
8/17/2023                                                                  2.50           $2,437.50
             matters                                       Perubhatla
             Correspondence with C. Arnett (A&M) re:
                                                              Raj
8/17/2023    terminated cloud service agreement and                        0.20            $195.00
                                                           Perubhatla
             associated claim
             Conference call with M. Wood (Business
                                                              Raj
8/17/2023    unit), B. Bangerter (RLKS); data                              0.30            $292.50
                                                           Perubhatla
             collection and preservation for IT systems
             Call with A. Mohammad and K.
                                                              Raj
8/17/2023    Ramanathan (A&M); weekly tech                                 0.50            $487.50
                                                           Perubhatla
             touchpoint
             Correspondence with a third party vendor         Raj
8/17/2023                                                                  0.50            $487.50
             re: on-boarding documents review              Perubhatla
             Review and respond to CFO; Accounting            Raj
8/17/2023                                                                  0.50            $487.50
             system access                                 Perubhatla
             Review development activities and                Raj
8/17/2023                                                                  1.70           $1,657.50
             respond as necessary                          Perubhatla
             Investigate IT access and administration         Raj
8/17/2023                                                                  1.50           $1,462.50
             concerns                                      Perubhatla
             Export Updated November 30, 2022 trial
                                                            Robert
8/17/2023    balances for FTX Europe entities and                          0.20            $150.00
                                                            Hoskins
             post to MOR folder
             Export Updated November 30, 2022 trial
                                                            Robert
8/17/2023    balances for FTX Japan entities and Post                      0.60            $450.00
                                                            Hoskins
             to MOR folder
             Export Updated November 30, 2022 trial
                                                            Robert
8/17/2023    balances for FTX Trading and post to                          0.30            $225.00
                                                            Hoskins
             MOR folder
             Perform currency adjustments for FTX           Robert
8/17/2023                                                                  0.30            $225.00
             Europe entities                                Hoskins
             Perform currency adjustments for FTX           Robert
8/17/2023                                                                  1.30            $975.00
             Japan entities                                 Hoskins
             Perform reclass entries for FTX Japan          Robert
8/17/2023                                                                  0.90            $675.00
             entities as of November 2022                   Hoskins



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Reconcile LSTC balance for FTX Japan
                                                            Robert
8/17/2023    with November 2022 payments and                               0.60            $450.00
                                                            Hoskins
             record adjustments
             Reconcile LSTC balance for Quoine Pte
                                                            Robert
8/17/2023    with November 2022 payments and                               0.90            $675.00
                                                            Hoskins
             record adjustments
             Research and respond to A&M review
                                                            Robert
8/17/2023    questions on alameda and ventures silo                        0.40            $300.00
                                                            Hoskins
             November 2022 trial balances
             Review intercompany for FTX Japan              Robert
8/17/2023                                                                  1.60           $1,200.00
             entities as of November 2022                   Hoskins
             Review payment tracker to identify
             completeness of LSTC balance                   Robert
8/17/2023                                                                  1.30            $975.00
             adjustments for FTX Europe and FTX             Hoskins
             Japan
             Meeting with FTI; vendor software             Brandon
8/18/2023                                                                  0.40            $240.00
             exports and access to each application        Bangerter
             Research on passwords and restoring           Brandon
8/18/2023                                                                  2.60           $1,560.00
             access to critical applications               Bangerter
             Configuration and setup for exporting         Brandon
8/18/2023                                                                  2.40           $1,440.00
             critical data from applications               Bangerter
             IT Helpdesk responses / access rights /       Brandon
8/18/2023                                                                  2.30           $1,380.00
             password changes / account updates            Bangerter
             Security application and data exports         Brandon
8/18/2023                                                                  2.80           $1,680.00
             availability and testing for accessibility    Bangerter
             Hardware retrieval process user account
                                                           Brandon
8/18/2023    list verifications / cleanup / additional                     1.90           $1,140.00
                                                           Bangerter
             searches as needed
             Review and respond to emails with
             Foreign Debtor personnel (FTX Exchange
                                                            Daniel
8/18/2023    FZE) re: payment tracker sheet with                           0.30            $165.00
                                                           Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails from CFO          Daniel
8/18/2023                                                                  0.20            $110.00
             re: employee benefit payments                 Tollefsen
             Review and respond to emails with
             Foreign Debtor and Non-Debtor
                                                            Daniel
8/18/2023    personnel re: payment tracker sheet with                      0.80            $440.00
                                                           Tollefsen
             payment requests and supporting
             documentation
             Reconciliation of Debtor operating             Daniel
8/18/2023                                                                  0.90            $495.00
             accounts                                      Tollefsen
             Review of supporting documentation for         Daniel
8/18/2023                                                                  1.50            $825.00
             invoice payments                              Tollefsen
             Master payment tracker update with             Daniel
8/18/2023                                                                  2.30           $1,265.00
             transactional data                            Tollefsen
             Review of supporting invoice
                                                            Daniel
8/18/2023    documentation re: payment requests of                         1.10            $605.00
                                                           Tollefsen
             Foreign Debtors
             Update of Foreign Debtor payment               Daniel
8/18/2023                                                                  1.30            $715.00
             tracker sheets                                Tollefsen

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Vendor and employee files update with          Daniel
8/18/2023                                                                  1.20           $660.00
             supporting invoice documentation              Tollefsen
             Review and update ACH data entries of          Daniel
8/18/2023                                                                  0.80           $440.00
             invoices, payments and transfers              Tollefsen
             Remail all returned customer checks,
                                                             Felicia
8/18/2023    verify forwarding address, and log in                         0.80           $320.00
                                                           Buenrostro
             designated repository
             Locate and organize several debtor              Felicia
8/18/2023                                                                  2.00           $800.00
             entities' employment agreements               Buenrostro
             Review and verify that the My Phone.com
                                                             Felicia
8/18/2023    business voicemail log spreadsheet is                         0.70           $280.00
                                                           Buenrostro
             updated
             Examine and sort all incoming paperwork         Felicia
8/18/2023                                                                  0.50           $200.00
             for FTX US                                    Buenrostro
             Track and respond to FTX Inquiry inbox
                                                             Felicia
8/18/2023    requests and log them in the                                  2.30           $920.00
                                                           Buenrostro
             corresponding spreadsheet
             Receive and arrange all documents on            Felicia
8/18/2023                                                                  0.70           $280.00
             behalf of Alameda Research LLC                Buenrostro
             Screen incoming documents and file              Felicia
8/18/2023                                                                  0.80           $320.00
             them for West Realm Shires Inc.               Buenrostro
             Review and file Earth Class Virtual
                                                             Felicia
8/18/2023    Mailbox emails in the proper repository                       1.00           $400.00
                                                           Buenrostro
             folders
             Review and respond to emails with N.           Kathryn
8/18/2023                                                                  0.40           $390.00
             Simoneaux (A&M) re: payroll tax inquiry        Schultea
             Review and respond to emails with CFO
                                                            Kathryn
8/18/2023    re: certificate of amendment application                      0.50           $487.50
                                                            Schultea
             signature request
             Review and respond to emails with T.
                                                            Kathryn
8/18/2023    Shea (EY) re: statute extension and DOJ                       0.50           $487.50
                                                            Schultea
             progress
             Review and respond to emails with B.
                                                            Kathryn
8/18/2023    Mistler (EY) re: schedule E disclosures                       0.80           $780.00
                                                            Schultea
             summary updates
             Correspondence with CFO and FTX
                                                            Kathryn
8/18/2023    employee re: Cottonwood Grove bank                            0.50           $487.50
                                                            Schultea
             statement
             Correspondence with a FTX employee re:
                                                            Kathryn
8/18/2023    review updated FTX UAE payment                                0.40           $390.00
                                                            Schultea
             tracking report
             Correspondence with N. Simoneaux
                                                            Kathryn
8/18/2023    (A&M) re: review of daily payroll summary                     0.50           $487.50
                                                            Schultea
             report
             Correspondence with CIO re: follow-up
                                                            Kathryn
8/18/2023    on FTX resources observations and                             0.70           $682.50
                                                            Schultea
             review
             Correspondence with CEO, CFO and an            Kathryn
8/18/2023                                                                  0.30           $292.50
             FTX employee re: HR matters                    Schultea
                                                            Kathryn
8/18/2023    Customer Portal dashboard review                              0.20           $195.00
                                                            Schultea

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Correspondence with J. Healy (EY) and              Kathryn
8/18/2023                                                                      0.50            $487.50
             D. Hariton (S&C) re: IRS updates                   Schultea
             Correspondence with a Debtor entity
                                                                Kathryn
8/18/2023    employee re: review Debtor entity IDR                             0.30            $292.50
                                                                Schultea
             responses
             Received & validated payment requests              Kathryn
8/18/2023                                                                      1.10           $1,072.50
             for employee related payments                      Schultea
                                                                Kathryn
8/18/2023    Input wire transactions for approval                              1.80           $1,755.00
                                                                Schultea
             Identify and collect Blockfolio employment          Leticia
8/18/2023                                                                      2.20           $1,210.00
             agreements for review and analysis                  Barrios
             Upload various debtor entities'
                                                                Leticia
8/18/2023    employment agreements in assigned                                 2.80           $1,540.00
                                                                Barrios
             repository
             Deliver preliminary state agency
                                                                Leticia
8/18/2023    communications to EY for processing and                           1.50            $825.00
                                                                Barrios
             review
             Review and respond to HR Teams emails
                                                                Leticia
8/18/2023    re: local and overseas personnel's                                1.30            $715.00
                                                                Barrios
             information requests
                                                                Leticia
8/18/2023    Compile daily processed payroll logs                              1.80            $990.00
                                                                Barrios
                                                                Leticia
8/18/2023    Document payroll backup history                                   2.30           $1,265.00
                                                                Barrios
             Daily preparation and oversight of
8/18/2023    accounting, financial reporting, and              Mary Cilia      1.60           $1,560.00
             communications responsibilities
             Coordinate various treasury activities and
8/18/2023                                                      Mary Cilia      2.20           $2,145.00
             monitor daily communications
             Conference call with A&M, EY and S&C;
8/18/2023                                                      Mary Cilia      0.80            $780.00
             potential entity winddowns
             Conference call with R. Hoskins (RLKS),
8/18/2023    A&M and S&C; Schedule and SOFA                    Mary Cilia      0.50            $487.50
             amendments
             Weekly conference call with the
8/18/2023    investigating team; discuss developments          Mary Cilia      0.30            $292.50
             and provide information
             Communication with local and
             international offices to approve
8/18/2023                                                      Mary Cilia      0.80            $780.00
             expenditures and address operational
             and financial matters
             Review docket report and document and
8/18/2023                                                      Mary Cilia      1.70           $1,657.50
             account for related filings
             Ongoing examination of debtor amended
8/18/2023    statements and schedules and related              Mary Cilia      1.90           $1,852.50
             research and documentation
             Perform a comparison of Intercompany
                                                                Melissa
8/18/2023    Statements/Schedules reporting data and                           4.50           $2,475.00
                                                                Concitis
             the records in the accounting software



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Merge pre-petition trial balance sheets
                                                            Melissa
8/18/2023    into the Intercompany balance sheet to                        3.80           $2,090.00
                                                            Concitis
             simplify comparison procedures
             Sourced the financial documentation of
                                                            Melissa
8/18/2023    the vendor by searching in the assigned                       1.20            $660.00
                                                            Concitis
             repository
             Document vendor transactions within the        Melissa
8/18/2023                                                                  2.50           $1,375.00
             assigned financial software                    Concitis
             Review and address crypto management             Raj
8/18/2023                                                                  3.70           $3,607.50
             matters                                       Perubhatla
             Review, Coordinate the data collection           Raj
8/18/2023                                                                  2.50           $2,437.50
             efforts for various projects                  Perubhatla
             Call with J. Hughes (Kroll), K.
             Ramanathan, R. Esposito, A. Mohammed             Raj
8/18/2023                                                                  0.20            $195.00
             (A&M) and others; FTX Customer portal         Perubhatla
             sync with Kroll
                                                              Raj
8/18/2023    Review cloud service usage for security                       1.20           $1,170.00
                                                           Perubhatla
             Check-in call with K. Dusendschon
             (A&M), R. Johnson (A&M); weekly AWS              Raj
8/18/2023                                                                  0.40            $390.00
             Requests, databases and KYC data              Perubhatla
             collection and follow-up tasks
             Call with A. Bailey, B. McMahon (FTI), K.
             Dusendschon (A&M) and others; data               Raj
8/18/2023                                                                  0.50            $487.50
             inventory and collection efforts for data     Perubhatla
             preservation
             Address IT access and administration             Raj
8/18/2023                                                                  1.70           $1,657.50
             issues                                        Perubhatla
             Meeting with CFO, A&M and S&C;                 Robert
8/18/2023                                                                  0.50            $375.00
             Schedule and SOFA amendments                   Hoskins
             Record AJE's for the LedgerPrime entities      Robert
8/18/2023                                                                  1.30            $975.00
             proposed by A&M                                Hoskins
             Review AJE's for the LedgerPrime
                                                            Robert
8/18/2023    entities proposed by A&M against                              2.80           $2,100.00
                                                            Hoskins
             supporting documentation
             Review of AlixPartners accounting
                                                            Robert
8/18/2023    treatment for historical financial                            1.40           $1,050.00
                                                            Hoskins
             statements
             Reconciliation of Debtor operating             Daniel
8/19/2023                                                                  0.60            $330.00
             accounts                                      Tollefsen
             Review of supporting documentation for         Daniel
8/19/2023                                                                  1.40            $770.00
             invoice payments                              Tollefsen
             Master payment tracker update with             Daniel
8/19/2023                                                                  1.80            $990.00
             transactional data                            Tollefsen
             Vendor files update with supporting            Daniel
8/19/2023                                                                  0.90            $495.00
             invoice documentation                         Tollefsen
             Review and update ACH data entries of          Daniel
8/19/2023                                                                  0.40            $220.00
             invoices, payments and transfers              Tollefsen
             Prepare monthly bank reconciliations of
8/19/2023                                                  Mary Cilia      2.80           $2,730.00
             various domestic and foreign accounts


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Attained the vendor's financial
                                                            Melissa
8/19/2023    documentation by navigating the                               2.40           $1,320.00
                                                            Concitis
             designated repository
             Register vendor transactions in the            Melissa
8/19/2023                                                                  3.50           $1,925.00
             approved accounting software                   Concitis
             Validate vendor transactions by
                                                            Melissa
8/19/2023    comparing and contrasting them with the                       2.30           $1,265.00
                                                            Concitis
             team's monthly payment tracker
             Integrate vendor-specific notes into           Melissa
8/19/2023                                                                  0.80            $440.00
             accounting software transactions               Concitis
             Calculate and recorded November 2022           Robert
8/19/2023                                                                  0.90            $675.00
             balance for Zubr Exchange                      Hoskins
             Correspondence with A&M re: Ledger             Robert
8/19/2023                                                                  0.20            $150.00
             prime post petition activity                   Hoskins
             Export Updated November 30, 2022 trial
                                                            Robert
8/19/2023    balances for Zubr Exchange and post to                        0.30            $225.00
                                                            Hoskins
             MOR folder
             Review post petition activity for the          Robert
8/19/2023                                                                  1.80           $1,350.00
             LedgerPrime entities                           Hoskins
             Correspondence with CFO and a vendor
                                                            Kathryn
8/20/2023    re: status update on 2023 AGM                                 0.50            $487.50
                                                            Schultea
             documents
             Correspondence with CFO, several S&C
                                                            Kathryn
8/20/2023    and A&M advisors re: review schedules                         0.80            $780.00
                                                            Schultea
             of assets and liabilities
             Prepare monthly bank reconciliations of
8/20/2023                                                  Mary Cilia      2.60           $2,535.00
             various domestic and foreign accounts
             Review petition date trial balances and
8/20/2023    prepare and record required journal           Mary Cilia      2.30           $2,242.50
             adjustments
             Manage weekly summary of cash
8/20/2023    balances and develop an associated task       Mary Cilia      2.10           $2,047.50
             lists
             Calculate financial metrics on post            Robert
8/20/2023                                                                  1.60           $1,200.00
             petition stablecoin management actions         Hoskins
             Correspondence with A&M re: Crypto             Robert
8/20/2023                                                                  0.20            $150.00
             balances                                       Hoskins
             Record post petition stablecoin                Robert
8/20/2023                                                                  0.80            $600.00
             management actions                             Hoskins
             Review docket filings for accounting           Robert
8/20/2023                                                                  0.30            $225.00
             implications                                   Hoskins
             Review support for post petition               Robert
8/20/2023                                                                  0.90            $675.00
             stablecoin management actions                  Hoskins
             Call with CIO, L. Farazis (Sygnia) and        Brandon
8/21/2023                                                                  0.30            $180.00
             others; archival and data retention needs     Bangerter
                                                           Brandon
8/21/2023    IT Helpdesk responses / account updates                       2.00           $1,200.00
                                                           Bangerter
             Assigning application access rights and       Brandon
8/21/2023                                                                  1.80           $1,080.00
             troubleshooting access issues                 Bangerter



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Support calls with vendors to regain         Brandon
8/21/2023                                                                 2.30           $1,380.00
             access to critical applications              Bangerter
             Cloud platform searches for application      Brandon
8/21/2023                                                                 2.20           $1,320.00
             invoices and contracts                       Bangerter
             Application invoices and billing updates
                                                          Brandon
8/21/2023    as needed / separation of pre / post                         2.60           $1,560.00
                                                          Bangerter
             petition expenses
             Research on critical applications, access    Brandon
8/21/2023                                                                 1.80           $1,080.00
             and contracts                                Bangerter
             Review and respond to Foreign Debtor
             personnel emails (Alameda Research
                                                           Daniel
8/21/2023    KK) re: payment tracker sheet with                           0.30            $165.00
                                                          Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails with
             Foreign Debtor personnel (FTX Exchange
                                                           Daniel
8/21/2023    FZE) re: payment tracker sheet with                          0.20            $110.00
                                                          Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails with
             Debtor personnel (Ledger Prime LLC) re:       Daniel
8/21/2023                                                                 0.30            $165.00
             payment tracker sheet with payment           Tollefsen
             requests and supporting documentation
             Review and respond to emails with
             Foreign Debtor and Non-Debtor
                                                           Daniel
8/21/2023    personnel re: payment tracker sheet with                     0.60            $330.00
                                                          Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails from CIO         Daniel
8/21/2023                                                                 0.50            $275.00
             re: employee benefit payments                Tollefsen
             Review of payment tracking sheets and
                                                           Daniel
8/21/2023    supporting invoice documentation re:                         1.70            $935.00
                                                          Tollefsen
             payment requests of Foreign Debtors
             Update of Foreign Debtor payment              Daniel
8/21/2023                                                                 1.60            $880.00
             tracker sheets                               Tollefsen
             Reconciliation of Foreign Debtors             Daniel
8/21/2023                                                                 1.20            $660.00
             operating accounts                           Tollefsen
             Reconciliation of Debtor operating            Daniel
8/21/2023                                                                 0.70            $385.00
             accounts                                     Tollefsen
             Review of recent vendor invoices and          Daniel
8/21/2023                                                                 1.20            $660.00
             payments requests for US Debtors             Tollefsen
             Master payment tracker update with            Daniel
8/21/2023                                                                 2.20           $1,210.00
             transactional data                           Tollefsen
             Vendor files update with supporting           Daniel
8/21/2023                                                                 0.80            $440.00
             invoice documentation                        Tollefsen
             Email review and respond with Foreign
             Debtor personnel (FTX Japan Group) re:        Daniel
8/21/2023                                                                 0.20            $110.00
             payment requests and supporting              Tollefsen
             documentation



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Confirm forwarding addresses for
                                                             Felicia
8/21/2023    returned customer checks, log in                              0.70            $280.00
                                                           Buenrostro
             database, and remail
             Review calls in the My Phone.com
                                                             Felicia
8/21/2023    company inbox and log information in the                      0.50            $200.00
                                                           Buenrostro
             call log spreadsheet
             Alameda employment agreements data              Felicia
8/21/2023                                                                  3.30           $1,320.00
             gathering                                     Buenrostro
             Log all FTX Inquiry inbox requests in the       Felicia
8/21/2023                                                                  1.50            $600.00
             appropriate database                          Buenrostro
             Prepare, sort, and evaluate all Earth
                                                             Felicia
8/21/2023    Class Virtual Mailbox emails before filing                    0.70            $280.00
                                                           Buenrostro
             in the appropriate repository folders
             Incoming documentation processing and
                                                             Felicia
8/21/2023    review on behalf of West Realm Shires                         0.80            $320.00
                                                           Buenrostro
             Inc.
             Review and maintain a record of all
                                                             Felicia
8/21/2023    incoming documents and materials                              0.50            $200.00
                                                           Buenrostro
             received by Alameda Research LLC
             Assess and organize the latest inbound          Felicia
8/21/2023                                                                  0.80            $320.00
             documentation for FTX US                      Buenrostro
             Review and respond to emails with a FTX        Kathryn
8/21/2023                                                                  0.40            $390.00
             employee re: staffing matters                  Schultea
             Review and respond to emails with L.
             Barrios and F. Buenrostro (RLKS) re:           Kathryn
8/21/2023                                                                  0.50            $487.50
             follow-up on employment agreements for         Schultea
             Ledger Prime employees and contractors
             Review and respond to emails with J.
                                                            Kathryn
8/21/2023    Paranyuk and J. Bander (S&C) re:                              0.50            $487.50
                                                            Schultea
             rescinding KERP materials
             Review and respond to emails with B.
                                                            Kathryn
8/21/2023    Bangerter (RLKS) re: data monitoring and                      0.30            $292.50
                                                            Schultea
             reporting
             Review and respond to emails with a FTX        Kathryn
8/21/2023                                                                  0.60            $585.00
             employee re: contract renewal                  Schultea
             Correspondence with CFO and a FTX
                                                            Kathryn
8/21/2023    employee re: review Alameda Research                          0.80            $780.00
                                                            Schultea
             KK 2023 interim corporate tax payments
             Correspondence with a FTX employee re:
                                                            Kathryn
8/21/2023    review updated FTX UAE payment                                0.30            $292.50
                                                            Schultea
             tracking report
             Correspondence with T. Shea (EY) re: tax       Kathryn
8/21/2023                                                                  0.50            $487.50
             audit matters                                  Schultea
                                                            Kathryn
8/21/2023    Review weekly PMO and WGL updates                             0.20            $195.00
                                                            Schultea
             Correspondence with D. Tollefsen
             (RLKS) and a FTX employee re: review           Kathryn
8/21/2023                                                                  0.80            $780.00
             updated FTX EU payment tracking                Schultea
             reports



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Correspondence with B. Bangerter
                                                                Kathryn
8/21/2023    (RLKS) re: research customer information                          0.50            $487.50
                                                                Schultea
             request
                                                                Kathryn
8/21/2023    Customer Portal dashboard review                                  0.20            $195.00
                                                                Schultea
             Correspondence with CFO and a Debtor
                                                                Kathryn
8/21/2023    entity employee re: research vendor                               0.50            $487.50
                                                                Schultea
             transactions
             Correspondence with B. Bangerter
                                                                Kathryn
8/21/2023    (RLKS) re: follow-up on IDR detailed                              0.30            $292.50
                                                                Schultea
             review of contracts
             Correspondence with K. Paranyuk (S&C)              Kathryn
8/21/2023                                                                      0.80            $780.00
             re: draft termination notice                       Schultea
             Correspondence with a FTX employee re:             Kathryn
8/21/2023                                                                      0.50            $487.50
             Foreign Debtor staffing requirements               Schultea
             Correspondence with N. Simoneaux
                                                                Kathryn
8/21/2023    (A&M) re: review Quoine Pte August                                0.70            $682.50
                                                                Schultea
             payroll request
             Correspondence with CFO and a FTX
                                                                Kathryn
8/21/2023    employee re: review FTX Japan HD                                  0.40            $390.00
                                                                Schultea
             Group payroll request
             Meeting with CFO, D. Hariton, J. Healy,
                                                                Kathryn
8/21/2023    T. Ferris, T. Shea, J. Scott, J. Berman, B.                       0.60            $585.00
                                                                Schultea
             Mistler (EY); tax audit matters
             Meeting with CFO and CIO; RLKS bi-                 Kathryn
8/21/2023                                                                      0.50            $487.50
             weekly call (leads only)                           Schultea
             Received & validated payment requests              Kathryn
8/21/2023                                                                      0.80            $780.00
             for employee related payments                      Schultea
                                                                Kathryn
8/21/2023    Input wire transactions for approval                              1.40           $1,365.00
                                                                Schultea
             Blockfolio employment agreements data               Leticia
8/21/2023                                                                      2.10           $1,155.00
             gathering                                           Barrios
             Upload various debtor entities'
                                                                Leticia
8/21/2023    employment agreements in the                                      1.80            $990.00
                                                                Barrios
             designated repository
             Provide requested information regarding            Leticia
8/21/2023                                                                      2.50           $1,375.00
             former employee                                    Barrios
                                                                Leticia
8/21/2023    Daily payroll log consolidation                                   1.30            $715.00
                                                                Barrios
             Capture payment request for August                 Leticia
8/21/2023                                                                      2.80           $1,540.00
             payroll run                                        Barrios
             Meeting with CAO, D. Hariton, J. Healy,
8/21/2023    T. Ferris, T. Shea, J. Scott, J. Berman, B.       Mary Cilia      0.60            $585.00
             Mistler (EY); tax audit matters
             Meeting with CAO and CIO; RLKS bi-
8/21/2023                                                      Mary Cilia      0.50            $487.50
             weekly call (leads only)
             Approved expenses with multiple
             domestic and international offices while
8/21/2023                                                      Mary Cilia      2.30           $2,242.50
             addressing operational and financial
             matters


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Conference call with R. Hoskins (RLKS);
8/21/2023                                                 Mary Cilia      0.40            $390.00
             accounting for asset sales
             Complete a variety of treasury activities
8/21/2023                                                 Mary Cilia      2.20           $2,145.00
             and monitor daily correspondence
             Maintain a variety of financial records,
8/21/2023    reports, and communications on a daily       Mary Cilia      2.60           $2,535.00
             basis
             Reviewing debtor entities' amended
             statements and schedules, conducting
8/21/2023                                                 Mary Cilia      1.40           $1,365.00
             related research, and compiling review
             questions
             Review petition date trial balances and
8/21/2023    prepare and record required journal          Mary Cilia      2.10           $2,047.50
             adjustments
             Procured the financial records of the
                                                           Melissa
8/21/2023    vendor through a search in the                               1.50            $825.00
                                                           Concitis
             designated storage
             Document vendor transactions within the       Melissa
8/21/2023                                                                 2.40           $1,320.00
             authorized bookkeeping system                 Concitis
             Meeting with R. Hoskins (RLKS);               Melissa
8/21/2023                                                                 0.20            $110.00
             intercompany review                           Concitis
             Connect vendor details with
                                                           Melissa
8/21/2023    accompanying notes in accounting                             0.50            $275.00
                                                           Concitis
             software transactions
             Corroborate vendor transactions with the
                                                           Melissa
8/21/2023    team's monthly payment tracker to ensure                     1.30            $715.00
                                                           Concitis
             accuracy and a comprehensive overview
             Correspondence with a third party vendor        Raj
8/21/2023                                                                 0.70            $682.50
             re: on-boarding documents review             Perubhatla
             Correspondence with J. Shannon (Cloud           Raj
8/21/2023                                                                 0.50            $487.50
             provider) re: agreements and forms           Perubhatla
             Review and address crypto management            Raj
8/21/2023                                                                 1.80           $1,755.00
             matters                                      Perubhatla
             Review data collection efforts status for       Raj
8/21/2023                                                                 0.50            $487.50
             the call with Sygnia                         Perubhatla
             Conference call with H. Nachmias and L.
                                                             Raj
8/21/2023    Farazis (Sygnia); weekly standup on                          0.50            $487.50
                                                          Perubhatla
             Cyber/Crypto/IT issues
             Meeting with CAO and CFO; RLKS bi-              Raj
8/21/2023                                                                 0.50            $487.50
             weekly call (leads only)                     Perubhatla
             Call with B. Bangerter (RLKS), L. Farazis
                                                             Raj
8/21/2023    (Sygnia) and others; archival and data                       0.30            $292.50
                                                          Perubhatla
             retention needs
             Call with A. Mohammad (A&M), I.
             Weinberger (Sygnia) and a third party           Raj
8/21/2023                                                                 0.20            $195.00
             vendor; discuss various technology           Perubhatla
             issues
             Review, Coordinate the data collection          Raj
8/21/2023                                                                 1.70           $1,657.50
             efforts for various projects                 Perubhatla
             Review, research and collect invoices for       Raj
8/21/2023                                                                 1.50           $1,462.50
             payment re: cloud services in use            Perubhatla

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Resolve administration matters and IT              Raj
8/21/2023                                                                    1.70           $1,657.50
             access concerns                                 Perubhatla
             Conference call with A. Mohammad, K.
             Ramanathan (A&M), I. Weinberger
                                                                Raj
8/21/2023    (Sygnia), third-party service provider and                      0.60            $585.00
                                                             Perubhatla
             others; Customer Portal analytics and
             projects
             Calculate gains and losses on de minimis         Robert
8/21/2023                                                                    2.60           $1,950.00
             assets sales                                     Hoskins
             Meeting with CFO; accounting for asset           Robert
8/21/2023                                                                    0.40            $300.00
             sales                                            Hoskins
             Meeting with M. Concitis (RLKS);                 Robert
8/21/2023                                                                    0.20            $150.00
             Intercompany review                              Hoskins
                                                              Robert
8/21/2023    Record de minimis assets sales                                  1.80           $1,350.00
                                                              Hoskins
             Review de minimis asset sales                    Robert
8/21/2023                                                                    2.30           $1,725.00
             agreements and detailed support                  Hoskins
             Review ledger holdings trial balance and         Robert
8/21/2023                                                                    1.50           $1,125.00
             update for post petition activity                Hoskins
             Review LedgerX purchase and sales                Robert
8/21/2023                                                                    1.10            $825.00
             agreement                                        Hoskins
             Review post petition intercompany                Robert
8/21/2023                                                                    0.90            $675.00
             reconciliation and investigate variances         Hoskins
             Developer access permissions and
                                                             Brandon
8/22/2023    invitations to account / application license                    2.40           $1,440.00
                                                             Bangerter
             updates
             Research on previous employee                   Brandon
8/22/2023                                                                    1.90           $1,140.00
             hardware and images, backups, etc.              Bangerter
             IT Helpdesk responses / e-mail
                                                             Brandon
8/22/2023    responses / access rights / password                            2.30           $1,380.00
                                                             Bangerter
             changes
             Audits of critical applications user            Brandon
8/22/2023                                                                    2.00           $1,200.00
             population / permission removal                 Bangerter
             Support calls with vendors to re: access        Brandon
8/22/2023                                                                    2.20           $1,320.00
             to applications and outstanding bills           Bangerter
             Cloud platform searches for contracts and       Brandon
8/22/2023                                                                    2.30           $1,380.00
             addendums                                       Bangerter
             Review and respond to emails from CIO            Daniel
8/22/2023                                                                    0.30            $165.00
             re: employee benefit payments                   Tollefsen
             Review and respond to emails from CFO            Daniel
8/22/2023                                                                    0.20            $110.00
             re: vendor invoices and payments                Tollefsen
             Review and respond to email from Debtor
                                                              Daniel
8/22/2023    Bank personnel re: transactional activity                       0.20            $110.00
                                                             Tollefsen
             on FTX operating accounts
             Review and respond to emails with E.
                                                              Daniel
8/22/2023    Taraba (A&M) re: FTX operating account                          0.20            $110.00
                                                             Tollefsen
             transactional activity
             Working session with CFO; ACH                    Daniel
8/22/2023                                                                    0.30            $165.00
             transaction issues                              Tollefsen



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Reconciliation of Debtor operating              Daniel
8/22/2023                                                                  0.90            $495.00
             accounts                                       Tollefsen
             Review of recent vendor invoices and            Daniel
8/22/2023                                                                  2.30           $1,265.00
             payments requests for US Debtors               Tollefsen
             Review and update ACH data entries of           Daniel
8/22/2023                                                                  1.10            $605.00
             invoices, payments and transfers               Tollefsen
             Master payment tracker update with              Daniel
8/22/2023                                                                  2.30           $1,265.00
             transactional data                             Tollefsen
             Vendor files update with supporting             Daniel
8/22/2023                                                                  0.80            $440.00
             invoice documentation                          Tollefsen
             Validate forwarding addresses for all           Felicia
8/22/2023                                                                  0.70            $280.00
             returned customer checks and remail           Buenrostro
                                                             Felicia
8/22/2023    WRS document filing and screening                             0.50            $200.00
                                                           Buenrostro
             Analyze and organize newly received             Felicia
8/22/2023                                                                  0.70            $280.00
             records for FTX US                            Buenrostro
             Examine and integrate the latest data into
                                                             Felicia
8/22/2023    the My Phone.com business voicemail                           0.80            $320.00
                                                           Buenrostro
             log file
             Manage and organize all materials
                                                             Felicia
8/22/2023    received on behalf of Alameda Research                        0.70            $280.00
                                                           Buenrostro
             LLC
             Gather various debtor entities'
                                                             Felicia
8/22/2023    employment agreement materials for                            2.50           $1,000.00
                                                           Buenrostro
             review
             Review and file Earth Class Virtual
                                                             Felicia
8/22/2023    Mailbox emails in their respective                            1.30            $520.00
                                                           Buenrostro
             repository folders
             Track and respond to FTX Inquiry inbox
                                                             Felicia
8/22/2023    requests and log them in the                                  1.70            $680.00
                                                           Buenrostro
             corresponding spreadsheet
             Review and respond to emails with CIO
             and Debtor entity personnel re: follow-up      Kathryn
8/22/2023                                                                  0.60            $585.00
             on Debtor entity’s open investigation into     Schultea
             crypto-related matters
             Review and respond to emails with CIO          Kathryn
8/22/2023                                                                  0.70            $682.50
             re: employee matters                           Schultea
                                                            Kathryn
8/22/2023    Customer Portal dashboard review                              0.20            $195.00
                                                            Schultea
             Correspondence with C. Tong (EY) re:           Kathryn
8/22/2023                                                                  0.40            $390.00
             review tax meeting agenda                      Schultea
             Correspondence with D. Hariton (S&C)
                                                            Kathryn
8/22/2023    re: additional documentary and legal                          0.30            $292.50
                                                            Schultea
             support requested by DOJ / IRS
             Meeting with CFO, K. Lowery, T. Shea,
                                                            Kathryn
8/22/2023    C. Tong (EY) and others; EY tax update                        0.30            $292.50
                                                            Schultea
             with key stakeholders
             Research and collect Blockfolio                Leticia
8/22/2023                                                                  2.30           $1,265.00
             employment agreements for review               Barrios



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                            Hrs/Mins   Corresponding
Enter Date   Description                                     Professional
                                                                            Worked        Charge
             Load employment agreements from
                                                               Leticia
8/22/2023    several debtor entities in the appropriate                       1.20            $660.00
                                                               Barrios
             database
                                                               Leticia
8/22/2023    Reconcile daily payroll logs                                     1.60            $880.00
                                                               Barrios
                                                               Leticia
8/22/2023    Maintain a record of payroll backup files                        2.20           $1,210.00
                                                               Barrios
             Review and respond to emails re:
             employee information requests in                  Leticia
8/22/2023                                                                     1.70            $935.00
             domestic & international HR Teams                 Barrios
             inboxes
             Review and respond to emails re: identity         Leticia
8/22/2023                                                                     1.80            $990.00
             verification requests                             Barrios
             Communicating with various domestic
             and international offices to approve
8/22/2023                                                     Mary Cilia      1.40           $1,365.00
             spending while responding to operational
             and financial considerations
             Conference call with A&M, S&C, CEO
8/22/2023    and company personnel; foreign                   Mary Cilia      0.70            $682.50
             subsidiary status
             Conference call with A&M, S&C and
8/22/2023    foreign bank; activity questions and return      Mary Cilia      0.80            $780.00
             of funds
             Meeting with CAO, K. Lowery, T. Shea,
8/22/2023    C. Tong (EY) and others; EY tax update           Mary Cilia      0.30            $292.50
             with key stakeholders
             Conference call with D. Tollefsen (RLKS);
8/22/2023                                                     Mary Cilia      0.30            $292.50
             ACH transaction issues
             Coordinate various treasury activities and
8/22/2023                                                     Mary Cilia      2.20           $2,145.00
             monitor daily communications
             Daily preparation of accounting, financial
8/22/2023                                                     Mary Cilia      2.40           $2,340.00
             reporting, and communications duties
             Review docket report and document and
8/22/2023                                                     Mary Cilia      0.60            $585.00
             account for related filings
             Prepare monthly bank reconciliations of
8/22/2023                                                     Mary Cilia      2.80           $2,730.00
             various domestic and foreign accounts
             Relocate post-petition trial balance sheets
                                                               Melissa
8/22/2023    to the Intercompany balance sheet to                             1.30            $715.00
                                                               Concitis
             facilitate easier comparison
             Ensure coherence by cross-referencing
                                                               Melissa
8/22/2023    post-petition Intercompany data with the                         2.70           $1,485.00
                                                               Concitis
             accounting software
             Conduct a reconciliation process for post-        Melissa
8/22/2023                                                                     2.40           $1,320.00
             petition intercompany files                       Concitis
             Insert pre-petition trial balance sheets
                                                               Melissa
8/22/2023    onto the Intercompany balance sheet to                           1.50            $825.00
                                                               Concitis
             streamline comparison
             Execute a comprehensive verification
                                                               Melissa
8/22/2023    process by comparing pre-petition                                2.80           $1,540.00
                                                               Concitis
             Intercompany Statements/Schedules


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             reporting data to the data recorded in the
             accounting software
             Review and gather service provider
                                                               Raj
8/22/2023    application documents for various                              1.50           $1,462.50
                                                            Perubhatla
             onboarding needs
             Review, research and collect invoices for         Raj
8/22/2023                                                                   2.20           $2,145.00
             payment re: cloud services in use              Perubhatla
             Review and address crypto management              Raj
8/22/2023                                                                   2.70           $2,632.50
             matters                                        Perubhatla
             Correspondence with CAO and A.                    Raj
8/22/2023                                                                   0.50            $487.50
             Mohammad (A&M) re: staffing matters            Perubhatla
             Correspondence with third-party service
                                                               Raj
8/22/2023    provider re: outstanding invoices and                          0.30            $292.50
                                                            Perubhatla
             payments
             Correspondence with CFO; outstanding              Raj
8/22/2023                                                                   0.30            $292.50
             invoices and payments                          Perubhatla
             Correspondence with H. Nachmias
                                                               Raj
8/22/2023    (Sygnia) re: plan and coordinate data                          0.20            $195.00
                                                            Perubhatla
             collection projects and meetings
                                                               Raj
8/22/2023    Review PMO deck from D. Slay (A&M)                             0.50            $487.50
                                                            Perubhatla
             Call with K. Ramanathan (A&M); IT /               Raj
8/22/2023                                                                   0.30            $292.50
             Crypto updates                                 Perubhatla
             Review and address IT access and                  Raj
8/22/2023                                                                   1.70           $1,657.50
             administrative matters                         Perubhatla
             Calculate gains and losses on de minimis        Robert
8/22/2023                                                                   2.20           $1,650.00
             assets sales                                    Hoskins
             Correspondence with A&M cash team re:           Robert
8/22/2023                                                                   0.10             $75.00
             Cash transactions                               Hoskins
             Meeting with A&M; Petition date trial           Robert
8/22/2023                                                                   0.50            $375.00
             balance for FTX Services Solutions              Hoskins
             Reclass cash entries associated with            Robert
8/22/2023                                                                   0.40            $300.00
             LedgerX sale                                    Hoskins
                                                             Robert
8/22/2023    Record de minimis assets sales                                 1.30            $975.00
                                                             Hoskins
             Review de minimis asset sales                   Robert
8/22/2023                                                                   2.80           $2,100.00
             agreements and detailed support                 Hoskins
             Review email correspondence with FTX
                                                             Robert
8/22/2023    Debtor personnel related to FTX Services                       0.70            $525.00
                                                             Hoskins
             Solutions
             Review FTX Services Solutions                   Robert
8/22/2023                                                                   0.40            $300.00
             assumptions sheet                               Hoskins
             Review post petition payment tracker
                                                             Robert
8/22/2023    against FTX Services Solutions account                         0.80            $600.00
                                                             Hoskins
             balances
             Meeting with L. Farazis (Sygnia);
                                                            Brandon
8/23/2023    Mimecast issue troubleshooting and                             1.50            $900.00
                                                            Bangerter
             resolution
             IT Helpdesk responses / access rights /        Brandon
8/23/2023                                                                   2.10           $1,260.00
             password changes / account updates             Bangerter


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Setting up the configuration for exporting    Brandon
8/23/2023                                                                  1.70           $1,020.00
             critical data from applications               Bangerter
             Meeting with CIO; IT projects, costs and      Brandon
8/23/2023                                                                  1.50            $900.00
             issues                                        Bangerter
             Vendor support case updates for
                                                           Brandon
8/23/2023    outstanding expenses and contract                             2.30           $1,380.00
                                                           Bangerter
             updates
             Research on retrievals and updates to list    Brandon
8/23/2023                                                                  1.50            $900.00
             of outstanding hardware in each tenant        Bangerter
             Access to critical applications and           Brandon
8/23/2023                                                                  2.30           $1,380.00
             configuration updates / testing               Bangerter
             Review and respond to Foreign Debtor
             personnel (Alameda Research KK) re:            Daniel
8/23/2023                                                                  0.60            $330.00
             payment tracker sheet with payment            Tollefsen
             requests and supporting documentation
             Review and respond to emails with
             Foreign Debtor personnel (Zubr
                                                            Daniel
8/23/2023    Exchange Ltd) re: payment tracker sheet                       0.40            $220.00
                                                           Tollefsen
             with payment requests and supporting
             documentation
             Review and respond to emails with E.
                                                            Daniel
8/23/2023    Taraba (A&M) re: FTX operating account                        0.20            $110.00
                                                           Tollefsen
             transactional activity
             Reconciliation of Debtor operating              Daniel
8/23/2023                                                                  0.80            $440.00
             accounts                                       Tollefsen
             Review of recent vendor invoices and            Daniel
8/23/2023                                                                  1.60            $880.00
             payments requests for US Debtors               Tollefsen
             Master payment tracker update with              Daniel
8/23/2023                                                                  2.80           $1,540.00
             transactional data                             Tollefsen
             Review and update ACH data entries of           Daniel
8/23/2023                                                                  1.30            $715.00
             invoices, payments and transfers               Tollefsen
             Review and respond to emails from CFO           Daniel
8/23/2023                                                                  0.20            $110.00
             re: vendor invoices and payments               Tollefsen
             Vendor files update with supporting             Daniel
8/23/2023                                                                  1.20            $660.00
             invoice documentation                          Tollefsen
             Identify the forwarding addresses for all       Felicia
8/23/2023                                                                  0.80            $320.00
             returned customer checks and remail           Buenrostro
             Evaluate and arrange incoming files for         Felicia
8/23/2023                                                                  0.70            $280.00
             FTX US                                        Buenrostro
             Analyze and classify incoming paperwork         Felicia
8/23/2023                                                                  0.50            $200.00
             for West Realm Shires Inc.                    Buenrostro
             Monitor and categorize incoming
                                                             Felicia
8/23/2023    documentation for Alameda Research                            0.30            $120.00
                                                           Buenrostro
             LLC
             Review and verify that the My Phone.com
                                                             Felicia
8/23/2023    business voicemail log spreadsheet is                         1.00            $400.00
                                                           Buenrostro
             updated
             Collect and manage Alameda
                                                             Felicia
8/23/2023    employment agreements in the                                  2.80           $1,120.00
                                                           Buenrostro
             appropriate database


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Sort and classify emails from the Earth
                                                             Felicia
8/23/2023    Class Virtual Mailbox to their respective                     0.70           $280.00
                                                           Buenrostro
             repository locations
             Respond to FTX Inquiry inbox
                                                             Felicia
8/23/2023    communications and record them in the                         2.00           $800.00
                                                           Buenrostro
             appropriate spreadsheet
             Review and respond to emails with CFO          Kathryn
8/23/2023                                                                  0.40           $390.00
             and CIO re: research vendor invoices           Schultea
             Correspondence with CFO and a FTX
                                                            Kathryn
8/23/2023    employee re: review FTX Alameda                               0.60           $585.00
                                                            Schultea
             Research KK payroll request
             Correspondence with Debtor Bank
                                                            Kathryn
8/23/2023    personnel re: WRS analysis statement                          0.70           $682.50
                                                            Schultea
             review
             Correspondence with D. Tollefsen
                                                            Kathryn
8/23/2023    (RLKS) and a FTX employee re: review                          0.50           $487.50
                                                            Schultea
             updated Zubr payment tracking report
             Correspondence with T, Shea (EY) and
             D. Hariton (S&C) re: follow-up on              Kathryn
8/23/2023                                                                  0.30           $292.50
             documentation and legal support request        Schultea
             from DOJ / IRS
             Correspondence with D. Tollefsen
                                                            Kathryn
8/23/2023    (RLKS) and a FTX employee re: FTX EU                          0.40           $390.00
                                                            Schultea
             August pay slips and invoices
             Correspondence with HR Lead and K.
                                                            Kathryn
8/23/2023    Wrenn (EY) re: review 4669 letter and                         0.50           $487.50
                                                            Schultea
             forms for solicitation
             Correspondence with K. Wrenn (EY) re:
                                                            Kathryn
8/23/2023    follow-up on FTX promotors IDR                                0.30           $292.50
                                                            Schultea
             response
                                                            Kathryn
8/23/2023    Customer Portal dashboard review                              0.20           $195.00
                                                            Schultea
             Correspondence with K. Wrenn (EY) re:          Kathryn
8/23/2023                                                                  0.40           $390.00
             locate former employee W-4                     Schultea
             Correspondence with N. Simoneaux
                                                            Kathryn
8/23/2023    (A&M) re: review expense reimbursement                        0.50           $487.50
                                                            Schultea
             request
             Correspondence with K. Wrenn (EY) and
                                                            Kathryn
8/23/2023    a Debtor entity employee re: review                           0.80           $780.00
                                                            Schultea
             detailed payroll reports
             Correspondence with L. Callerio (A&M)          Kathryn
8/23/2023                                                                  0.40           $390.00
             re: review Embed weekly status report          Schultea
             Correspondence with various EY advisors
                                                            Kathryn
8/23/2023    re: review FTX IDR August draft                               0.80           $780.00
                                                            Schultea
             responses
             Correspondence with CIO re: device and
                                                            Kathryn
8/23/2023    data collection from Foreign Debtor's                         0.50           $487.50
                                                            Schultea
             storage unit
             Correspondence with CFO and Debtor
                                                            Kathryn
8/23/2023    Bank personnel re: signatory change                           0.30           $292.50
                                                            Schultea
             request

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Review and respond to emails with CFO              Kathryn
8/23/2023                                                                      0.60            $585.00
             re: review weekly payment package                  Schultea
             Meeting with J. DeVincenzo, K. Wrenn, K.
                                                                Kathryn
8/23/2023    Lowery, V. Short (EY) and D. Ornelas                              0.50            $487.50
                                                                Schultea
             (FTX); payroll weekly touchpoint
             Received & validated payment requests              Kathryn
8/23/2023                                                                      0.30            $292.50
             for employee related payments                      Schultea
                                                                Kathryn
8/23/2023    Input wire transactions for approval                              0.80            $780.00
                                                                Schultea
             Deliver preliminary state agency
                                                                Leticia
8/23/2023    communications to EY for processing and                           1.10            $605.00
                                                                Barrios
             review
             Research Blockfolio employment                     Leticia
8/23/2023                                                                      2.00           $1,100.00
             agreements                                         Barrios
             Load employment agreements in the                  Leticia
8/23/2023                                                                      1.30            $715.00
             designated database for review                     Barrios
             Update unclaimed property tracker with             Leticia
8/23/2023                                                                      1.80            $990.00
             results found on state agency websites             Barrios
             Review and respond to HR Teams emails
                                                                Leticia
8/23/2023    re: information requests from local and                           1.20            $660.00
                                                                Barrios
             foreign personnel
             Request list of missing employment                 Leticia
8/23/2023                                                                      0.80            $440.00
             agreements                                         Barrios
             Review and respond to emails re:                   Leticia
8/23/2023                                                                      1.50            $825.00
             customer identity verification                     Barrios
             Review and respond to emails re:
                                                                Leticia
8/23/2023    confirmation of financial transaction                             1.10            $605.00
                                                                Barrios
             information
             Correspondence with domestic and
8/23/2023    international departments for budgetary           Mary Cilia      2.30           $2,242.50
             and operational approvals
             Conference call with R. Hoskins (RLKS);
8/23/2023                                                      Mary Cilia      0.90            $877.50
             various financial statement issues
             Conference call with R. Esposito (A&M);
8/23/2023                                                      Mary Cilia      0.50            $487.50
             amended statements and schedules
             Coordinate various treasury activities and
8/23/2023                                                      Mary Cilia      2.60           $2,535.00
             monitor daily communications
             Maintain daily accounting, financial
8/23/2023                                                      Mary Cilia      1.90           $1,852.50
             reporting, and communications activities
             Review docket report and document and
8/23/2023                                                      Mary Cilia      0.70            $682.50
             account for related filings
             Prepare monthly bank reconciliations of
8/23/2023                                                      Mary Cilia      1.80           $1,755.00
             various domestic and foreign accounts
             Review petition date trial balances and
8/23/2023    prepare and record required journal               Mary Cilia      2.10           $2,047.50
             adjustments
             Detected the vendor's financial
                                                                Melissa
8/23/2023    documentation by performing a search in                           2.20           $1,210.00
                                                                Concitis
             the designated repository



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Capture vendor transactions within the          Melissa
8/23/2023                                                                   2.80           $1,540.00
             selected accounting system                      Concitis
             Include additional notations in accounting      Melissa
8/23/2023                                                                   0.50            $275.00
             software transactions related to vendors        Concitis
             Review and address crypto management              Raj
8/23/2023                                                                   2.70           $2,632.50
             matters                                        Perubhatla
             Review development activities and                 Raj
8/23/2023                                                                   2.70           $2,632.50
             respond as necessary                           Perubhatla
             Call with J. Hughes (Kroll), K.
             Ramanathan, R. Esposito, A. Mohammed              Raj
8/23/2023                                                                   0.20            $195.00
             (A&M) and others; FTX Customer portal          Perubhatla
             sync with Kroll
             Review remote access security changes             Raj
8/23/2023                                                                   1.20           $1,170.00
             for systems access                             Perubhatla
             Correspondence with CAO and CFO; re:              Raj
8/23/2023                                                                   0.50            $487.50
             invoices and payments                          Perubhatla
             Conference call with B. Bangerter                 Raj
8/23/2023                                                                   1.50           $1,462.50
             (RLKS); IT projects, costs and issues          Perubhatla
             Conference call with D. Jones, S.
                                                               Raj
8/23/2023    Marschall (Custodians); onboarding                             0.50            $487.50
                                                            Perubhatla
             process for entities
             Correspondence with C. Arnett and K.
                                                               Raj
8/23/2023    Montague (A&M) re: terminating cloud                           0.20            $195.00
                                                            Perubhatla
             service agreement and associated claim
             Correspondence with J. Shannon (Cloud
                                                               Raj
8/23/2023    provider) re: terminating services and the                     0.20            $195.00
                                                            Perubhatla
             associated forms
             Correspondence with J. Wenrikoff (Cloud           Raj
8/23/2023                                                                   0.20            $195.00
             provider) re: orders and agreements            Perubhatla
             Correspondence with a third party vendor          Raj
8/23/2023                                                                   0.20            $195.00
             re: onboarding document requirements           Perubhatla
             Correspondence with CAO, CFO, and D.
                                                               Raj
8/23/2023    Walsh (Nardello) re: overseas device                           0.30            $292.50
                                                            Perubhatla
             collection
             Adjust Zubr Exchange petition date TB for       Robert
8/23/2023                                                                   0.40            $300.00
             intercompany findings                           Hoskins
             Correspondence with A&M cash team re:           Robert
8/23/2023                                                                   0.20            $150.00
             Cash transactions                               Hoskins
             Formulate divestment accounting entries         Robert
8/23/2023                                                                   2.30           $1,725.00
             and support for LedgerX sale                    Hoskins
             Investigate variances identified within the     Robert
8/23/2023                                                                   1.50           $1,125.00
             pre petition intercompany reconciliation        Hoskins
             Meeting with CFO; various financial             Robert
8/23/2023                                                                   0.90            $675.00
             statement issues                                Hoskins
             Record adjustment for pre petition              Robert
8/23/2023                                                                   0.40            $300.00
             intercompany balances with variances            Hoskins
             Review schedule AB 77 intercompany              Robert
8/23/2023                                                                   1.60           $1,200.00
             variance analysis                               Hoskins




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                              Time Detail Activity by Professional
                                           Exhibit A
                                                                       Hrs/Mins   Corresponding
Enter Date   Description                                Professional
                                                                       Worked        Charge
             Review schedule F and AB 77
                                                          Robert
8/23/2023    intercompany tie out to accounting                          1.90           $1,425.00
                                                          Hoskins
             system balances
             Review schedule F intercompany tie out       Robert
8/23/2023                                                                1.30            $975.00
             variance analysis                            Hoskins
             Run detailed transaction reports for
                                                          Robert
8/23/2023    various debtors from accounting system                      0.80            $600.00
                                                          Hoskins
             and provide to A&M
             Update FX Rates in DOTCOM entities           Robert
8/23/2023                                                                1.40           $1,050.00
             accounting files                             Hoskins
             Critical application access updates for     Brandon
8/24/2023                                                                2.30           $1,380.00
             developers                                  Bangerter
             IT Helpdesk responses / access rights /     Brandon
8/24/2023                                                                1.70           $1,020.00
             password changes / account updates          Bangerter
             Research on outstanding hardware and        Brandon
8/24/2023                                                                2.00           $1,200.00
             retrievals of each                          Bangerter
             Cloud platform searches for application     Brandon
8/24/2023                                                                2.60           $1,560.00
             invoices and contracts                      Bangerter
             Research on software vendor contracts       Brandon
8/24/2023                                                                2.40           $1,440.00
             and invoices for the same                   Bangerter
             Vendor support case updates for
                                                         Brandon
8/24/2023    outstanding expenses and contract                           2.20           $1,320.00
                                                         Bangerter
             updates
             Review and respond to emails with
             Foreign Debtor personnel (Zubr
                                                          Daniel
8/24/2023    Exchange Ltd) re: payment tracker sheet                     0.20            $110.00
                                                         Tollefsen
             with payment requests and supporting
             documentation
             Review emails with foreign subsidiary
                                                          Daniel
8/24/2023    personnel re: payment requests and                          0.30            $165.00
                                                         Tollefsen
             supporting documentation
             Review emails from S. Witherspoon            Daniel
8/24/2023                                                                0.40            $220.00
             (A&M) re: Eighth IFU - July 2023            Tollefsen
             Review and respond to emails from E.         Daniel
8/24/2023                                                                0.20            $110.00
             Taraba (A&M) re: transactional activity     Tollefsen
             Email with Foreign Debtor personnel
                                                          Daniel
8/24/2023    (FTX Japan Group) re: payment requests                      0.20            $110.00
                                                         Tollefsen
             and supporting documentation
             Review of recent vendor invoices and          Daniel
8/24/2023                                                                1.80            $990.00
             payments requests for US Debtors             Tollefsen
             Reconciliation of Debtor operating            Daniel
8/24/2023                                                                0.80            $440.00
             accounts                                     Tollefsen
             Master payment tracker update with            Daniel
8/24/2023                                                                2.30           $1,265.00
             transactional data                           Tollefsen
             Vendor files update with supporting           Daniel
8/24/2023                                                                0.80            $440.00
             invoice documentation                        Tollefsen
             Review and update ACH data entries of         Daniel
8/24/2023                                                                0.60            $330.00
             invoices, payments and transfers             Tollefsen
             Locate forwarding addresses and remail        Felicia
8/24/2023                                                                0.70            $280.00
             all returned customer checks                Buenrostro


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Identify and collect employment                Felicia
8/24/2023                                                                 3.50           $1,400.00
             agreements for various debtor entities       Buenrostro
             Review and sort incoming documents for         Felicia
8/24/2023                                                                 0.70            $280.00
             FTX US                                       Buenrostro
             Regularly review and update the My
             Phone.com corporate call log                   Felicia
8/24/2023                                                                 0.50            $200.00
             spreadsheet with latest information from     Buenrostro
             My Phone.com inbox
             Examine and retain a log of all incoming
                                                            Felicia
8/24/2023    documents and materials for Alameda                          0.80            $320.00
                                                          Buenrostro
             Research LLC
             Maintain all document filings and
                                                            Felicia
8/24/2023    screenings on behalf of West Realm                           0.70            $280.00
                                                          Buenrostro
             Shires Inc.
             Sort and file Earth Class Virtual Mailbox
                                                            Felicia
8/24/2023    emails into their respective repository                      0.80            $320.00
                                                          Buenrostro
             folders
             Upload inquiries received from the FTX         Felicia
8/24/2023                                                                 1.00            $400.00
             Inquiry inbox to the assigned spreadsheet    Buenrostro
             Correspondence with CFO and a HR
                                                           Kathryn
8/24/2023    vendor re: August 2023 contractor                            0.40            $390.00
                                                           Schultea
             summary
             Correspondence with A. Courroy (S&C)          Kathryn
8/24/2023                                                                 0.50            $487.50
             and a vendor re: revised invoice              Schultea
             Correspondence with an FTX employee
                                                           Kathryn
8/24/2023    re: FTX TR employees August payroll                          0.80            $780.00
                                                           Schultea
             data review
             Correspondence with CFO and T. Shea           Kathryn
8/24/2023                                                                 0.70            $682.50
             (EY) re: IRS admin claims withdrawn           Schultea
             Correspondence with A. Kranzley (S&C)         Kathryn
8/24/2023                                                                 0.50            $487.50
             re: filing subcontractor declaration          Schultea
             Correspondence with A. Kranzley (S&C)         Kathryn
8/24/2023                                                                 0.50            $487.50
             re: data mining                               Schultea
             Correspondence with CFO and Debtor            Kathryn
8/24/2023                                                                 0.30            $292.50
             Bank personnel re: change of signatories      Schultea
             Correspondence with Foreign Debtor            Kathryn
8/24/2023                                                                 0.60            $585.00
             personnel re: review payroll request          Schultea
             Correspondence with CFO and E.
                                                           Kathryn
8/24/2023    Simpson (S&C) re: corporate secretary                        0.40            $390.00
                                                           Schultea
             software inquiry
             Correspondence with K. Wrenn (EY) and
                                                           Kathryn
8/24/2023    a Debtor entity employee re: research                        0.50            $487.50
                                                           Schultea
             Debtor entity payroll reports
             Correspondence with CFO and H. Trent          Kathryn
8/24/2023                                                                 0.30            $292.50
             (A&M) re: employee reimbursements             Schultea
             Correspondence with CFO and a Debtor
                                                           Kathryn
8/24/2023    entity employee re: closing Debtor bank                      0.40            $390.00
                                                           Schultea
             account and processing refunds
             Correspondence with L. Callerio (A&M)         Kathryn
8/24/2023                                                                 0.60            $585.00
             re: follow-up on Embed matters                Schultea


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
                                                            Kathryn
8/24/2023    Customer Portal dashboard review                              0.20            $195.00
                                                            Schultea
             Correspondence with D. Lewandowski
                                                            Kathryn
8/24/2023    (A&M) and T. Shea (EY) re: customer                           0.50            $487.50
                                                            Schultea
             entitlement schedules
             Correspondence with K. Wrenn (EY) and
                                                            Kathryn
8/24/2023    HR Lead re: updated 2022 year-end file                        0.80            $780.00
                                                            Schultea
             and payroll registers
             Correspondence with C. Tong (EY) re:           Kathryn
8/24/2023                                                                  0.40            $390.00
             tax meeting agenda                             Schultea
             Deliver preliminary state agency
                                                            Leticia
8/24/2023    communications to EY for processing and                       1.70            $935.00
                                                            Barrios
             review
             Conduct an inquiry in eBrevia for former       Leticia
8/24/2023                                                                  1.80            $990.00
             employee contact information                   Barrios
             Capture payment requests for August            Leticia
8/24/2023                                                                  2.50           $1,375.00
             semi-monthly payroll processing                Barrios
             Review and respond to email requests re:       Leticia
8/24/2023                                                                  1.80            $990.00
             delivery of encrypted 1099 forms               Barrios
                                                            Leticia
8/24/2023    Archive payroll backup history                                1.50            $825.00
                                                            Barrios
                                                            Leticia
8/24/2023    Merge processed payroll logs                                  1.50            $825.00
                                                            Barrios
             Complete a variety of treasury activities
8/24/2023                                                  Mary Cilia      2.20           $2,145.00
             and monitor daily correspondence
             Correspondence with domestic and
8/24/2023    international departments for budgetary       Mary Cilia      2.30           $2,242.50
             and operational approvals
             Conducting analysis on and reviewing the
8/24/2023    debtors' amended statements and               Mary Cilia      1.80           $1,755.00
             schedules
             Conference call with R. Hoskins (RLKS);
8/24/2023                                                  Mary Cilia      1.00            $975.00
             various financial accounting issues
             Daily preparation of accounting, financial
8/24/2023                                                  Mary Cilia      2.70           $2,632.50
             reporting, and communications duties
             Conference call with EY; latest tax
8/24/2023                                                  Mary Cilia      0.20            $195.00
             updates and information
             Prepare monthly bank reconciliations of
8/24/2023                                                  Mary Cilia      1.40           $1,365.00
             various domestic and foreign accounts
             Meeting with R. Hoskins (RLKS); cash           Melissa
8/24/2023                                                                  0.60            $330.00
             receipt tracking                               Concitis
             Successfully retrieved the financial
                                                            Melissa
8/24/2023    documentation of the vendor through a                         2.70           $1,485.00
                                                            Concitis
             repository search
             Document vendor transactions in the            Melissa
8/24/2023                                                                  3.80           $2,090.00
             preferred financial system                     Concitis
             Validate vendor transactions' precision by
                                                            Melissa
8/24/2023    comparing them with the monthly                               2.60           $1,430.00
                                                            Concitis
             payment tracker from the team



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Provide contextual information for
                                                              Melissa
8/24/2023    accounting software transactions with                           0.60            $330.00
                                                              Concitis
             vendors
             Correspondence with E. Taraba (A&M)                Raj
8/24/2023                                                                    0.20            $195.00
             re: cloud service invoices and payments         Perubhatla
             Review correspondence from CFO; re:                Raj
8/24/2023                                                                    0.20            $195.00
             onboarding documents                            Perubhatla
             Review and address crypto management               Raj
8/24/2023                                                                    2.50           $2,437.50
             matters                                         Perubhatla
             Correspondence with B. Tenney (A&M)
                                                                Raj
8/24/2023    re: access to data with cloud service                           0.50            $487.50
                                                             Perubhatla
             provider
             Review and gather documents and apply              Raj
8/24/2023                                                                    1.70           $1,657.50
             for Custodian account onboarding needs          Perubhatla
             Call with A. Mohammad (A&M); weekly                Raj
8/24/2023                                                                    0.50            $487.50
             tech touchpoint                                 Perubhatla
             Correspondence with A. Mohammad                    Raj
8/24/2023                                                                    0.50            $487.50
             (A&M) re: cloud service usage analysis          Perubhatla
             Review development activities and                  Raj
8/24/2023                                                                    1.70           $1,657.50
             respond as necessary                            Perubhatla
             Review, Coordinate the data collection             Raj
8/24/2023                                                                    0.70            $682.50
             efforts for various projects                    Perubhatla
             Resolve IT administration and access               Raj
8/24/2023                                                                    1.20           $1,170.00
             issues                                          Perubhatla
             Meeting with CFO; various financial              Robert
8/24/2023                                                                    1.00            $750.00
             statement issues                                 Hoskins
             Meeting with EY Statutory Reporting and
                                                              Robert
8/24/2023    FTX Europe Personnel; Europe                                    0.60            $450.00
                                                              Hoskins
             bookkeeping status
             Meeting with M. Concitis (RLKS); Cash            Robert
8/24/2023                                                                    0.60            $450.00
             receipt tracking                                 Hoskins
                                                              Robert
8/24/2023    Prepare post petition receipt tracker                           1.40           $1,050.00
                                                              Hoskins
                                                              Robert
8/24/2023    Record de minimis assets sales                                  2.80           $2,100.00
                                                              Hoskins
                                                              Robert
8/24/2023    Record post petition asset sales                                2.30           $1,725.00
                                                              Hoskins
             Review post petition cash receipt detail         Robert
8/24/2023                                                                    1.40           $1,050.00
             for accounting treatment                         Hoskins
             Review status of foreign entity post             Robert
8/24/2023                                                                    1.20            $900.00
             petition financials                              Hoskins
             Update foreign entity financial statement        Robert
8/24/2023                                                                    1.40           $1,050.00
             tracker and review newly sent financials         Hoskins
             Meeting with Debtor personnel;                  Brandon
8/25/2023                                                                    0.50            $300.00
             application access and exports                  Bangerter
             Conference call with CIO; IT costs, data        Brandon
8/25/2023                                                                    0.40            $240.00
             collection efforts and status updates           Bangerter
             IT Helpdesk responses / e-mail
                                                             Brandon
8/25/2023    responses / access rights / password                            2.30           $1,380.00
                                                             Bangerter
             changes


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Access to critical applications and          Brandon
8/25/2023                                                                 2.80           $1,680.00
             configuration / troubleshooting              Bangerter
             Contacting software vendors for
                                                          Brandon
8/25/2023    outstanding invoices and working on pre-                     2.20           $1,320.00
                                                          Bangerter
             post petition amounts
             Research on software vendor contracts        Brandon
8/25/2023                                                                 2.60           $1,560.00
             and invoices for the same                    Bangerter
             Application setup and configuration,
                                                          Brandon
8/25/2023    testing and troubleshooting and rights                       2.80           $1,680.00
                                                          Bangerter
             assignments
             Review and respond to Foreign Debtor
             personnel (Alameda Research KK) re:           Daniel
8/25/2023                                                                 0.20            $110.00
             payment tracker sheet with payment           Tollefsen
             requests and supporting documentation
             Review and respond to emails with
             Foreign Debtor and Non-Debtor
                                                           Daniel
8/25/2023    personnel re: payment tracker sheet with                     0.40            $220.00
                                                          Tollefsen
             payment requests and supporting
             documentation
             Review emails from Foreign Debtor
                                                           Daniel
8/25/2023    personnel (Alameda Research KK) re:                          0.20            $110.00
                                                          Tollefsen
             financial statements
             Review and respond to emails from CIO         Daniel
8/25/2023                                                                 0.20            $110.00
             re: employee benefit payments                Tollefsen
             Review and respond to emails from CFO
                                                           Daniel
8/25/2023    re: FTX Japan Services KK payment                            0.70            $385.00
                                                          Tollefsen
             activity YTD
             Reconciliation of Debtor operating            Daniel
8/25/2023                                                                 0.70            $385.00
             accounts                                     Tollefsen
             Review and update ACH data entries of         Daniel
8/25/2023                                                                 0.40            $220.00
             invoices, payments and transfers             Tollefsen
             Review of recent vendor invoices and          Daniel
8/25/2023                                                                 1.30            $715.00
             payments requests for US Debtors             Tollefsen
             Master payment tracker update with            Daniel
8/25/2023                                                                 2.80           $1,540.00
             transactional data                           Tollefsen
             Vendor files update with supporting           Daniel
8/25/2023                                                                 0.70            $385.00
             invoice documentation                        Tollefsen
             Meeting with CAO, L. Barrios (RLKS), K.
                                                            Felicia
8/25/2023    Wrenn, K. Lowery, J. DeVincenzo; weekly                      0.40            $160.00
                                                          Buenrostro
             employment tax update on audit progress
             Obtain forwarding address, log, and            Felicia
8/25/2023                                                                 1.00            $400.00
             remail all returned customer checks          Buenrostro
             Receive and categorize documents sent          Felicia
8/25/2023                                                                 0.50            $200.00
             to Alameda Research LLC                      Buenrostro
             Record queries from the FTX Inquiry            Felicia
8/25/2023                                                                 1.70            $680.00
             inbox in the designated database             Buenrostro
             Sort and review Earth Class Virtual
                                                            Felicia
8/25/2023    Mailbox emails and deposit them in the                       0.80            $320.00
                                                          Buenrostro
             appropriate repository folders
             Perform document filing and screening for      Felicia
8/25/2023                                                                 0.50            $200.00
             West Realm Shires Inc.                       Buenrostro

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Locate and gather Alameda employment                Felicia
8/25/2023                                                                      3.30           $1,320.00
             agreements for further analysis                   Buenrostro
             Analyze the My Phone.com business                   Felicia
8/25/2023                                                                      0.50            $200.00
             voicemail log file and update accordingly         Buenrostro
             Review and process recent incoming                  Felicia
8/25/2023                                                                      0.30            $120.00
             documents for FTX US                              Buenrostro
             Review and respond to emails with B.
                                                                Kathryn
8/25/2023    Harsch (S&C) re: Houston mailing                                  0.30            $292.50
                                                                Schultea
             address inquiry
             Review and respond to emails with B.
                                                                Kathryn
8/25/2023    Harsch (S&C) re: document                                         0.40            $390.00
                                                                Schultea
             authentication request
             Review and respond to emails with CIO              Kathryn
8/25/2023                                                                      0.80            $780.00
             re: vendor's cybersecurity breach                  Schultea
             Review and respond to emails with CFO              Kathryn
8/25/2023                                                                      0.50            $487.50
             and CIO re: portal access restoration              Schultea
             Review and respond to emails with CFO              Kathryn
8/25/2023                                                                      0.60            $585.00
             re: Foreign Debtor staffing matters                Schultea
             Review and respond to emails with a FTX
                                                                Kathryn
8/25/2023    employee re: employee onboarding                                  0.30            $292.50
                                                                Schultea
             matters
             Correspondence with CFO and various
                                                                Kathryn
8/25/2023    A&M and S&C advisors re: dissolutions                             0.60            $585.00
                                                                Schultea
             and wind-down matters
             Correspondence with C. Arnett (A&M) re:            Kathryn
8/25/2023                                                                      0.50            $487.50
             post-petition agreements                           Schultea
             Correspondence with CFO and E.
                                                                Kathryn
8/25/2023    Simpson (S&C) re: follow-up on corporate                          0.40            $390.00
                                                                Schultea
             secretary software inquiry
             Correspondence with L. Barrios, F.
             Buenrostro (RLKS) and K. Wrenn (EY) re:            Kathryn
8/25/2023                                                                      0.80            $780.00
             employment and contractor agreement                Schultea
             review
                                                                Kathryn
8/25/2023    Customer Portal dashboard review                                  0.20            $195.00
                                                                Schultea
             Correspondence with K. Wrenn (EY) and
                                                                Kathryn
8/25/2023    a Debtor entity employee re: vendor                               0.50            $487.50
                                                                Schultea
             payment transaction summary review
             Meeting with L. Barrios, F. Buenrostro
             (RLKS), K. Wrenn, K. Lowery, J.                    Kathryn
8/25/2023                                                                      0.40            $390.00
             DeVincenzo, V. Short (EY); weekly                  Schultea
             employment tax update
             Received & validated payment requests              Kathryn
8/25/2023                                                                      1.30           $1,267.50
             for employee related payments                      Schultea
                                                                Kathryn
8/25/2023    Input wire transactions for approval                              1.90           $1,852.50
                                                                Schultea
             Upload census file and update data as               Leticia
8/25/2023                                                                      2.40           $1,320.00
             requested                                           Barrios
             Populate census file with given                     Leticia
8/25/2023                                                                      1.30            $715.00
             agreement information                               Barrios


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
                                                            Leticia
8/25/2023    Consolidate processed daily payroll log                       2.30           $1,265.00
                                                            Barrios
             Deliver state agency communications to         Leticia
8/25/2023                                                                  1.50            $825.00
             EY for processing and review                   Barrios
             Review and respond to emails re: confirm       Leticia
8/25/2023                                                                  1.80            $990.00
             recipient identity                             Barrios
             Meeting with CAO, F. Buenrostro (RLKS),
             K. Wrenn, K. Lowery, J. DeVincenzo;            Leticia
8/25/2023                                                                  0.40            $220.00
             weekly employment tax update on audit          Barrios
             progress
             Manage a wide range of treasury-related
8/25/2023                                                  Mary Cilia      1.80           $1,755.00
             activities and daily messages
             Daily preparation and oversight of
8/25/2023    accounting, financial reporting, and          Mary Cilia      2.60           $2,535.00
             communications responsibilities
             Communication with local and
             international offices to approve
8/25/2023                                                  Mary Cilia      2.20           $2,145.00
             expenditures and address operational
             and financial matters
             Conference call with R. Hoskins (RLKS)
8/25/2023    and EY; foreign subsidiary financials/        Mary Cilia      0.50            $487.50
             taxes/ wind-downs
             Conference call with M. Concitis (RLKS);
8/25/2023                                                  Mary Cilia      0.80            $780.00
             post-petition contracts
             Conference call with Alix Partners; review
8/25/2023                                                  Mary Cilia      0.50            $487.50
             accounting for specific transactions
             Weekly meeting with the investigation
8/25/2023    team to review progress and discuss any       Mary Cilia      0.40            $390.00
             new developments
                                                            Melissa
8/25/2023    Meeting with CFO; post-petition contracts                     0.80            $440.00
                                                            Concitis
             Develop a separate spreadsheet tracker
                                                            Melissa
8/25/2023    for each vendor entry found within the                        1.30            $715.00
                                                            Concitis
             shared drive
             Extract vendor contract information stored     Melissa
8/25/2023                                                                  3.40           $1,870.00
             in the repository                              Concitis
             Document the vendor contract
                                                            Melissa
8/25/2023    information within the contract tracking                      3.50           $1,925.00
                                                            Concitis
             system
             Review security configuration and status         Raj
8/25/2023                                                                  2.70           $2,632.50
             related matters                               Perubhatla
             Conference call with B. Bangerter
                                                              Raj
8/25/2023    (RLKS); IT costs, data collection efforts                     0.40            $390.00
                                                           Perubhatla
             and status updates
             Application for custodian accounts: re:          Raj
8/25/2023                                                                  1.70           $1,657.50
             new entity accounts                           Perubhatla
             Review correspondence from S.
                                                              Raj
8/25/2023    Glueckstein (A&M) re: token agreements                        0.30            $292.50
                                                           Perubhatla
             and reward tokens
             Review correspondence from Mohammed              Raj
8/25/2023                                                                  0.30            $292.50
             (A&M); re: services invoices for payment      Perubhatla

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Conference call with CEO, A&M and S&C              Raj
8/25/2023                                                                    0.70            $682.50
             teams; data security and privacy matters        Perubhatla
             Review correspondence from A.
                                                                Raj
8/25/2023    Mohammed (A&M) re: Customer Portal                              0.30            $292.50
                                                             Perubhatla
             and Kroll
             Review and gain access to business unit            Raj
8/25/2023                                                                    0.70            $682.50
             accounting system                               Perubhatla
             Review correspondence from D. Hisarli              Raj
8/25/2023                                                                    0.30            $292.50
             (S&C) re: turnover order                        Perubhatla
             Review and address crypto management               Raj
8/25/2023                                                                    1.20           $1,170.00
             matters                                         Perubhatla
             Correspondence with CAO, CFO; re:                  Raj
8/25/2023                                                                    0.30            $292.50
             document sharing issues                         Perubhatla
             Review security for document sharing               Raj
8/25/2023                                                                    1.20           $1,170.00
             options                                         Perubhatla
             Investigate variances for post petition
                                                              Robert
8/25/2023    date intercompany reconciliation and                            3.80           $2,850.00
                                                              Hoskins
             correct inaccuracies
             Meeting with CFO, EY Statutory
                                                              Robert
8/25/2023    Reporting and FTX Foreign Tax; foreign                          0.50            $375.00
                                                              Hoskins
             subsidiary financials/ taxes/ wind-downs
                                                              Robert
8/25/2023    Prepare post petition receipt tracker                           1.20            $900.00
                                                              Hoskins
             Review docket filings for accounting             Robert
8/25/2023                                                                    0.60            $450.00
             implications                                     Hoskins
             Review post petition cash receipt detail         Robert
8/25/2023                                                                    0.60            $450.00
             for accounting treatment                         Hoskins
             Review post petition date intercompany           Robert
8/25/2023                                                                    1.40           $1,050.00
             reconciliation                                   Hoskins
             Review updated petition date
             intercompany reconciliation, aggregate           Robert
8/25/2023                                                                    2.40           $1,800.00
             variances, and document review                   Hoskins
             comments
             Correspondence with A. Mohammed
                                                              Kathryn
8/26/2023    (A&M) re: follow-up on vendor's                                 0.70            $682.50
                                                              Schultea
             cybersecurity breach
             Correspondence with CFO and various
                                                              Kathryn
8/26/2023    A&M and S&C advisors re: follow-up on                           0.50            $487.50
                                                              Schultea
             dissolutions and wind-down matters
             Correspondence with CFO and CIO re:              Kathryn
8/26/2023                                                                    0.30            $292.50
             research shared files                            Schultea
             Correspondence with CFO and a Debtor
                                                              Kathryn
8/26/2023    entity employee re: finalizing closure of                       0.50            $487.50
                                                              Schultea
             Debtor bank account
             Correspondence with CEO and A. Lewis
                                                              Kathryn
8/26/2023    (S&C) re: review data breach notification                       0.30            $292.50
                                                              Schultea
             form
             Examine vendor directories within the            Melissa
8/26/2023                                                                    1.20            $660.00
             shared drive and extract contract details        Concitis
             Obtain vendor contract information using         Melissa
8/26/2023                                                                    2.50           $1,375.00
             the materials provided by the CFO                Concitis

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Populate the contract tracker with the         Melissa
8/26/2023                                                                  2.30           $1,265.00
             vendor contract data                           Concitis
             Review correspondence about customer             Raj
8/26/2023                                                                  0.70            $682.50
             portal actions and activities                 Perubhatla
             Review correspondence from CFO; re:              Raj
8/26/2023                                                                  0.50            $487.50
             documents access and security                 Perubhatla
             Review and respond to emails with A.           Kathryn
8/27/2023                                                                  0.50            $487.50
             Lewis (S&C) re: security incident notices      Schultea
             Review and respond to emails with CFO
                                                            Kathryn
8/27/2023    re: follow-up on Foreign Debtor staffing                      0.60            $585.00
                                                            Schultea
             matters
             Review and respond to emails with a FTX
                                                            Kathryn
8/27/2023    employee re: follow-up on employee                            0.40            $390.00
                                                            Schultea
             onboarding matters
             Correspondence with CFO and J.
                                                            Kathryn
8/27/2023    Simpson (S&C) re: vendor engagement                           0.50            $487.50
                                                            Schultea
             signature request
             Correspondence with CFO and FTX
                                                            Kathryn
8/27/2023    employee re: follow-up on Cottonwood                          0.40            $390.00
                                                            Schultea
             Grove HSBC bank statement request
             Correspondence with CEO and A. Lewis
                                                            Kathryn
8/27/2023    (S&C) re: Claims Portal credit monitoring                     0.30            $292.50
                                                            Schultea
             inquiry
             Correspondence with CFO and CIO re:            Kathryn
8/27/2023                                                                  0.50            $487.50
             restricting access to top level folders        Schultea
             Prepare monthly bank reconciliations of
8/27/2023                                                  Mary Cilia      2.70           $2,632.50
             various domestic and foreign accounts
             Review petition date trial balances and
8/27/2023    prepare and record required journal           Mary Cilia      2.80           $2,730.00
             adjustments
             Manage weekly summary of cash
8/27/2023    balances and develop an associated task       Mary Cilia      1.90           $1,852.50
             lists
             Review vendor directories within the
                                                            Melissa
8/27/2023    shared drive and collect contract                             1.10            $605.00
                                                            Concitis
             information
             Extract vendor contract specifics from the     Melissa
8/27/2023                                                                  1.60            $880.00
             resources extended by the CFO                  Concitis
             Key in the vendor contract data on the         Melissa
8/27/2023                                                                  2.30           $1,265.00
             contract tracker                               Concitis
             Review and address crypto management             Raj
8/27/2023                                                                  0.30            $292.50
             matters                                       Perubhatla
             Review IT costs and budgets on annual            Raj
8/27/2023                                                                  2.70           $2,632.50
             basis using historical usage                  Perubhatla
             Review security configuration and status         Raj
8/27/2023                                                                  1.50           $1,462.50
             related matters                               Perubhatla
             Research on outstanding hardware and           Brandon
8/28/2023                                                                  2.50           $1,500.00
             retrievals of each                            Bangerter
                                                            Brandon
8/28/2023    IT Helpdesk responses / account updates                       2.40           $1,440.00
                                                           Bangerter


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                                 Time Detail Activity by Professional
                                              Exhibit A
                                                                             Hrs/Mins   Corresponding
Enter Date   Description                                      Professional
                                                                             Worked        Charge
             Meeting with CFO, CIO, R. Hoskins, D.
             Tollefsen, L. Barrios, F. Buenrostro, M.          Brandon
8/28/2023                                                                      1.00            $600.00
             Concitis (RLKS); RLKS bi-weekly call (full        Bangerter
             team)
             Call with CIO, L. Farazis (Sygnia) and            Brandon
8/28/2023                                                                      0.50            $300.00
             others; archival and data retention needs         Bangerter
             Conference call with CIO; data collection         Brandon
8/28/2023                                                                      0.80            $480.00
             efforts, budgets and other IT updates             Bangerter
             Comparisons of terminations and
                                                               Brandon
8/28/2023    attritions with active employee and                               2.30           $1,380.00
                                                               Bangerter
             application accounts
             Developer access permissions and
                                                               Brandon
8/28/2023    invitations to critical applications / license                    2.00           $1,200.00
                                                               Bangerter
             updates
             Data collection for outstanding IT vendor         Brandon
8/28/2023                                                                      2.40           $1,440.00
             contracts and invoices                            Bangerter
             Review of recent vendor invoices and               Daniel
8/28/2023                                                                      1.20            $660.00
             payments requests for US Debtors                  Tollefsen
             Master payment tracker update with                 Daniel
8/28/2023                                                                      2.40           $1,320.00
             transactional data                                Tollefsen
             Meeting with CAO, CFO, CIO, R.
             Hoskins, B. Bangerter, L. Barrios, F.              Daniel
8/28/2023                                                                      1.00            $550.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-          Tollefsen
             weekly call (full team)
             Review and update ACH data entries of              Daniel
8/28/2023                                                                      0.90            $495.00
             invoices, payments and transfers                  Tollefsen
             Reconciliation of Debtor operating                 Daniel
8/28/2023                                                                      0.80            $440.00
             accounts                                          Tollefsen
             Vendor files update with supporting                Daniel
8/28/2023                                                                      0.40            $220.00
             invoice documentation                             Tollefsen
             Review and respond to emails with
             Foreign Debtor personnel (FTX Exchange
                                                                Daniel
8/28/2023    FZE) re: payment tracker sheet with                               0.30            $165.00
                                                               Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails with
             Foreign Debtor personnel (Zubr
                                                                Daniel
8/28/2023    Exchange Ltd) re: payment tracker sheet                           0.30            $165.00
                                                               Tollefsen
             with payment requests and supporting
             documentation
             Review and respond to Foreign Debtor
             personnel (Alameda Research KK) re:                Daniel
8/28/2023                                                                      0.20            $110.00
             payment tracker sheet with payment                Tollefsen
             requests and supporting documentation
             Remail all returned customer checks,
                                                                 Felicia
8/28/2023    verify forwarding address, and log in                             0.80            $320.00
                                                               Buenrostro
             designated repository
             Manage and organize all materials
                                                                 Felicia
8/28/2023    received on behalf of Alameda Research                            0.30            $120.00
                                                               Buenrostro
             LLC


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Meeting with CAO, CFO, CIO, R.
             Hoskins, B. Bangerter, D. Tollefsen, L.        Felicia
8/28/2023                                                                 1.00           $400.00
             Barrios, M. Concitis (RLKS); RLKS bi-        Buenrostro
             weekly call (full team)
             Review and organize FTX US's incoming          Felicia
8/28/2023                                                                 0.70           $280.00
             documentation                                Buenrostro
             Review and update the My Phone.com
                                                            Felicia
8/28/2023    call log database with the most recent                       0.80           $320.00
                                                          Buenrostro
             data available
             Collect and organize various debtor
                                                            Felicia
8/28/2023    entities' employment agreements and                          2.20           $880.00
                                                          Buenrostro
             load into the designated repository
             Document processing and reporting for          Felicia
8/28/2023                                                                 0.50           $200.00
             West Realm Shires Inc.                       Buenrostro
             Sort, evaluate and file all Earth Class
                                                            Felicia
8/28/2023    Virtual Mailbox emails in the appropriate                    0.70           $280.00
                                                          Buenrostro
             repository folders
             Record all requests received from the
                                                            Felicia
8/28/2023    FTX Inquiry inbox in the designated                          2.00           $800.00
                                                          Buenrostro
             spreadsheet
             Review and respond to emails with CEO         Kathryn
8/28/2023                                                                 0.30           $292.50
             re: employment matters                        Schultea
             Review and respond to emails with CFO
                                                           Kathryn
8/28/2023    and CIO re: employee compensation                            0.30           $292.50
                                                           Schultea
             matters
             Review and respond to emails with CFO         Kathryn
8/28/2023                                                                 0.30           $292.50
             re: third-party application access            Schultea
             Review and respond to emails with CEO         Kathryn
8/28/2023                                                                 0.30           $292.50
             re: FTX Box site limited access request       Schultea
             Review and respond to emails with B.
                                                           Kathryn
8/28/2023    Harsch (S&C) re: request for prior                           0.50           $487.50
                                                           Schultea
             correspondence from political entities
             Review and respond to emails with F.
                                                           Kathryn
8/28/2023    Buenrostro (RLKS) re: WRSS document                          0.40           $390.00
                                                           Schultea
             request
             Review and respond to emails with S.
                                                           Kathryn
8/28/2023    Coverick (A&M) re: customer and PII data                     0.30           $292.50
                                                           Schultea
             security restrictions
             Review and respond to emails with D.          Kathryn
8/28/2023                                                                 0.30           $292.50
             Hariton (S&C) re: FTX proof of claims         Schultea
             Review and respond to emails with CFO         Kathryn
8/28/2023                                                                 0.40           $390.00
             re: Foreign Debtor staffing costs review      Schultea
             Review and respond to emails with D.
                                                           Kathryn
8/28/2023    Hariton (S&C) and T. Shea (EY) re:                           0.30           $292.50
                                                           Schultea
             misappropriation income analysis
             Review and respond to emails with L.
                                                           Kathryn
8/28/2023    Barrios (RLKS) re: research employee job                     0.30           $292.50
                                                           Schultea
             descriptions
             Review and respond to emails with A.
                                                           Kathryn
8/28/2023    Mohammed and S. Coverick (A&M) re:                           0.30           $292.50
                                                           Schultea
             contractor rehire proposal

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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Review and respond to emails with CFO
                                                           Kathryn
8/28/2023    and S. Coverick (A&M) re: restoring                          0.30           $292.50
                                                           Schultea
             access to repositories
             Review and respond to emails with M.
                                                           Kathryn
8/28/2023    Concitis (RLKS) re: EY master service                        0.30           $292.50
                                                           Schultea
             agreement
             Review and respond to emails with S.          Kathryn
8/28/2023                                                                 0.50           $487.50
             Witherspoon (A&M) re: updated IFU draft       Schultea
             Review and respond to emails with CFO         Kathryn
8/28/2023                                                                 0.40           $390.00
             and a FTX employee re: staffing matters       Schultea
             Review and respond to emails with CFO         Kathryn
8/28/2023                                                                 0.30           $292.50
             re: hiring freeze and backfilling             Schultea
             Review and respond to emails with N.
                                                           Kathryn
8/28/2023    Friedlander (S&C) re: research employee                      0.30           $292.50
                                                           Schultea
             employment status
             Review and respond to emails with N.
                                                           Kathryn
8/28/2023    Simoneaux (A&M) re: diligence requests                       0.30           $292.50
                                                           Schultea
             received
             Correspondence with CFO and a vendor          Kathryn
8/28/2023                                                                 0.30           $292.50
             re: invoice payment requests                  Schultea
             Correspondence with A. Courroy (S&C)
                                                           Kathryn
8/28/2023    re: filing resolutions with registrar and                    0.30           $292.50
                                                           Schultea
             assessing penalty fees
             Correspondence with D. Tollefsen
             (RLKS) and a FTX employee re: review          Kathryn
8/28/2023                                                                 0.30           $292.50
             updated Foreign Debtor payment tracking       Schultea
             report
             Correspondence with CFO and D.
                                                           Kathryn
8/28/2023    Johnston (A&M) re: Foreign Debtor                            0.30           $292.50
                                                           Schultea
             employee headcount and forecast
             Correspondence with CFO and a HR              Kathryn
8/28/2023                                                                 0.30           $292.50
             vendor re: KYC DD requirements                Schultea
             Correspondence with N. Simoneaux
                                                           Kathryn
8/28/2023    (A&M) re: review of daily payroll summary                    0.30           $292.50
                                                           Schultea
             report
             Correspondence with CFO and CIO re:           Kathryn
8/28/2023                                                                 0.30           $292.50
             hardware collection                           Schultea
             Correspondence with CFO and a FTX
                                                           Kathryn
8/28/2023    employee re: review FTX Europe AG                            0.30           $292.50
                                                           Schultea
             payroll request
             Correspondence with K. Wrenn (EY) and
                                                           Kathryn
8/28/2023    HR Lead re: follow-up on request for                         0.30           $292.50
                                                           Schultea
             payroll reports
                                                           Kathryn
8/28/2023    Review weekly PMO and WGL updates                            0.20           $195.00
                                                           Schultea
             Correspondence with K. Wrenn (EY) and
                                                           Kathryn
8/28/2023    a LedgerX employee re: IDR 3 Fringe                          0.30           $292.50
                                                           Schultea
             Benefits request
             Correspondence with F. Buenrostro             Kathryn
8/28/2023                                                                 0.50           $487.50
             (RLKS) re: returned checks                    Schultea


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Correspondence with H. Trent (A&M) re:        Kathryn
8/28/2023                                                                 0.30            $292.50
             employee reimbursement inquiry                Schultea
             Meeting with CFO, CIO, R. Hoskins, B.
             Bangerter, D. Tollefsen, L. Barrios, F.       Kathryn
8/28/2023                                                                 1.00            $975.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-      Schultea
             weekly call (full team)
             Meeting with K. Wrenn, K. Lowery, J.
                                                           Kathryn
8/28/2023    DeVincenzo, V. Short (EY); IDR response                      0.50            $487.50
                                                           Schultea
             connect
             Email requested state tax documentation       Leticia
8/28/2023                                                                 1.60            $880.00
             to EY for review and processing               Barrios
             Update the 1099 Support file with data        Leticia
8/28/2023                                                                 1.10            $605.00
             provided by EY                                Barrios
             Review and upload requested FTX Japan         Leticia
8/28/2023                                                                 1.20            $660.00
             Holdings docs                                 Barrios
             Respond to employee information
                                                           Leticia
8/28/2023    requests in HR Teams US & International                      1.50            $825.00
                                                           Barrios
             email boxes
                                                           Leticia
8/28/2023    Review tax agency status                                     2.80          $1,540.00
                                                           Barrios
             Submit document repository access for         Leticia
8/28/2023                                                                 1.30            $715.00
             submittal                                     Barrios
             Meeting with CFO, CIO, CAO, R.
             Hoskins, B. Bangerter, D. Tollefsen, F.       Leticia
8/28/2023                                                                 1.00            $550.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-      Barrios
             weekly call (full team)
             Meeting with CAO, CIO, R. Hoskins, B.
             Bangerter, D. Tollefsen, L. Barrios, F.
8/28/2023                                                 Mary Cilia      1.00            $975.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-
             weekly call (full team)
             Conference call with A&M, Alix & R.
8/28/2023    Hoskins (RLKS); Alameda silo accounting      Mary Cilia      1.00            $975.00
             issues
             Conference call with CIO; Crypto Asset
8/28/2023                                                 Mary Cilia      0.70            $682.50
             Manager Onboarding KYC
             Working session with R. Hoskins (RLKS);
8/28/2023                                                 Mary Cilia      1.90          $1,852.50
             MOR status and related issues
             Review post-petition contracts file,
8/28/2023    research and complete missing                Mary Cilia      1.30          $1,267.50
             information and send follow up e-mails.
8/28/2023    Review and comment on IFU draft              Mary Cilia      1.70          $1,657.50
             Complete a variety of treasury activities
8/28/2023                                                 Mary Cilia      2.10          $2,047.50
             and monitor daily correspondence
             Daily preparation and oversight of
8/28/2023    accounting, financial reporting, and         Mary Cilia      1.80          $1,755.00
             communications responsibilities
             Approved expenses with multiple
             domestic and international offices while
8/28/2023                                                 Mary Cilia      2.30          $2,242.50
             addressing operational and financial
             matters


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Meeting with CAO, CFO, CIO, R.
             Hoskins, B. Bangerter, D. Tollefsen, L.       Melissa
8/28/2023                                                                 1.00            $550.00
             Barrios, F. Buenrostro (RLKS); RLKS bi-       Concitis
             weekly call (full team)
             Evaluate vendor folders on the shared
                                                           Melissa
8/28/2023    drive and extract information from                           3.30          $1,815.00
                                                           Concitis
             contracts
             Access vendor contract information from       Melissa
8/28/2023                                                                 3.80          $2,090.00
             the resources shared by the CFO               Concitis
             Record the vendor contract information        Melissa
8/28/2023                                                                 3.90          $2,145.00
             onto the contract tracker                     Concitis
             Conference call with N. Leizerovich and
                                                             Raj
8/28/2023    L. Farazis (Sygnia); weekly standup on                       0.70            $682.50
                                                          Perubhatla
             Cyber/Crypto/IT issues
             Review and address crypto management            Raj
8/28/2023                                                                 1.50          $1,462.50
             matters                                      Perubhatla
             Review, research and collect invoices for       Raj
8/28/2023                                                                 1.80          $1,755.00
             payment re: cloud services in use            Perubhatla
             Conference call with A. Mohammad                Raj
8/28/2023                                                                 0.50            $487.50
             (A&M); staffing for projects                 Perubhatla
             Conference call with B. Bangerter
                                                             Raj
8/28/2023    (RLKS); data collection efforts, budgets                     0.80            $780.00
                                                          Perubhatla
             and other IT updates
             Correspondence with N. Simoneaux                Raj
8/28/2023                                                                 0.20            $195.00
             (A&M) re: data collection efforts            Perubhatla
             Meeting with CAO, CFO, R. Hoskins, B.
             Bangerter, D. Tollefsen, L. Barrios, F.         Raj
8/28/2023                                                                 1.00            $975.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-     Perubhatla
             weekly call (full team)
             Call with B. Bangerter (RLKS), L. Farazis
                                                             Raj
8/28/2023    (Sygnia) and others; archival and data                       0.50            $487.50
                                                          Perubhatla
             retention needs
             Conference call with CFO; Crypto Asset          Raj
8/28/2023                                                                 0.70            $682.50
             Manager Onboarding KYC                       Perubhatla
             Review and gather documents required            Raj
8/28/2023                                                                 1.00            $975.00
             for Custodian applications                   Perubhatla
             Review correspondence from A. Lewis
                                                             Raj
8/28/2023    (S&C) re: Customer Portal security                           0.30            $292.50
                                                          Perubhatla
             matters and response
             Correspondence with third-party service         Raj
8/28/2023                                                                 0.30            $292.50
             provider re: staffing matters                Perubhatla
             Assess and resolve IT access and                Raj
8/28/2023                                                                 1.20          $1,170.00
             administrative issues                        Perubhatla
             Meeting with CFO, A&M, Alix; Alameda          Robert
8/28/2023                                                                 1.00            $750.00
             silo accounting issues                        Hoskins
             Meeting with CFO; MOR status and              Robert
8/28/2023                                                                 1.90          $1,425.00
             related issues                                Hoskins
             Review docket filings for accounting          Robert
8/28/2023                                                                 0.30            $225.00
             implications                                  Hoskins



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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Review payment tracker to identify
                                                            Robert
8/28/2023    completeness of LSTC balance                                  1.90          $1,425.00
                                                            Hoskins
             adjustments for Alameda silo entities
             Review payment tracker to identify
                                                            Robert
8/28/2023    completeness of LSTC balance                                  2.70          $2,025.00
                                                            Hoskins
             adjustments for Dotcom silo entities
             Review payment tracker to identify
                                                            Robert
8/28/2023    completeness of LSTC balance                                  2.10          $1,575.00
                                                            Hoskins
             adjustments for WRS silo entities
             Meeting with CAO, CFO, CIO, B.
             Bangerter, D. Tollefsen, L. Barrios, F.        Robert
8/28/2023                                                                  1.00            $750.00
             Buenrostro, M. Concitis (RLKS); RLKS bi-       Hoskins
             weekly call (full team)
             Update user access roles in accounting         Robert
8/28/2023                                                                  0.60            $450.00
             software                                       Hoskins
             Setting up the configuration for exporting    Brandon
8/29/2023                                                                  2.60          $1,560.00
             critical data from applications               Bangerter
             IT Helpdesk responses / e-mail
                                                           Brandon
8/29/2023    responses / password changes / account                        1.90          $1,140.00
                                                           Bangerter
             updates
             Meeting with R. Hoskins (RLKS); BOX           Brandon
8/29/2023                                                                  0.40            $240.00
             access and data syncing                       Bangerter
             Conference call with CIO; data collection     Brandon
8/29/2023                                                                  0.60            $360.00
             efforts, budgets and other IT updates         Bangerter
             Research on outstanding hardware and          Brandon
8/29/2023                                                                  2.70          $1,620.00
             retrievals of each                            Bangerter
             Support case questions and updates on         Brandon
8/29/2023                                                                  2.30          $1,380.00
             account access and billing information        Bangerter
             Application rights and access updates for     Brandon
8/29/2023                                                                  1.90          $1,140.00
             user accounts                                 Bangerter
             Review of recent vendor invoices and           Daniel
8/29/2023                                                                  1.10            $605.00
             payments requests for US Debtors              Tollefsen
             Master payment tracker update with             Daniel
8/29/2023                                                                  2.60          $1,430.00
             transactional data                            Tollefsen
             Conference call with CFO, S.
             Witherspoon, J. Cooper, E. Taraba              Daniel
8/29/2023                                                                  1.00            $550.00
             (A&M); weekly update of FTX Debtor            Tollefsen
             financial activity
             Vendor files update with supporting            Daniel
8/29/2023                                                                  0.40            $220.00
             invoice documentation                         Tollefsen
             Reconciliation of Debtor operating             Daniel
8/29/2023                                                                  0.80            $440.00
             accounts                                      Tollefsen
             Review and respond to emails with
             Foreign Debtor and Non-Debtor
                                                            Daniel
8/29/2023    personnel re: payment tracker sheet with                      0.40            $220.00
                                                           Tollefsen
             payment requests and supporting
             documentation
             Review and respond to emails with
                                                            Daniel
8/29/2023    Foreign Debtor personnel (FTX Japan                           0.50            $275.00
                                                           Tollefsen
             Group) re: payment tracker sheet with


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             payment requests and supporting
             documentation
             Review and update ACH data entries of         Daniel
8/29/2023                                                                 0.80            $440.00
             invoices, payments and transfers             Tollefsen
             Review of payment tracking sheets and
                                                           Daniel
8/29/2023    supporting invoice documentation re:                         0.90            $495.00
                                                          Tollefsen
             payment requests of Foreign Debtors
             Confirm forwarding addresses for
                                                            Felicia
8/29/2023    returned customer checks, log in                             0.80            $320.00
                                                          Buenrostro
             database, and remail
             Prepare, sort, and review all e-mails
             delivered to the Earth Class Virtual           Felicia
8/29/2023                                                                 0.70            $280.00
             Mailbox, then file in the relevant           Buenrostro
             repository folders
             Manage and record all FTX Inquiry inbox        Felicia
8/29/2023                                                                 1.80            $720.00
             queries in the designated database           Buenrostro
             Document processing and reporting for          Felicia
8/29/2023                                                                 0.70            $280.00
             West Realm Shires Inc.                       Buenrostro
             Receive and arrange all documents on           Felicia
8/29/2023                                                                 0.50            $200.00
             behalf of Alameda Research LLC               Buenrostro
             Review and maintain employment                 Felicia
8/29/2023                                                                 3.30          $1,320.00
             agreements for Debtor Entities               Buenrostro
             Record My Phone.com corporate inbox            Felicia
8/29/2023                                                                 0.80            $320.00
             calls in the call appropriate spreadsheet    Buenrostro
             Analyze and organize newly received            Felicia
8/29/2023                                                                 0.50            $200.00
             records for FTX US                           Buenrostro
             Review and respond to emails with K.          Kathryn
8/29/2023                                                                 0.40            $390.00
             Wrenn (EY) re: updated Promotor report        Schultea
             Review and respond to emails with L.
                                                           Kathryn
8/29/2023    Barrios (RLKS) re: research historical                       0.80            $780.00
                                                           Schultea
             Promotor contracts
             Review and respond to emails with C.
                                                           Kathryn
8/29/2023    Kotarba (A&M) re: additional diligence                       0.30            $292.50
                                                           Schultea
             requests
             Correspondence with a FTX employee re:
                                                           Kathryn
8/29/2023    follow-up on Foreign Debtor staffing                         0.50            $487.50
                                                           Schultea
             matters
             Correspondence with K. Wrenn (EY) and
                                                           Kathryn
8/29/2023    a FTX employee re: US citizens on                            0.40            $390.00
                                                           Schultea
             foreign payroll
             Correspondence with CFO and R.
                                                           Kathryn
8/29/2023    Esposito (A&M) re: review statements                         0.50            $487.50
                                                           Schultea
             and schedules amendment update
             Correspondence with N. Simoneaux              Kathryn
8/29/2023                                                                 0.70            $682.50
             (A&M) re: upcoming payroll wires              Schultea
             Correspondence with CFO and a FTX
                                                           Kathryn
8/29/2023    employee re: Zubr July salary payment                        0.40            $390.00
                                                           Schultea
             inquiry
             Correspondence with CFO and T. Shea           Kathryn
8/29/2023                                                                 0.50            $487.50
             (EY) re: Bahamian real estate matters         Schultea


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Correspondence with a FTX employee re:
                                                            Kathryn
8/29/2023    follow-up on employee compensation                            0.30            $292.50
                                                            Schultea
             matters
             Correspondence with K. Wrenn (EY) re:
                                                            Kathryn
8/29/2023    review of FTX Promotors IDR response                          0.80            $780.00
                                                            Schultea
             draft
             Correspondence with CFO re: weekly             Kathryn
8/29/2023                                                                  0.80            $780.00
             payment package review                         Schultea
             Correspondence with CFO and a FTX
                                                            Kathryn
8/29/2023    employee re: FTX Europe payment                               0.30            $292.50
                                                            Schultea
             tracking report
                                                            Kathryn
8/29/2023    Customer Portal dashboard review                              0.20            $195.00
                                                            Schultea
             Correspondence with HR Lead re: EY             Kathryn
8/29/2023                                                                  0.40            $390.00
             meeting agenda                                 Schultea
             Correspondence with N. Simoneaux               Kathryn
8/29/2023                                                                  0.60            $585.00
             (A&M) re: WRSS and Blockfolio payrolls         Schultea
             Correspondence with C. Tong (EY) re:           Kathryn
8/29/2023                                                                  0.30            $292.50
             review tax meeting agenda                      Schultea
             Meeting with CFO, CIO, A&M, S&C, and           Kathryn
8/29/2023                                                                  1.00            $975.00
             others; weekly board call                      Schultea
             Meeting with H. Trent, C. Arnett, N.
                                                            Kathryn
8/29/2023    Simoneaux (A&M); FTX 2.0 diligence                            0.50            $487.50
                                                            Schultea
             requests
             Meeting with J. DeVincenzo, K. Wrenn, K.
                                                            Kathryn
8/29/2023    Lowery (EY) and D. Ornelas (FTX);                             0.20            $195.00
                                                            Schultea
             payroll weekly touchpoint
             Meeting with CFO, K. Lowery, T. Shea,
                                                            Kathryn
8/29/2023    C. Tong (EY) and others; EY tax update                        0.40            $390.00
                                                            Schultea
             with key stakeholders
             Research Promotions agreements in              Leticia
8/29/2023                                                                  1.60            $880.00
             eBrevia for IDR request                        Barrios
             Email requested state tax documentation        Leticia
8/29/2023                                                                  1.50            $825.00
             to EY for review and processing                Barrios
             Review and respond to email requests re:       Leticia
8/29/2023                                                                  2.30          $1,265.00
             Secure Electronic Delivery of 1099 Form        Barrios
                                                            Leticia
8/29/2023    Archive payroll backup history                                2.80          $1,540.00
                                                            Barrios
                                                            Leticia
8/29/2023    Merge processed payroll logs                                  2.50          $1,375.00
                                                            Barrios
             Coordinate various treasury activities and
8/29/2023                                                  Mary Cilia      2.60          $2,535.00
             monitor daily communications
             Conference call with R. Hoskins (RLKS);
8/29/2023    various accounting and financial reporting    Mary Cilia      0.40            $390.00
             issues
             Meeting with CAO, CIO, A&M, S&C, and
8/29/2023                                                  Mary Cilia      1.00            $975.00
             others; weekly board call
             Conference call with D. Tollefsen (RLKS),
             S. Witherspoon, J. Cooper, E. Taraba
8/29/2023                                                  Mary Cilia      1.00            $975.00
             (A&M); weekly update of FTX Debtor
             financial activity

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                           Hrs/Mins   Corresponding
Enter Date   Description                                    Professional
                                                                           Worked        Charge
             Weekly call with A&M cash team; various
8/29/2023                                                    Mary Cilia      0.40            $390.00
             cash issues
             Maintain a variety of financial records,
8/29/2023    reports, and communications on a daily          Mary Cilia      2.70          $2,632.50
             basis
             Communicating with various domestic
             and international offices to approve
8/29/2023                                                    Mary Cilia      1.20          $1,170.00
             spending while responding to operational
             and financial considerations
             Meeting with CAO, K. Lowery, T. Shea,
8/29/2023    C. Tong (EY) and others; EY tax update          Mary Cilia      0.40            $390.00
             with key stakeholders
             Meeting with R. Hoskins (RLKS);                  Melissa
8/29/2023                                                                    1.30            $715.00
             intercompany review                              Concitis
             Devise a cash receipts tracker for efficient     Melissa
8/29/2023                                                                    2.40          $1,320.00
             record-keeping                                   Concitis
             Locate evidence for particular cash
                                                              Melissa
8/29/2023    deposit transactions spanning from the                          3.70          $2,035.00
                                                              Concitis
             petition date up to the present
             Retrieve petition date trial balance details
                                                              Melissa
8/29/2023    from accounting software to conduct                             2.30          $1,265.00
                                                              Concitis
             reconciliation
             Meeting with CAO, CFO, A&M, S&C, and               Raj
8/29/2023                                                                    1.00            $975.00
             others; weekly board call                       Perubhatla
             Manage access and IT administrative                Raj
8/29/2023                                                                    2.70          $2,632.50
             concerns                                        Perubhatla
             Review IT costs/contracts/agreements
                                                                Raj
8/29/2023    and costs on annual basis using historical                      3.50          $3,412.50
                                                             Perubhatla
             usage
             Conference call with B. Bangerter
                                                                Raj
8/29/2023    (RLKS); data collection efforts, budgets                        0.60            $585.00
                                                             Perubhatla
             and other IT updates
                                                                Raj
8/29/2023    Review PMO deck from D. Slay (A&M)                              0.50            $487.50
                                                             Perubhatla
             Review and address crypto management               Raj
8/29/2023                                                                    1.20          $1,170.00
             matters                                         Perubhatla
                                                                Raj
8/29/2023    Review staffing on various projects                             0.70            $682.50
                                                             Perubhatla
             Formulate journal entries for post petition      Robert
8/29/2023                                                                    1.10            $825.00
             activity for FTX Crypto services                 Hoskins
             Meeting with B. Bangerter (RLKS); BOX            Robert
8/29/2023                                                                    0.30            $225.00
             access and data syncing                          Hoskins
             Meeting with M. Concitis (RLKS);                 Robert
8/29/2023                                                                    1.40          $1,050.00
             Intercompany review                              Hoskins
             Preparation for intercompany review              Robert
8/29/2023                                                                    0.40            $300.00
             meeting                                          Hoskins
             Record post petition activity for FTX            Robert
8/29/2023                                                                    0.60            $450.00
             Crypto services                                  Hoskins
             Review docket filings for accounting             Robert
8/29/2023                                                                    0.20            $150.00
             implications                                     Hoskins


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Review payment tracker to identify
                                                            Robert
8/29/2023    completeness of LSTC balance                                  1.40          $1,050.00
                                                            Hoskins
             adjustments for Ventures silo entities
             Review post petition trial balances for        Robert
8/29/2023                                                                  1.60          $1,200.00
             FTX crypto services                            Hoskins
             Update foreign entity financial statement      Robert
8/29/2023                                                                  1.30            $975.00
             tracker and review newly sent financials       Hoskins
             Update user access roles in accounting         Robert
8/29/2023                                                                  0.40            $300.00
             software                                       Hoskins
             Meeting with CFO; various accounting           Robert
8/29/2023                                                                  0.40            $300.00
             and financial reporting issues                 Hoskins
             Correspondence with FTX Europe re:             Robert
8/29/2023                                                                  0.30            $225.00
             Financial statement status                     Hoskins
             Correspondence with FTX Europe re:             Robert
8/29/2023                                                                  0.40            $300.00
             Financial statement review questions           Hoskins
             Correspondence with FTX US personnel           Robert
8/29/2023                                                                  0.60            $450.00
             re: Foreign financial statements               Hoskins
             IT Helpdesk responses / password              Brandon
8/30/2023                                                                  2.20          $1,320.00
             changes / account updates                     Bangerter
             Meeting with B. Phillips (Embed); Embed       Brandon
8/30/2023                                                                  0.50            $300.00
             vendor applications, exports, and access      Bangerter
             Conference call with L. Farazis (Sygnia)
                                                           Brandon
8/30/2023    and CIO; coordination of tasks for 8/31                       0.50            $300.00
                                                           Bangerter
             terms
             Conference call with CIO; data collection     Brandon
8/30/2023                                                                  0.80            $480.00
             efforts, budgets and other IT updates         Bangerter
             Wire verification and approvals for           Brandon
8/30/2023                                                                  0.50            $300.00
             payment and release of funds                  Bangerter
             Cloud platform searches for application       Brandon
8/30/2023                                                                  2.30          $1,380.00
             invoices                                      Bangerter
             Critical application audit of user account    Brandon
8/30/2023                                                                  2.30          $1,380.00
             access and administrators                     Bangerter
             Application setup and configuration,
                                                           Brandon
8/30/2023    testing and troubleshooting and rights                        2.20          $1,320.00
                                                           Bangerter
             assignments
             Research on outstanding hardware and          Brandon
8/30/2023                                                                  1.40            $840.00
             retrievals of each                            Bangerter
             Support ticket updates with software
                                                           Brandon
8/30/2023    vendors on pre and post petition                              1.20            $720.00
                                                           Bangerter
             expenses
             Review and respond to emails from CIO          Daniel
8/30/2023                                                                  0.30            $165.00
             re: employee benefit payments                 Tollefsen
             Reconciliation of Debtor operating             Daniel
8/30/2023                                                                  0.70            $385.00
             accounts                                      Tollefsen
             Review of recent vendor invoices and           Daniel
8/30/2023                                                                  1.80            $990.00
             payments requests for US Debtors              Tollefsen
             Master payment tracker update with             Daniel
8/30/2023                                                                  2.70          $1,485.00
             transactional data                            Tollefsen
             Vendor files update with supporting            Daniel
8/30/2023                                                                  0.60            $330.00
             invoice documentation                         Tollefsen


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Review and respond to emails from CFO         Daniel
8/30/2023                                                                 0.40            $220.00
             re: vendor invoices and payments             Tollefsen
             Review and respond to email from Debtor
                                                           Daniel
8/30/2023    Bank personnel re: transactional activity                    0.20            $110.00
                                                          Tollefsen
             on FTX operating accounts
             Review and respond to emails from CAO          Daniel
8/30/2023                                                                 0.40            $220.00
             re: vendor and employee payments              Tollefsen
                                                            Daniel
8/30/2023    Contract file research and data input                        4.30          $2,365.00
                                                           Tollefsen
             Validate forwarding addresses for all          Felicia
8/30/2023                                                                 0.70            $280.00
             returned customer checks and remail          Buenrostro
             Review and file Earth Class Virtual
                                                            Felicia
8/30/2023    Mailbox emails in the proper repository                      1.50            $600.00
                                                          Buenrostro
             folders
             Process and organize incoming
                                                            Felicia
8/30/2023    documents sent to Alameda Research                           0.50            $200.00
                                                          Buenrostro
             LLC
             Organize and maintain Alameda
                                                            Felicia
8/30/2023    employment agreements in the                                 2.70          $1,080.00
                                                          Buenrostro
             appropriate database
             Log all FTX Inquiry inbox requests in the      Felicia
8/30/2023                                                                 1.70            $680.00
             appropriate database                         Buenrostro
             Receive and sort all incoming files            Felicia
8/30/2023                                                                 0.50            $200.00
             and paperwork for FTX US                     Buenrostro
                                                            Felicia
8/30/2023    Screening and filing WRS materials                           0.70            $280.00
                                                          Buenrostro
             Update call log details from My
                                                            Felicia
8/30/2023    Phone.com corporate inbox messages in                        0.80            $320.00
                                                          Buenrostro
             the assigned database
             Review and respond to emails with a FTX       Kathryn
8/30/2023                                                                 0.60            $585.00
             employee re: employee terminations            Schultea
             Review and respond to emails with a FTX
                                                           Kathryn
8/30/2023    employee re: employee compensation                           0.50            $487.50
                                                           Schultea
             matters
             Review and respond to emails with N.
                                                           Kathryn
8/30/2023    Simoneaux (A&M) re: follow-up on                             0.50            $487.50
                                                           Schultea
             Quoine Pte August payroll request
             Correspondence with A. Courroy (S&C)
                                                           Kathryn
8/30/2023    re: follow-up on filing resolutions with                     0.30            $292.50
                                                           Schultea
             registrar and assessing penalty fees
             Correspondence with S. Li (S&C) and
                                                           Kathryn
8/30/2023    numerous EY advisors re: Cottonwood                          0.60            $585.00
                                                           Schultea
             Grove Ltd compliance notices
             Correspondence with B. Bangerter              Kathryn
8/30/2023                                                                 0.30            $292.50
             (RLKS) re: verifying share folder access      Schultea
             Correspondence with a FTX employee re:
                                                           Kathryn
8/30/2023    follow-up on FTX TR employee payroll                         0.50            $487.50
                                                           Schultea
             request
             Correspondence with CFO and K.
                                                           Kathryn
8/30/2023    Montague (A&M) re: review updated post-                      0.70            $682.50
                                                           Schultea
             petition contracts repository

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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Correspondence with CFO re: staffing           Kathryn
8/30/2023                                                                  0.40            $390.00
             matters                                        Schultea
             Correspondence with B. Bangerter
                                                            Kathryn
8/30/2023    (RLKS) re: Debtor entity wind-down                            0.50            $487.50
                                                            Schultea
             inquiry
             Correspondence with CFO and a FTX
                                                            Kathryn
8/30/2023    employee re: updating interim tax                             0.30            $292.50
                                                            Schultea
             calculations
             Correspondence with a Debtor entity            Kathryn
8/30/2023                                                                  0.40            $390.00
             employee re: payroll processing                Schultea
             Correspondence with S. Witherspoon
                                                            Kathryn
8/30/2023    (A&M) re: review finalized IFU draft                          0.50            $487.50
                                                            Schultea
             materials
             Correspondence with an Embed
                                                            Kathryn
8/30/2023    employee and various S&C advisors re:                         0.30            $292.50
                                                            Schultea
             Embed open questions
                                                            Kathryn
8/30/2023    Customer Portal dashboard review                              0.20            $195.00
                                                            Schultea
             Correspondence with B. Bangerter               Kathryn
8/30/2023                                                                  0.30            $292.50
             (RLKS) re: payroll wires                       Schultea
             Correspondence with N. Simoneaux               Kathryn
8/30/2023                                                                  0.40            $390.00
             (A&M) re: wire confirmation request            Schultea
             Correspondence with K. Lowery (EY) re:         Kathryn
8/30/2023                                                                  0.50            $487.50
             submitting IRS IDR materials                   Schultea
             Correspondence with H. Trent (A&M) re:
                                                            Kathryn
8/30/2023    follow-up on expense reimbursement                            0.30            $292.50
                                                            Schultea
             request
             Meeting with CFO, C. Kotarba, C. Howe,
             K. Jacobs, C. Stockmeyer, L. Callerio          Kathryn
8/30/2023                                                                  0.50            $487.50
             (A&M) T. Shea (EY); tax diligence              Schultea
             request
             Received & validated payment requests          Kathryn
8/30/2023                                                                  1.30          $1,267.50
             for employee related payments                  Schultea
                                                            Kathryn
8/30/2023    Input wire transactions for approval                          1.80          $1,755.00
                                                            Schultea
             Provide EY with preliminary 1099                Leticia
8/30/2023                                                                  1.70            $935.00
             correspondence for review                       Barrios
                                                             Leticia
8/30/2023    Daily payroll log consolidation                               2.30          $1,265.00
                                                             Barrios
             Lookup former employee information as           Leticia
8/30/2023                                                                  1.30            $715.00
             requested                                       Barrios
                                                             Leticia
8/30/2023    Log and maintain payroll backup records                       2.80          $1,540.00
                                                             Barrios
             Review and respond to emails from
                                                             Leticia
8/30/2023    several EY advisors re: details of                            1.00            $550.00
                                                             Barrios
             customer transactions
             Conference call with A&M and FTX
8/30/2023    personnel; LedgerPrime entity financial        Mary Cilia     1.10          $1,072.50
             statements



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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             Conference call with A&M; cash
8/30/2023    reconciliations for Statements and             Mary Cilia      0.80            $780.00
             Schedules and MORS
             Manage a wide range of treasury-related
8/30/2023                                                   Mary Cilia      2.10          $2,047.50
             activities and daily messages
             Maintain a variety of financial records,
8/30/2023    reports, and communications on a daily         Mary Cilia      1.80          $1,755.00
             basis
             Review docket report and document and
8/30/2023                                                   Mary Cilia      0.70            $682.50
             account for related filings
             Meeting with CAO, C. Kotarba, C. Howe,
             K. Jacobs, C. Stockmeyer, L. Callerio
8/30/2023                                                   Mary Cilia      0.50            $487.50
             (A&M) T. Shea (EY); tax diligence
             request
             Communicating with various domestic
             and international offices to approve
8/30/2023                                                   Mary Cilia      1.60          $1,560.00
             spending while responding to operational
             and financial considerations
             Monitoring debtor entities' amended
             statements and schedules, conducting
8/30/2023                                                   Mary Cilia      2.10          $2,047.50
             associated research, and related
             correspondence
             Meeting with R. Hoskins (RLKS);                 Melissa
8/30/2023                                                                   1.00            $550.00
             intercompany review                             Concitis
             Compile trial balance sheets for each
                                                             Melissa
8/30/2023    distinct entity within the accounting                          3.50          $1,925.00
                                                             Concitis
             software, referencing the petition date
             Convert amounts in foreign currency to
                                                             Melissa
8/30/2023    USD values for the selected trial balance                      2.40          $1,320.00
                                                             Concitis
             sheets
             Combine trial balance sheets into the final
                                                             Melissa
8/30/2023    schedule sheet to facilitate easier                            1.30            $715.00
                                                             Concitis
             comparison
             Perform a comprehensive analysis of the
             balances provided to the team and cross-
                                                             Melissa
8/30/2023    reference them with the balances within                        3.80          $2,090.00
                                                             Concitis
             the accounting software to detect any
             inconsistencies
             Conference call with B. Bangerter
                                                               Raj
8/30/2023    (RLKS); data collection efforts, budgets                       0.70            $682.50
                                                            Perubhatla
             and other IT updates
             Review IT costs/contracts/agreements
                                                               Raj
8/30/2023    and costs on annual basis using historical                     3.20          $3,120.00
                                                            Perubhatla
             usage
             Review and address crypto management              Raj
8/30/2023                                                                   1.20          $1,170.00
             matters                                        Perubhatla
             Call with K. Montague (A&M); discuss IT           Raj
8/30/2023                                                                   0.20            $195.00
             costs / agreements / projections               Perubhatla
             Investigate IT access and administration          Raj
8/30/2023                                                                   2.70          $2,632.50
             concerns                                       Perubhatla


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                        Hrs/Mins   Corresponding
Enter Date   Description                                 Professional
                                                                        Worked        Charge
             Conference call with A. Mohammad
                                                             Raj
8/30/2023    (A&M), P. Travis (Alix) and the FTX                          0.10             $97.50
                                                          Perubhatla
             Team; status updates call
             Conference call with L. Farazis (Sygnia)
                                                             Raj
8/30/2023    and B. Bangerter (RLKS); coordination of                     0.50            $487.50
                                                          Perubhatla
             tasks for 8/31 terms
             Correspondence with C. Arnett (A&M) re:
             terminated cloud service agreement,             Raj
8/30/2023                                                                 0.50            $487.50
             associated claim and data retention          Perubhatla
             issues
             Correspondence with CFO; IT Contracts           Raj
8/30/2023                                                                 0.70            $682.50
             and costs                                    Perubhatla
             Correspondence with CFO and A.
                                                             Raj
8/30/2023    Mohammad (A&M) re: payments to                               0.20            $195.00
                                                          Perubhatla
             service providers
             Correspondence with CAO and CFO re:             Raj
8/30/2023                                                                 0.50            $487.50
             pre and post-petition contracts              Perubhatla
             Create new file for FTX Crypto Services        Robert
8/30/2023                                                                 0.80            $600.00
             in accounting software                        Hoskins
             Create new file for FTX Japan Services in      Robert
8/30/2023                                                                 0.80            $600.00
             accounting software                           Hoskins
             Meeting with M. Concitis (RLKS);               Robert
8/30/2023                                                                 1.00            $750.00
             Intercompany review                           Hoskins
             Record Japan services KK November              Robert
8/30/2023                                                                 0.80            $600.00
             and December 2022 Activity                    Hoskins
             Review Japan Services KK November              Robert
8/30/2023                                                                 2.20          $1,650.00
             and December 2022 activity                    Hoskins
             Review Japan Services KK Petition date         Robert
8/30/2023                                                                 2.30          $1,725.00
             TB                                            Hoskins
                                                            Robert
8/30/2023    Update FTX Entity accounting matrix                          1.90          $1,425.00
                                                           Hoskins
             Update user access roles in accounting         Robert
8/30/2023                                                                 0.40            $300.00
             software                                      Hoskins
             Upload beginning balances for new FTX          Robert
8/30/2023                                                                 1.40          $1,050.00
             Crypto Services accounting software file      Hoskins
             Upload beginning balances for new FTX          Robert
8/30/2023                                                                 1.30            $975.00
             Japan Services accounting software file       Hoskins
             Research on software vendor contracts         Brandon
8/31/2023                                                                 2.50          $1,500.00
             and invoices for the same                    Bangerter
             Reviewing each application for user /
                                                          Brandon
8/31/2023    group access and removing, suspending,                       2.10          $1,260.00
                                                          Bangerter
             disabling as appropriate
             Conference call with CIO; 8/31 tasks         Brandon
8/31/2023                                                                 0.40            $240.00
             coordination                                 Bangerter
             Research on critical applications, access    Brandon
8/31/2023                                                                 1.80          $1,080.00
             and contracts                                Bangerter
             Developer access permissions and             Brandon
8/31/2023                                                                 2.30          $1,380.00
             license updates                              Bangerter
             Wire verification and approvals for          Brandon
8/31/2023                                                                 0.20            $120.00
             payment and release of funds                 Bangerter


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                          Hrs/Mins   Corresponding
Enter Date   Description                                   Professional
                                                                          Worked        Charge
             IT Helpdesk responses / account                 Brandon
8/31/2023                                                                   1.80          $1,080.00
             changes / access updates                        Bangerter
             Support calls with vendors to re: access        Brandon
8/31/2023                                                                   2.20          $1,320.00
             to applications and outstanding bills           Bangerter
             Reconciliation of Debtor operating               Daniel
8/31/2023                                                                   0.30            $165.00
             accounts                                        Tollefsen
             Review of recent vendor invoices and             Daniel
8/31/2023                                                                   1.80            $990.00
             payments requests for US Debtors                Tollefsen
             Master payment tracker update with               Daniel
8/31/2023                                                                   2.30          $1,265.00
             transactional data                              Tollefsen
             Vendor files update with supporting              Daniel
8/31/2023                                                                   0.90            $495.00
             invoice documentation                           Tollefsen
                                                              Daniel
8/31/2023    Contract file research and data input                          3.60          $1,980.00
                                                             Tollefsen
             Review and respond to emails with debtor
             personnel (Ledger Prime LLC) re:                 Daniel
8/31/2023                                                                   0.20            $110.00
             payment tracker sheet with payment              Tollefsen
             requests and supporting documentation
             Review and update ACH data entries of            Daniel
8/31/2023                                                                   0.80            $440.00
             invoices, payments and transfers                Tollefsen
             Meeting with CAO, L. Barrios (RLKS), K.
             Wrenn, K. Lowery, J. DeVincenzo (EY);            Felicia
8/31/2023                                                                   0.20             $80.00
             weekly employment tax update on audit          Buenrostro
             progress
             Identify the forwarding addresses for all        Felicia
8/31/2023                                                                   1.00            $400.00
             returned customer checks and remail            Buenrostro
             Update the call log spreadsheet using My
                                                              Felicia
8/31/2023    Phone.com corporate inbox message                              0.80            $320.00
                                                            Buenrostro
             details
             Review and maintain a record of all
                                                              Felicia
8/31/2023    incoming documents and materials                               0.50            $200.00
                                                            Buenrostro
             received by Alameda Research LLC
             Logging and processing documents for             Felicia
8/31/2023                                                                   0.70            $280.00
             West Realm Shires Inc.                         Buenrostro
             Upload inquiries received from the FTX           Felicia
8/31/2023                                                                   1.50            $600.00
             Inquiry inbox to the assigned spreadsheet      Buenrostro
             Sort and classify emails from the Earth
                                                              Felicia
8/31/2023    Class Virtual Mailbox to their respective                      0.80            $320.00
                                                            Buenrostro
             repository locations
             Gather and maintain Alameda
                                                              Felicia
8/31/2023    employment agreements for future                               2.50          $1,000.00
                                                            Buenrostro
             analysis and review
             Examine and sort all incoming paperwork          Felicia
8/31/2023                                                                   0.50            $200.00
             for FTX US                                     Buenrostro
             Review and respond to emails with an
                                                             Kathryn
8/31/2023    FTX employee re: employee termination                          0.50            $487.50
                                                             Schultea
             matters
             Review and respond to emails with B.
                                                             Kathryn
8/31/2023    Bangerter (RLKS) re: Debtor entity                             0.40            $390.00
                                                             Schultea
             accounts suspension


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                                Time Detail Activity by Professional
                                             Exhibit A
                                                                       Hrs/Mins   Corresponding
Enter Date   Description                                Professional
                                                                       Worked        Charge
             Review and respond to emails with B.
                                                          Kathryn
8/31/2023    Harsch (S&C) re: follow-up on document                      0.70            $682.50
                                                          Schultea
             authentication request
             Review and respond to emails with CFO
                                                          Kathryn
8/31/2023    and M. Concitis (RLKS) re: post-petition                    0.60            $585.00
                                                          Schultea
             contracts request
             Review and respond to emails with N.         Kathryn
8/31/2023                                                                0.40            $390.00
             Simoneaux (A&M) re: PTO payouts              Schultea
             Review and respond to emails with
                                                          Kathryn
8/31/2023    various RLKS advisors re: data security                     0.50            $487.50
                                                          Schultea
             matters
             Correspondence with CFO and R.
             Esposito (A&M) re: follow-up on              Kathryn
8/31/2023                                                                0.50            $487.50
             statements and schedules amendment           Schultea
             update
             Correspondence with CFO and a FTX            Kathryn
8/31/2023                                                                0.30            $292.50
             employee re: employee payroll request        Schultea
             Correspondence with K. Wrenn (EY) re:
                                                          Kathryn
8/31/2023    review IRS employment tax audit                             0.80            $780.00
                                                          Schultea
             summary
             Correspondence with L. Barrios (RLKS)
                                                          Kathryn
8/31/2023    and various EY advisors re: review BOX                      0.30            $292.50
                                                          Schultea
             folder access and configuration
             Correspondence with L. Callerio (A&M)        Kathryn
8/31/2023                                                                0.40            $390.00
             re: review Embed weekly status report        Schultea
             Correspondence with H. Schlossberg
                                                          Kathryn
8/31/2023    (S&C) re: review Cottonwood Grove IRS                       0.30            $292.50
                                                          Schultea
             materials
             Correspondence with CFO and FTX
                                                          Kathryn
8/31/2023    employee re: Quoine PTE accounting                          0.50            $487.50
                                                          Schultea
             matters
             Correspondence with CFO and Debtor           Kathryn
8/31/2023                                                                0.30            $292.50
             Bank personnel re: returned wire             Schultea
             Correspondence with D. Tollefsen             Kathryn
8/31/2023                                                                0.60            $585.00
             (RLKS) re: research repayment request        Schultea
             Meeting with L. Barrios, F. Buenrostro
             (RLKS), K. Wrenn, K. Lowery, J.              Kathryn
8/31/2023                                                                0.20            $195.00
             DeVincenzo, V. Short (EY); weekly            Schultea
             employment tax update
             Meeting with CFO, K. Lowery, T. Shea,
                                                          Kathryn
8/31/2023    C. Tong (EY) and others; address DOJ                        0.80            $780.00
                                                          Schultea
             response
             Received & validated payment requests        Kathryn
8/31/2023                                                                0.80            $780.00
             for employee related payments                Schultea
                                                          Kathryn
8/31/2023    Input wire transactions for approval                        1.40          $1,365.00
                                                          Schultea
             Deliver state agency communications to        Leticia
8/31/2023                                                                2.70          $1,485.00
             EY for processing and review                  Barrios
             Upload Blockfolio employment                  Leticia
8/31/2023                                                                1.30            $715.00
             agreements to the designated repository       Barrios


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                               Time Detail Activity by Professional
                                            Exhibit A
                                                                         Hrs/Mins   Corresponding
Enter Date   Description                                  Professional
                                                                         Worked        Charge
             Update census document with                    Leticia
8/31/2023                                                                  1.50            $825.00
             employment agreements information              Barrios
             Review and respond to emails re:
             employee information requests in               Leticia
8/31/2023                                                                  1.20            $660.00
             domestic & international HR Teams              Barrios
             inboxes
             Review and respond to email requests re:       Leticia
8/31/2023                                                                  1.80            $990.00
             electronic 1099s with password protection      Barrios
             Review and respond to emails re: details       Leticia
8/31/2023                                                                  1.70            $935.00
             of customer transactions                       Barrios
             Meeting with CAO, F. Buenrostro (RLKS),
             K. Wrenn, K. Lowery, J. DeVincenzo             Leticia
8/31/2023                                                                  0.20            $110.00
             (EY); weekly employment tax update on          Barrios
             audit progress
             Coordinate various treasury activities and
8/31/2023                                                  Mary Cilia      1.80          $1,755.00
             monitor daily communications
             Conference call with A&M; FBAR
8/31/2023                                                  Mary Cilia      0.70            $682.50
             Reporting
             Conference call with CIO; invoices and
8/31/2023                                                  Mary Cilia      0.20            $195.00
             contract rejections
             Conference call with R. Hoskins (RLKS),
8/31/2023    S&C & EY; foreign tax compliance and          Mary Cilia      0.50            $487.50
             winddowns
             Weekly conference call with the
8/31/2023    investigating team; discuss developments      Mary Cilia      0.40            $390.00
             and provide information
             Meeting with CAO, K. Lowery, T. Shea,
8/31/2023    C. Tong (EY) and others; address DOJ          Mary Cilia      0.80            $780.00
             response
             Maintain daily accounting, financial
8/31/2023                                                  Mary Cilia      2.10          $2,047.50
             reporting, and communications activities
             Communication with local and
             international offices to approve
8/31/2023                                                  Mary Cilia      1.70          $1,657.50
             expenditures and address operational
             and financial matters
             Review docket report and document and
8/31/2023                                                  Mary Cilia      0.30            $292.50
             account for related filings
             Review petition date trial balances and
8/31/2023    prepare and record required journal           Mary Cilia      1.80          $1,755.00
             adjustments
             Generate a dedicated folder for specific       Melissa
8/31/2023                                                                  1.60            $880.00
             vendors with engagement letters                Concitis
             Attach copies of engagement letters for        Melissa
8/31/2023                                                                  2.40          $1,320.00
             entities with available documentation          Concitis
             Add annotations to the contracts tracker       Melissa
8/31/2023                                                                  1.80            $990.00
             regarding specific IT vendors                  Concitis
             Search within the IT contracts folder to
                                                            Melissa
8/31/2023    locate contracts and agreements that are                      2.20          $1,210.00
                                                            Concitis
             fully executed
             Call with J. Hughes (Kroll), K.                  Raj
8/31/2023                                                                  0.20            $195.00
             Ramanathan, R. Esposito, A. Mohammed          Perubhatla

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                                    Time Detail Activity by Professional
                                                 Exhibit A
                                                                                  Hrs/Mins   Corresponding
 Enter Date     Description                                        Professional
                                                                                  Worked        Charge
                (A&M) and others; FTX Customer portal
                sync with Kroll
                Review and approve transfer requests                   Raj
  8/31/2023                                                                         1.50          $1,462.50
                from N. Leizerovich (Sygnia) re: domains            Perubhatla
                Review and address crypto management                   Raj
  8/31/2023                                                                         2.70          $2,632.50
                matters                                             Perubhatla
                Review correspondence from K.
                Ramanathan (A&M) re: change requests                   Raj
  8/31/2023                                                                         0.30            $292.50
                for development team from the service               Perubhatla
                provider
                Correspondence with CFO re: invoices,                  Raj
  8/31/2023                                                                         1.20          $1,170.00
                agreements and related searches                     Perubhatla
                Call with CFO; invoices and contract                   Raj
  8/31/2023                                                                         0.20            $195.00
                rejections                                          Perubhatla
                Correspondence with K. Dusendschon
                                                                       Raj
  8/31/2023     (A&M) re: contracts / invoices of service                           0.50            $487.50
                                                                    Perubhatla
                providers
                Call with K. Ramanathan (A&M); IT /                    Raj
  8/31/2023                                                                         0.30            $292.50
                Crypto updates                                      Perubhatla
                Conference call with B. Bangerter                      Raj
  8/31/2023                                                                         0.40            $390.00
                (RLKS); 8/31 tasks coordination                     Perubhatla
                Review correspondence from H.                          Raj
  8/31/2023                                                                         0.30            $292.50
                Nachmias (Sygnia) re: Crypto assets                 Perubhatla
                Gaining access to eDiscovery re:
                                                                       Raj
  8/31/2023     searching for                                                       0.70            $682.50
                                                                    Perubhatla
                invoices/agreements/payments
                Review, research Custodian app
                                                                       Raj
  8/31/2023     document gathering for various on-                                  1.50          $1,462.50
                                                                    Perubhatla
                boarding needs
                Formulate upload template for the petition
                                                                     Robert
  8/31/2023     date balance related to FTX Services                                1.30            $975.00
                                                                     Hoskins
                solutions
                Meeting with CFO, S&C & EY; foreign tax              Robert
  8/31/2023                                                                         0.50            $375.00
                compliance and wind-downs                            Hoskins
                Record Post petition intercompany for                Robert
  8/31/2023                                                                         1.30            $975.00
                FTX Japan Services                                   Hoskins
                Review FTX Services Solutions Petition               Robert
  8/31/2023                                                                         1.20            $900.00
                date TB                                              Hoskins
                Upload petition date trial balance for FTX
                                                                     Robert
  8/31/2023     services solution into the accounting                               0.40            $300.00
                                                                     Hoskins
                software
                Upload post petition chart of accounts for
                                                                     Robert
  8/31/2023     FTX services solution into the accounting                           0.30            $225.00
                                                                     Hoskins
                software
                                                                      Total:      2,242.70    $1,594,867.50
* 50% rate appears where time is charged for non-working travel.




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        RLKS Expense Report – Detail by Day, by Category

                    [See Attached Exhibit B]
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                                                    RLKS Expense Report - Detail by Day, by Category
                                                                                                                Office or
   Date                    Description                          Air      Lodging      Transportation   Meals    Research     Professional
                                                                                                                Expenses


           Airfare one way economy United -
           Houston to New York (Newark Airport) for
8/1/2023   client meetings at EY office; 1 night hotel      $   272.86   $   525.00   $        75.00                        Kathryn Schultea
           (Marriott Essex); taxi: Uber from Newark
           airport to hotel
           Hotel in New York, 1 night hotel (Marriott
8/2/2023                                                                 $   525.00                                         Kathryn Schultea
           Essex)
8/2/2023   Mileage from Home Office to Airport              $    19.00                                                         Mary Cilia
           Airfare one way economy United Airlines -
8/2/2023   Houston to NY (Newark Airport) for client        $   277.87                                                         Mary Cilia
           meetings at EY office
8/2/2023   Taxi: Uber from Airport to Hotel                                           $       191.09                           Mary Cilia
           Hotel in New York, 1 night hotel (Fairfield
8/2/2023                                                                 $   525.00                                            Mary Cilia
           Inn)
           Airfare one way economy United Airlines -
8/2/2023   Houston to NY (Newark Airport) for tax           $   322.50                                                       Robert Hoskins
           review meetings at EY office
8/2/2023   1 night hotel (Fairfield inn & Suites)                        $   525.00                                          Robert Hoskins

8/2/2023   Taxi: Uber from Airport to Hotel                                           $        66.02                        Robert Hoskins
           Hotel in New York, 1 night hotel (Marriott
8/3/2023                                                                 $   525.00                                         Kathryn Schultea
           Essex)
           Hotel in New York, 1 night hotel (Fairfield
8/3/2023                                                                 $   525.00                                            Mary Cilia
           Inn)
8/3/2023   1 night hotel (Fairfield inn & Suites)                        $   525.00                                         Robert Hoskins
           Airfare one way economy United - New
           York (Newark Airport) to Houston (IAH
8/4/2023   Airport) return from client meetings at EY       $   272.86                $        75.00                        Kathryn Schultea
           office; taxi: Uber from Houston airport to
           home
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                                                 RLKS Expense Report - Detail by Day, by Category
                                                                                                             Office or
   Date                      Description                     Air      Lodging     Transportation    Meals    Research    Professional
                                                                                                             Expenses
8/4/2023   Taxi; Uber from Hotel to Airport                                       $        127.38                          Mary Cilia

           Airfare one way economy United Airlines -
8/4/2023   NY (Newark Airport) to Houston for client     $   277.88                                                        Mary Cilia
           meetings at EY office

8/4/2023   Airport Parking                                                        $         90.00                          Mary Cilia

8/4/2023   Mileage from Airport to Home Office           $    19.00                                                        Mary Cilia

           Airfare one way economy United Airlines -
8/4/2023    NY (Newark Airport) to Houston Return        $   322.50                                                      Robert Hoskins
           from tax review meetings at EY office
                                              Totals:    $ 1,784.47 $ 3,675.00    $        624,49
